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                      IN THE COURT OF COMMON PLEAS
                          TRUMBULL COUNTY, OHIO

STATE OF OHIO,

       Plaintiff,                           Case No. 01-CR-794
                                                                                 ~...~1,
                                                                                     ,
-vs-
                                                                                           . ,.
                                                                                               ~
NATHANIEL JACKSON,                                                                         -.......




       Defendant.




   NATHANIEL JACKSON'S POST-CONVICTION PETITION
                    VOLUME II


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                                           P ARRA
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I .~,         1              MR. WILLE: Thank you.
              2         (Messrs. Lazarow and Mezibov conferred privately.)

              3              MR. LAZAROW: No further questions, Your Honor.

             4               THE COURT: Is this witness released?

             5               MR. LAZAROW: Yes, Your Honor.

             6               MR. WILLE: Yes, Your Honor.
             7               THE COURT: Thank you very much, Mrs. Leahy.
             8         (Wi tness excused.)
             9               THE COURT: Call your next witness.

         10                  MR. MEZIBOV: Dr. Parran.

         11                  THE CLERK: Raise your right hand, please.

         12            (Duly sworn by the Clerk.)

  ~      13                  THE CLERK: Thank you. Please be seated.
         14                        THEODORE V. PARRA, JR., M. D .
         151 a witness herein, having previously been sworn, testified as

         16 i follows:

         17 i DIRECT EXAINATION
         18 l BY MR. MEZIBOV:

         19 I Q. Good morning, Dr. Parran.

         20 I A. Good morning.

         21 I Q. Dr. Parran, before I begin to ask you any questions, the

         22 I first thing I would ask of you is that you state your full

         23 I name and speii your last name for the record, please.

         24 I A. My that is Theodore Van Doran Parran -- P-a-r-r-a-n

r,      25        Junior.
                                                                       EXHIBIT

                                                                  J lî
                                           PARRA
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~ /)          1   Q. Dr. Parran, where do you reside?

              2 A. I live in Shaker Heights, Ohio.

              3 Q. And could you tell us your occupation, please?

              4 A. 1'm a physician.
              5 Q. And a physician licensed to practice medicine in the

              6 State of Ohio?
             7 A. In Ohio, yes.
             8 Q. Dr. Parran, could you give us the benefit of your

             9 educational background?

         10 A. I went to college at Kenyon College in Ohio, and then

         11 went to medical school at Case Western Reserve University,

         12 I School of Medicine; graduated in 1982. I did my residency in
~        13

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                                             PARRAN'
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                                                                                                     j
                                                                                             3 -25
    /)          1    Hospital. In 1988 I moved back -- I moved back to Cleveland,

                2 I taking a faculty position at Case Western Reserve University

                3 I School of Medicine in helping to direct both the general

                4 I internal medicine Clinic and several drug and alcohol

                5 I treatment programs and consultation programs in the Greater

                6 I Cleveland area.

                7 I Q. And where are you employed at the present time?

                8 I A. Currently I'm employed part-time by Case Western Reserve

               9 I School of Medicine as the Director of the Clinical Science
                                                                                        '.
           10 I Program as well as the Director of the Addiction Medicine

           11 I Fellowship Program. I' m also employed part-time by the
           12 I Cleveland V. A. Medical Center helping to - - as the Medical

    ~      13       Director of their extensive Drug and Alcohol Treatment

           14 i Program. And then finally I am part-time or privately

           15 I employed as a member of a group practice of two of us

           16 I providing addiction medicine services to hospitals and

           17 I substance abuse treatment centers in Cleveland.

           18 I Q. How long have you been working at the V. A. at Cleveland?

           19       A. I started working at the V. A. in 19
                                                                       3:993. In 1993,
          20 l we applied .through the V. A. for a grant to support our

          21 I addiction medicine fellowship program and that was funded as

          22 lone of only six in the country, and have been employed

          23 l part-time with the V.A. since then.

          24 I Q. Dr. Parran, over the course of time have you developed
,c"',
L         25        certain areas of specialization in the practice of medicine?
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')          1    A. Yes, I' m board certified in internal medicine and I
            2 I continue to practice, a small percentage of my time, in

            3 I general internal medicine. I' m also certified by the
            4 I American Society of Addiction Medicine in the area of drùg

            5 I and alcohol dependence and treatment. And I honestly spend

            6 I the maj ori ty of my time working in the area of substance
         7 I abuse treatment, as well as researching, education in the

         s/ area of addictions.

         9. Q. When you say "maj ori ty" of your time, could you as.~ign a
        10 percentage of your time to that area of practice?
       11 A. Probably 70 percent at this point.
       12 Q. What is the American Society of Drug Addictions?

~      13       A. The American Society of Addiction

       14 Q. Addiction Medicine. I' m sorry.
       15 A. Yes. It's a mUlti-disciplinary group of physicians,

       16 I about 4 1000, maybe 4500 members. Approximately 3,000 of us
       17 are certified --
       is Q. How do you become certified?
       19 A. -- of the organization.
       20 In order to be certified in addictions medicineJ you have
       21 I to be able to provide documentation that you have worked

       22' full-time in the area of drug and alcohol dependence

      23 I treatment for at least two years, and then you have to take a

      24 certification examination.

      25 Q. Now, you have treated, I take it, individuals who have
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                1    been addicted to alcohol or drugs?
    ~)
                2 I A. Yes. Since - - since 1985, I' ve treated somewhere between

               3 I 1200 and 3,000 patients a year J each year, with a history of

               4 I addictions, approximately split 50/50 between alcohol

               5 I dependent and drug dependent.

               6 I Q. Dr. Parran, in addition to the board certifications that

               7 I you' ve told us about, are you a member of any professional

               8 I boards or associations or organizations?

               9 I A. Yes, I'm a member, as I mentioned, of ASAM, the American
                                                                                   ~

           10 I Society of Addiction Medicine. I' m also a member and have in

           111 the past served on the board of the - - of an organization
           12 I called AMERSA, which is the Association for Medical Education

    :)     13       and Research in Substance Abuse. I'm a member of the Society

           14 I for General Internal Medicine. I' m a fellow in the American

           15 1 College of Physicians. And I am a fellow and a member of the

           161 Executive Committee on the American Academy of Physician and

           1 71 Patient.
           18 I Q. Now, Dr. Parran, have you over the course of time

           19 I published any books or writings or treatises ~or studies in

           20 I your particular areas of specialization?

           21 I A. Yes, I have. I've written, oh, probably more than a

           22 I dozen maybe, close to two dozen but at least a dozen papers,

           23 I book chapters, syllabus modules on the treatment of

          24 I addictions, screening for chemical dependency, screening for

t
    J
.r-".
          25        chemical dependence, how to present the diagnosis, how to
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...)          1    form a treatment plan with patients, management of

              2    detoxification and the acute effects of drugs and alcohol,

             3     syllabus materials on cocaine dependency, prescription drug

             4     abuse, et cetera.
             5     Q. Finally, Dr. Parran, have you had occasion before today
             6     to testify in court in matters in which you are a specialist

             7     or in areas in which you practice?

             8     A. Yes, I have. I' ve testified in both criminal and civil
             9     proceedings in the area ~f management of chemical dependency
                                                                                 .
         10        and/ or addiction medicine, especially in the area of the

         11       management of acute drug induced delirium. That was ,a civil

        12        case. In the area of prescription drug abuse and stimulant

~       13        abuse, especially diet pills, those have been criminal cases.

        14 I Q. And, Dr. Parran, at my request did you bring down to us

        15 today a copy of your current CV?
        16 A. Yes.
        17             (Mr. Mezibov distributing documents to the Court and
        18        counsel. )
        19        Q. Dr. Parran, I' ve handed you what' s been marked

        20        Plaintiff's Exhibit 14. Can you identify that for us,

        21        please?
        22        A. Yes, it's my C.V. which was updated last summer.

        23        Q. SO this is current up through the summer of ' 96?

        24        A. It' s at least current through, oh, probably July of '96.
"\
       25         Q. Now, Dr. Parran, let's turn our attention to this matter
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 -J           1    invol ving John Hicks. Could you tell us when you were first
              2 I hired by myself and Mr. Lazarow in connection with this

              3 I matter?

             4 I A. It probably was either late 1994 or early 1995.

             5 I Q. And do you recall what we asked you to do initially?

             6 I A. Yes, you asked me to look at the data about the case,

             7 1 especially the information that was gathered around the time

             8 I of the events in early August of 1985, in order to form an

             9 I opinion about whether or not cocaine played a role or

         10 I appeared to have played a role in those events. And,

         11 I secondly, you asked me to look at the trial proceedings and

         12 I the testimony to see if I could form an opinion about the

 ~       13       quality of the information there regarding the pharmacology

         14 I of cocaine and how it might relate to this case.

        15 I Q. And, Dr. Parran, could you tell us how you went about

        16 I conducting your evaluation in connection with these matters

        17 I which we asked you to look into?

        18 1 A. Yes. I read through a sort of summary or excerpts of

        19 I both the police investigation, the police interviews i and

        201 then some of the testimony in terms of pretrial, trial and

        21 I mitigation proceedings.

        22 I Q. Were you provided the actual trial transcripts then?

        231 A. Yes. Yes. And I was able to look at some notes taken by
        24 I Ms. Leahy. I was able to look at the affidavits of a couple

(-'\    25        of different physicians or a couple of different doctors. I
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¡.. ,í
"'           1    can give you the doctor's name if you want.
     L
 ~./
             21 Q. Is that Dr. Baum?

             3 I A. Yes, Dr. Baum.

             4 I Q. And Julia Hawgood?

             5 I A. Hawgood, yes.

             6 I Q. Psychologist?

             7 I A. And I was able in July of 1995 to actually go in and

             8 I interview Mr. Hicks. And, finally, I received the

             9 1 depositions of Dr. Schmidt

           10 I Q. Schmidtgoessling?

           11 I A. 'Goessling, and Doctor -- starts with an R.

           12 I Q. Reardon?

"J         13    A. Reardon.

           14 I Q. All right.
           15 I A. Yes.

           16 I Q. Could you tell us when you interviewed Mr. Hicks?

           17 1 A. It was in July of 1995. I don't remember the exact date.

           18 I Q. Okay. And could you tell us approximately how much time

           19 I you spent with Mr. Hicks?

           20 l A. About an hour-and-a-half.

           21 I Q. And what was the purpose of your speaking with Mr. Hicks?

           22 l A. I wanted to have a chance to talk with him both about his

           23 I previous experiences with cocaine prior to the events of

           24 I August of 1985, to speak with him about how cocaine tended to
  ""
           25
~J               affect him when     he   was using it, to get at least his
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    I')           1    recollections of that point in 1995 of what went on in August

                 2     of 1985,   and,   finally, just to get my own sense of him and
                 3 I his mental status, perhaps psychological or psychiatric

                 4 I background. Although my background is in internal medicine

                 5 I and not in psychiatry or psychology, .I spend lots of time

                 6 I interviewing people with issues in those areas and I wanted

                7 1 to get a chance to interview him myself about those kinds of

                8 I things.

                9 I Q. Dr. Parran, when you were provided these materials _ _ the

             10        trial transcripts, the affidavits and depositions and then
¡


             11 I actually speaking with Mr, Hicks in person - - were there

            12 I particular matters you were looking for in order to aid you

    ~       13        in your evaluation?

            14 1 A. I was looking for specific descriptions of his mind

            15 I state, his thinking processes, his sensations when under the

            16 I influence of cocaine both prior to August of ' 85 as well as
            17 1 in August of '85, and any descriptions or evidence from

            18 I interviews that he had provided at that time that might give

            19 1 some evidence or some clue from a clinical standpoint to me

            20 1 as to what state he was in.

            21 I Q. At the time these offenses were committed?

            22 I A. Yes.

            23 1 Q. Now/ over the course of looking at these materials and

           24 I speaking with Mr. Hicks, were you able to find any credible
    "\     25         evidence of drug use or its effect in connection with
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    :',          1    Mr. Hicks?

                 2    A. Yes, absolutely. His history that he provided to
                 3    interviewers, provided to me as well, the history that his

                 4    family members had been able to provide to interviewers, as

                 5    well as some records from previously .mandated court _ _ or
                 6    court -mandated treatment from the chemical dependency

                 7    standpoint, all indicated Mr. Hicks had had a significant

                8     addiction problem in the past.
                9    Q. You used the term dependence, cocaine dependence. Can
            10       you tell us what that means from your standpoint?

            11       A. Well, there's sort of an over-arching view or diagnosis

            12       we use of chemical dependency, which means the person meets a

    "       13       certain criteria in DSM-IV -- which is the Diaonostic and

            14 Statistical Manual-iv edition -- criteria for what would be

            15 called in the vernacular "addiction."

            16           Chemical dependency - - in this case dependency to cocaine

            17       and alcohol - - includes : Compulsive use; use to levels of
            18       intoxication that weren' t planned; adverse consequences from

            19       repetitive use; loss of control of use once initiating that

           20        use. So a person, as long as they haven't used any of the

           21        drug in a given day, tends to be fairly predictable; but when

           22        they do it again, they tend to lose control and over use,

           23        resul ting in adverse consequences.

           24            (Continuing) Increase in preoccupation with use; use
    -"
\          25        despite repetitive and multiple, as I mentioned, adverse
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    /)          1    consequences i sometimes increased tolerance, and at times

                2 I physical dependence, including withdrawal from the drug when

                3 I it's taken away -- although, I must say that 80 percent of

                41 people who meet the criteria for a diagnosis of chemical

                5 dependency or addiction don' t have physical dependence to the

                6 I drug, meaning they don' t use it every day and they don't go

                71. through withdrawal when they stop using it.

                8 Q. What you've just listed, are those objective signs and
                9 symptoms of chemical dependency?

           10 A. Yes, they are objective. They're verifiable. They're
           11 I primarily based on history. But a careful history taken from

           12 I an individual can generally rule in or rule out chemical

    ~      13       dependency.
           14 Q. Did you find signs and symptoms of cocaine or chemical

           15 dependency in connection with Mr. Hicks?

           16       A. Yes, absolutely.
           17       Q. Can you describe to us what those obj ecti ve signs and
           18       symptoms of chemical dependency was or were?

           19       A. Yes. Mr. Hicks' background with alcohol-and drug abuse

           20          primarily marijuana early on -- resulted in repetitive

           21       adverse consequences in his life from a performance

           22       standpoint in school, from a performance standpoint at workJ

          23        from a financial standpoint, and from a legal standpoint from

          24        his late teens on.

"         25           He, during periods of less use or abstinence, tended to
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I;.'')           1     function quite well, and at times of increasing use

                 2     developed, as I mentioned, repetitive adverse consequences

                3     resulting in pain and suffering in his life as well as in

                4     those surrounding him.

                5         Sometime in, the best of my recollection, the late

                6     , 70s/early' 80s, Mr. Hicks' drug of choice seemed to switch
                7     from alcoho: and marijuana to cocaine and alcohol. And he

                8     developedi I think, inarguable evidence of cocaine addictioni

                9     including in 1982 or ' 8~ going through a significant amount

            10        of money - - several thousand dollars that he had in a

           11 1 retirement fund - - in cocaine use, and actually in the year

           12         of 1985, earlier that year, going through probably a couple
 ~         13        thousand dollars in his bank account and his wife' s bank

           14 I account for cocaine use. So that indicates cocaine

           15        dependence to me.

           16            Another thing that indicates cocaine dependence is

           17        actually the way he tends to use. Initially, he started to

           18        use cocaine by snorting it, and fairly soon shifted to using

           19        I. V. And the data about cocaine use and the -routes of
           20        administration indicates that of the 35 million Americans or

           21        so who have intermittently tried cocaine, there's about three

          22         million or three-and-a-half million, 10 percent, that develop

          23         cocaine addiction or cocaine dependence. And the vast
          24         maj.ority of those who shift from intermittent use of cocaine,
 -..
          25         what might be casual use of cocaine and cocaine dependence,
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    :)           1        tend to change their route of administration. They either

                 2 1 use an I. V. or, more recently now, smoking the cocaine.

                 3 1 So, when I see a person who has a history of shifting
                 4 1 their route of administration to an I. V. formJ that is

                 5 1 powerful evidence of a move to oaddiction.

                 6 1 And then, finally, the pattern with which he tended to

                7 1 use. He tended to use an intermittent binge pattern of

                8 I cocaine. And, once again, people who are casual users or

                9' occasional users of cocaine tend to use it casually and

             10 1 occasionally. People who tend to lose control of cocaine,

            11 1 like most other stimulants that we have experienced with over

            121 the last hundred years or so, tend to shift to a pattern
    ~       13          where they intermittently binge on the cocaine where they

            14 I initially use it, and then use it several times to multiple

            15 I times over the next few hours to few days until their money

            16 I runs out, or they become too paranoid, or they become too

            17' exhausted, and then they sort of quit using the cocaine and

           18 1 crash and go to sleep and sleep off the binge. And it tends

           19 1 to be a - - sadly, sort of a payday phenomenon where people

           20 I get paid on Friday and have strong urges and connect the use

           21 1 of cocaine with the handling of money i and then people tend

           22 1 to binge in the middle part of the week, recover on the

           231 weekend to go to work on Monday.

           24' Q. Ylhat you describe, is that a phenomenon you
                                                                           observed or
í' -"\     25
\                     found in the history of Mr. Hicks?
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  "'y
                1    A. Absolutely.

                2 I Q. Now, can an individual feign or fake cocaine dependency

                3 1 or chemical dependency?

                4 1 A. No, not really. It f s - - it' s really not possible to fake
                5 1 addiction to the point of spending several thousand dollars

                6 1 of a retirement fund in a matter of several weeks to a couple

                7 I of months intermittent binging on cocaine and then earlier in

               8 1 1985 a couple of thousand dollars' worth of the entire bank

               9 I account of oneself and one' s spouse. That is just not a
                                                                                   -,
           10 I pattern that people are able to put on.

           11 I Q. What was the significance of this history that you found

           12 I with regard to Mr. Hicks in your evaluation that we asked you

 J         13       to do for us?

          14 I A. Well, the history that I found with Mr. Hicks in terms of

          15 1 his shifting from marijuana to cocaine, people who have

          16        previously been dependent on marijuana
                                                         which is a sort of
          17 I a small scale or fairly weak stimulant on the dopamine

          18 I system - - a person who's been a habitual dependent or

          19 1 addicted marijuana smoker, if they start using cocaine, tend

          20 1 to in a high percentage of cases, I would say 85 percent of

          21 I the time, develop cocaine dependence, and it's certainly what

          22 1 happened to Mr. Hicks.

          23 1 Q. You mentioned the dopamine phenomenon. What is that?

          24 I A. Uh-huh. Cocaine has three primary effects in the body,
- ~\      25        three primarily pharmacological effects. It' s first effect
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¡"           1    is to basically short circuit the peripheral nerves. It
            2     blocks the sodium potassium-pumping peripheral nerves and,

            3     therefore, it is a very good anesthetic, and cocaine is used

            4     as a local anesthetic. Since the peripheral nerves are short

            5    circuited, they can' t transmit pain sensation and so they

            6    become deadened or numb, the area where it's applied.

            7        The second effect of cocaine is systemic effect i a

         8       through-the-body effect, and that is a blocking of the

         9       reuptake of. norepinephrine and also to some degree

       10        stimulating the release of norepinephrine.

       11 I Q. And norepinephrine is?

       12 A. Norepinephrine is known in the vernacular as adrenaline,
 ~     13        a hormone, a systemic hormone released by the adrenal gland

       14        which tends to stimulate increased heart rate, increased

       15 I blood pressure, increased reflexes, decreased appetite i gets
       16 I rid of a need for sleep, so people don't sleep and they don't

       17 I eat and theY're all jazzed up. And the rush of cocaineJ the

       18 I - - what' s described as the initial rush of cocaine i is a

      19 norepinephrine or adrenaline surge.
      20 The third effect of cocaine is a central effect in the
      21 I central nervous system where cocaine blocks the reuptake of

      22 l dopamine and it also stimulates the release of dopamine.

      23 Dopamine is a neurotransmitter.
      24 Q. A neurotransmitter is what?
      25 A. A neurotransmitter -- a neurotransmitter is a chemical
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1 /'"           1    release by one nerve or neuron in the brain which then

                2 1 stimulates a second nerve or neuron in the brain and produces

                3 1 a reaction or a feeling. And dopamine is the _ _ is the

                4 1 neurotransmitter which produces euphoria in the human brain.

                5 1 For example, on the first sunny, warm day in spring, if we

               6 1 were able to measure dopamine levels in our brain compared to

               7 I the last snowy/cold day in February, all of our dopamine

               8 I levels would be a little higher because our spirits would be

               9 1 a little higher because of that external stimuli.

           10 1 Q. Spring fever actually has a physiological effect?
           11 1 A. Clearly. Absolutely. Dopamine is deficient, or the

           12 1 brain is relatively immune to normal levels of dopamine when

 ~         13       people have clinical depression and, therefore, most

           14 I antidepressant medications work either directly or indirectly

          15 I to intensify the brain's sensitivity to dopamine so that our

          16 1 spirits are lifted and the depression eases. Dopamine

          171 honestly is released during any pleasurable experience.

          18 1 Cocaine is the most potent drug that / s been identified
          19 1 which blocks the reuptake and stimulates the -release of large

          20 1 amounts of dopamine in the brain, and, hence, it produces

          21 1 variant euphoria. So, pretty much all addictive drugs that

          22 I we know of, from nicotine to marijuana, from heroin to

          23 1 cocaine, including things like alcohol and Valium and even

          24 1 prescription pain medications, all either directly or

coo,      25        indirectly increase dopamine levels in the brain. Dopamine
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.)          1    is clearly a final, common pathway of addictive drugs.

            2    Q. Now, Dr. Parran, what I'm going to ask you is this
            3    questioi: Based on all of the materials you were provided

            4    which you reviewed in connection with this matter, and

            5    drawing on your professional experience and knowledge i do you

            6    have an opinionJ to a reasonable degree of medical certainty,

            7    whether Mr. Hicks was cocaine- or chemically dependent at the

            8    time he committed the offenses in question?

           9    A. Yes, he certainly was cocaine dependent and alcohol
                                                                                .
       10       dependent and, hence, he had chemical dependence with a drug

       11       of choice, of cocaine, and a secondary drug of choice, of

       12       alcohol -- that would be the current terminology we use

~      13       clinically.
       14 I Q. You described how the cocaine affects an individual

       15       pharmacologically ¡correct?
       16       A. (Nods head affirmatively.)

       17       Q. Could you tell us what cocaine psychosis is?
       18       A. Yes. I just described the sort of three pharmacological

       19       effects of a single dose of cocaine: Peripheral nerve

      20        numbing, of how the drug was administered, and then sort of

      21        systemic rush of a surge of norepinephrine, and then central

      22        release of dopamine and euphoria. That i s what happens when

      23        anyone takes a single dose of cocaine.

      24            As people take more and more cocaine, as people
""
      25        repeti ti vely administer cocaine, several things happen: Less
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                                                                                         3-40
l :')
                1    and less dopamine is released because the dopamine nerves in

                2 I the brain only have a certain supply. Since the cocaine

                3 1 stimulates too much release of dopamine and doesn' t let the

                4 1 nerve take it back up to recycle it, the nerve becomes

                5 1 depleted of dopamine and, hence, subsequent administrations

                6 1 of the drug produce lower and lower amounts of euphoria. At

                7 1 the same time when the drug wears off, people have what is

                8 I called dysphoria, or a hangover. It' s almost better to
                9 i grasp--
            10 I Q. is it easier to chart that?

            11      A. The euphoria            it would be easier to draw it out.
           12                  rviR.   r'1EZIBOV:     Your Honor, may I use the chart?
     ~     13                  THE COURT:           We'll recess and he can draw his
           14       diagram.
           15                  r1R. MEZIBOV:          Thank you, Judge.
           16                  THE CLERK:           All rise.
           17           (At 10:12 a.m., a brief recess was taken.)
           18                                            * * *            (10:35 a.m.)
           19                  THE COURT: Is the petitioner ready to proceed?
           20                  MR. MEZIBOV: Yes.
           21                  THE COURT: Respondent ready to proceed?
           22                  MR. WILLE: Yes.
           23                  THE COURT: Proceed.
           24 1 BY MR. MEZIBOV:
i
\.         25       Q. Dr. Parran, during the break you have prepared a couple
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                                                                                             3-41
      /)                 1    of exhibits for us i have you not?

                     2        A. Yes, I have.

                     3        Q. And we were talking about cocaine psychosis and the
                     4        pharmacological effects of that.

                     5        A. Yes.
                     6        Q. Could you, with the Court's permission, come down and
                     7        show us what you prepared for us?

                     8        A. Okay.
                     9                   THE COURT: Proceed.
                 10                      MR. MEZIBOV: Your Honor, with your permission.
                 11 I Maybe if we all came closer. Is it okay?

                12                       THE COURT: I can see.
     ~          13                       MR. MEZIBOV: Okay.
                14                (Wi tness positioned by the easel.)

                15           A. What I've tried to graph out here is the effects that one
                16           might receive from the administration of a fixed dose of

                17           cocaine by two different routes.

                18               What I' ve drawn in a solid line here, sort of this wavy

                19           shape, is the effect that one might receive from snorting or

                20           intranasally administering perhaps 10 milligrams of cocaine.

                21               And along this axis here is sort of a person' s mental

                22           state, base line, euphoria and dysphoria, and at the bottom

               23            end of dysphoria, paranoia.

               24               And what I' ve drawn along this axis is time.
     ..~."\
'-
               25                If a person snorts, for example, 10 milligrams of
                                          P F.RRA
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                                                                                      3-42
1-)          1    cocaine, it takes about two minutes for a person to really

             2 I start getting high. It' s because cocaine is fairly slowly

             3 I absorbed across the nose membrane and there isn' t very much

             4 I membrane in the nose to absorb it.

             5 1 Also, we mentioned that one of cocaine' s initial effects

             6 1 is to produce a lot of norepinephrine in the system, a lot of

             7 I adrenaline in the system, and that causes a spasm of smooth

             8 1 muscles which closes down blood vessels. So, there isn' t

             9 I much blood to the nose when one snorts, so the cocaine is
                                                                                 '.
        10 1 slowly absorbed. The peak euphoria is after 20 minutes. The

        11 I total duration of euphoria is 40 minutes, possibly a little

        12 I longer, possibly a little shorter, and then there is

~       13       dysphoria, there is a hangover. And as with any

        14 1 mood-altering drug that a human self-administers, the

        15 1 euphoria is always followed by dysphoria. It doesn't matter

        16 I if it is alcohol or nicotine or cocaine. And the intensity

        17 I of the low is pretty directly proportional to the intensity

        18 1 of the high, to use the example of alcohol that many people

        19 1 are more familiar with. How intoxicated a person gets is

        20 I proportional to their hangover. And it'd take approximately

        21 1 the same time to come back to base line from dysphoria to

        22 1 euphoria, that is, if you snort cocaine.

        23                THE COURT: So the episode is 80 minutes?
       24                 THE WITNESS: Eighty minutes from snorting cocaine i
00,
       25        yes. When you look at this kind of a curve, you see a curve
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                                                                                                   ,
                                                                                            3-43
      t")           1    that actually resembles having a mixed drink at a party. A

                    2 i person, after a little while, gradually becomes a little

                    3 1 disinhibited (sic) or euphoric. It wears off after a period

                   41 of time with dysphoria and a person comes back to base line.

                   5 1 If you take those same 10 milligrams of cocaine, instead

                   6 1 of administering intranasally, if you use it in an I. V. or if

                   7 1 you smoke it - - it is just that the cocaine that was

                   8 1 available in 1985 generally was cocaine hydrochloride, the

                   9 I acid form of cocaine, it was not smokeable. Cocaine
                                                                                       '.
               10 1 carbonate (phonetic) or base, so-called freebase, is crack

               11 I cocaine. This is what' s marketed now and it is easily

               12 I smokeable by changing it from its acid to base form, which
     "'        13       most people cocaine dependent smoke it. Back in ' 85, most

               14 I people with cocaine dependence couldn't turn cocaine

               15 1 hydrochloride into cocaine chlorate (phonetic) and smoke it,

               16 I so they tended to use it in an LV. And if you take the 10

               17 1 milligrams of cocaine, if I had drawn it proportionally, this

               18 I area below this curve here should be equal to the area under

              19 1 this curve here because it' s the same lÓ milligrams of

              20 1 cocaine. But what happens is this onset of the high begins

              21 1 in 15 to 30 seconds instead of two minutes.

              22                  THE COURT: Tha tis I. V . ?
              23                  THE WITNSS: I. V. J or smoking. But for purposes
              24 1 of this discussion, I.V. It begins in 15 seconds; takes
,-
,             25        about that long for blood circulation to move through the arm
     '-
                                              PARRA
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                                                                                        3-44
: .'''           1    to the inferior vena cava to the lungs to the brain. It

                 2   ~eaks at about two minutes. It is pretty much done, in terms

                 3   of the measurable or reported euphoria, within about ten

                 4   minutes, and then there is a very deep dysphoria that follows

                 5   the very high euphoriaJ and then much more gradually the

                 6   dysphoria comes back to base line.

             7       Q. What is the impact or the dysphoria with respect to the
             8       paranoia that you' ve also outlined on the chart?
             9       A. Well, if a person uses a small amount of cocaine I. V. ,
            10       they get very intensively euphoric for a short period of time

            11       and then their actual mood, their spirits - - this is what is

            12       called dysphoria, depression, despondency, lack of interest

 ~          13       in anything in life, except perhaps using more cocaine is

            14 l what sort of dysphoria would be defined as. And if the

           15 l dysphoria gets deep enough, people tend to repeti ti vely
           16 I report paranoid ideation, paranoid feelings, and that will

           17 I become more important when I show you the next graph which

           18 I demonstrates multiple self-administered doses of cocaine.

           19 I The reason why I said if a person shifts. to an I. V. form

           20 1 of cocaine from a snorting form of cocaine that it indicates

           21 1 to me addiction, is that when a person is this high, this is

           221 riot a "social high. II The high is so intense at this point
           23 I that the human brain has a tough time processing other

           24 stimuli. When a person is this intoxicated, it' soften

           25 considered a so-called social lubricant. When a person is
                                                     '--..~T 03/07/13
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                                                                  DIRECT
                                               PARRA
                                                            DIR.ECT
                                                                                            -.r
                                           "

               1, thi S in taxi ca t ed, it probably doe Sn 't ma t ter t a the Person
                                                                                     3-45
               2, whe ther they are a t a party or isolated, It's jus t tough to

           3      interpret much else here.
           4      hangover is so intense,         And then the low is So low,
       5                                     that mOst social users of the drug,
                 wha t eVer tha t drug may be,                               the
       6                                    if intense
                 and they eVer do this kind of theY're eXperience
                                                       uSed tò do With
                                                                   dOingthe
                                                                          tbis

      7, drug, they say "This is too high. This is too low. The

      8, whole thing Was gone too quick. I'll never do that again."

      9 . When a person has the disease of addiction, this is
 10, interpreted, this intense high is interpreted as Nirvana.                                          'he
 11        And this intense low, by Some strange neurochemical mechanism                               .1
                                                                  "

i2, of addiction that We don't -- that We haven't identified Yet,                                  .t
 3         this intense low is actuaiiy interpreted by the addicted                                i
14 , brain as a reason to USe again now, which is the difference

       between social users of mood-altering sUbstances and PeoPle                                LS

      wi th Chemical dependency. It is clearly a brain lesion. It
7, is Clearly a disease of neurochemistry. But We don't know                                  'es.
      why this -- what would be a called a negative reinforcer, a                            ime. II
     reason not to do that behavior again


J addicted brain as a reason to use now.  is interpreted in the
  Q. Before We tUTn the chart, for purposes of the record                                   rtainly
 we'ii indicate that Dr. Parran has Signed his name and

 Jnitialed his first Chart. We've marked that as ExlJbit 15.                                was a
 \. Seeing this Sort of basic Pharmacology of cOcaine, Sort

of regardless of Chemical dependency or not, this is the same                             t it has
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                                                                                     3 -47

/')           1    a gradual tail.
              2              THE COURT: But now you' re changing it. You had it

              3    about 50 or 60 minutes, and now you're changing to 80

             4 minutes. Aren't you?
             5 THE WITNSS: Well, this is the dysphoria, or the
             6 I - - or the intense low that people feel. They gradually come

             7 I back to base line, but the craving for more cocaine is

           8 I described to last -- to last significantly longer than that.

          9 I But this is actually the low mood state, and this is 60

         10       minutes, so minutes, somewhere in that range.

         11                 THE COURT: I'm just using your charts now.

         12                 THE WITNESS: Okay. That' s fine.

:)       13                 THE COURT: So, the line, the diagonal line that

         14       you were just talking with before I interrupted you __

         15                 THE WITNESS: Yes.
         16                 THE COURT: -- is a 60- to 80 minute line?

         17                 THE WITNESS: Certainly an hour.

         18                 THE COURT: All right.

         19                 THE WITNESS: Certainly an hour.

         20                 THE COURT: So in Mr. Hicks' case, we're deal ing

         21 I now with the first hour?

         22 THE WITNSS: This would be the first
        23        self -administration, so it would be about the first hour.

        24                  THE COURT: So the euphoria was felt again

IJ      25        before the euphoria was felt again, we' re dealing with an
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                                            P ARRA       DIRECT

                                                                                       3-48
   l)          1    hour of time?

               2              THE WITNESS: I' d have to go back and look through

              3     the notes for exactly the period of time that was reported,

              4     but it's -- it's my recollection now that the first

              5    administration took place, and then within -- between an hour

              6    and two hours the second administration took place. And then

           7       once again there is some differing reports of between three

           8       and five injections; about an hour or so, maybe two hours,

           9       wi th a third inj ection, yes.
                                                                                  r,
          10                 THE COURT: Proceed.
         11                  THE WITNESS: Okay.
         12        A.   (Continuing) What will typically happen in a cocaine
 .~      13        binge is a person will use cocaine, they'll feel high,

         14 they' 11 feel very low. They'll grad - - their spirits will be
         15 very low here. They'll self-administer again sometime. When

         16 they self-administer again, the peak of the high is
         17 significantly lower than the initial, partly because they're
         18 starting from a lower base line state when they use again,

         19 but partly because there isn' t as much dopamine in the

        20 original nerve as there was in the first place because so
        21 much was released in the initial -- in the initial use of the
        22 drug. And so you're dealing with a functionally
        23 dopamine-depleted nerve and, hence, it can't release as much
        24 dopamine. So, with the second administration, people never
, --
        25 report being anywhere near as high as with the first
         Case: 4:07-cv-00880-JG Doc #: 35-3 Filed:
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                                                           DIRECT
                                                                                               ,
                                                                                        3-49
    f)              1    administration, and always report that the low is much lower

                 2 than after the first administration.

                 3 So, if we have a second administration, at some point
                 4 during that same binge, honestly these administrations in

                 5 some cocaine binges are every 15 to 20 minutes. Sometimes

                 6 they're spaced out by a few to several hours. Usually it' s

                7 in the range --
                8                  THE COURT: When do they become fatal?
                9                 THE WITNSS: Cocaine - - cocaine binges actually                   .i
                                                                                                   "'
                                                                                                    ;.
                                                                                   ".
            10 are surprisingly rarely fatal, considering we have about

            11          three million people intermittently binging on cocaine per
j

!
            12          year in the United States. We only have about somewhere

    ~       13          between a thousand and 1500 fatal overdoses from cocaine per               ..
            14 year.
           15                     THE COURT: How much - - how much does that take?
           16 Or does it vary with the size of the individual? Or is it
           17           something that can be    can't be determined except on a
           18 case-by-case basis?
           19                     THE WITNESS: It is a case-by-case -basis. The
          20 reason being, because the fatality of cocaine tends to
          21 involve one of three mechanisms -- actually four; the most
          22 common I'll get to last. The first is spasm of the coronary

          23            arteries, smooth muscle in the arteries in the heart which

          24 spasm lead to a heart attack and then death. And that is
          25 just           sort of an intermittent thing that is unpredictable.
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                                                                               .3-50
i:,         1        Secondly, a seizure. And it' s entirely unpredictable
            2 when a person can have a seizure associated with cocaine

            3 use.
            4 Thirdly, rarely will people have a stroke from cocaine
            5 use, and it can be a large stroke and produce death. The

            6 most common way that cocaine produces death is suicide, and

         7 there' s lots of suicides as well as homicides associated with

         8 this sort of bizarre paranoid behavior that begins when

         9 people are in the midst of a binge. We don' t have good
                                                                                ".
        10 numbers on that. The numbers that I gave you of about 1500

       11 people a year, maybe 2000, who die of cocaine overdoses are

       12 from heart attacks, seizures or strokes.
P\     13                 THE COURT: And you say that cocaine base leads to
       14 this episode that you've just described in Exhibit 16 more

       15 than just powder cocaine?

       16                 THE WITNESS: Actually, cocaine hydrochloride,
       17 powdered cocaine and cocaine base, rock cocaine or crack

       18 cocaine, are pharmaceutically the same thing. It's -- it's

       19 just that in order to get enough cocaine hydrochloride, the

       20 powdered cocaine, into one's system to experience this, it
       21 really has to be used in an I.V./ and most Americans are

       22 terrified of needles and won' t use an I. V. Cocaine base is

      23 pharmaceutically identical. It is just if you smoke cocaine,

      24 it is all instantly absorbed by the lung. The nicotine

      25 companies have known that any mood-altering substance that
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                                         P ARRA        DIRECT
                                                                                    ,
                                                                                    3-51
 /)          1    can be volatilized or vaporized and, hence, inhaled, can be

            2 instantly absorbed by the lung and, hence, delivered pretty

            3 much directly to the brain, and so it' s two different
            4 delivery systems for really, honestly, the same drug.

            5               THE COURT: And it's only cocaine base that can be-
           6 delivered to the lung?

           7                THE WITNESS: Yes. Cocaine hydrochloride, powdered
           8 cocaine. If you heat it, you have to heat it to 400 degrees

           9 centigrade for it to burn, and then it actually burns and
                                                                                "

        10       denatures, rather than vaporizes. Cocaine chlorate
                                                                                    or
       11        what we know as crack cocaine, rock cocaine or base
                                                                                    if you
       12 heat it, since it' s in the base form, it vaporizes at a

~
'-
       13        hundred degrees centigrade i temperature that is easy to reach

       14 in, you know, any sort of smokeable form. And, hence, since

       15 it volatilizes and vaporizes, it is able to be smoked,

       16 inhaled in the lungs and absorbed directly by the lungs, much

       17 like nicotine. And the - - I hate to say it, but the
       18 advantage - - but the advantage of delivering a mood-altering
       19 drug to the brain by the lung is that it' s all absorbed into
       20 the lung i mmedi ate 1 y in a very small - - one heartbeat J s worth
       21 of blood, when then in the next heartbeat it gets delivered
       22 to the left heart, which then in the next heartbeat is

       23 delivered to the brain. So, we're really talking from the
      24 time you smoke cocaine it is - - from the time you inhaled to
      25
.--              the time the cocaine hits your brain is, for all practical
     Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 30 of 207. PageID #: 2654
                                        PARRA         DIRECT

                                                                              .3-52
l)         1   purposes, three to four heartbeats, and so it's an even

           2 quicker, more concentrated way to deliver a boulis of the

           3 drug to the brain, hence, it tends to, if anything, be even a

           4 little bit more reinforcing with even a little bit more acute

           5 onset and possibly a higher peak than using an I. V.

           6             THE COURT: So, the use of cocaine base is more
           7 likely to result in an episode that you've described on

           8 Exhibit 16 than the use of cocaine hydrochloride?

        9                THE WITNESS: "The use of cocaine base is just as
                                                                              "

      10 likely to produce this kind of a binging situation

      11 (indicating) as the use of cocaine hydrochloride I. V. And

      12 the use of cocaine hydrochloride by snorting, the intranasal
~     13       route, tends to be less likely to produce this kind of a

      14 phenomenon.
      15                THE COURT: And this episode you say results in
      16 violence or death?
      17                THE WITNESS: Well, yes.
      18                THE COURT: Violence against self, violence against
     19 others?
     20 THE WITNSS: Especially with subsequent
     21 self-administrations. Each time a person uses, the high is

     22 less high and the low is even more low. With more and more

     23 dysphoria, more and more paranoiaJ more and more intrusive

     24 thoughts, more and more difficulty interpreting normal
     25 stimuli as being non-threatening. It tends to lead to people
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                                                                               3 -53
1d)        1   arming themselves on often a regular basis, using more and

           2 more by themselves, being more paranoid in their ideationJ

           3 misinterpreting external cues and participating in what

           4 everyone else would observe as unprovoked random violence.

           5             THE COURT: As a practical
                                                         matter , a user of
           6 cocaine -- "addict," if you will -- the only way they can use

        7 it or assimilate it is by self-administration; isn't it?

        8 There is only one to administer to?

        9                THE WITNSS: No, I' ve interviewed lots of patients
                                                                              ..
       10 with positive toxicology tests for cocaine, all of which are
       11 certain someone slipped it in their drink. And when the

      12 story comes out, that doesn' t happen.
~     13                 THE COURT: Proceed. I' m sorry.
      14                THE WITNESS: No. The important aspect with this
      15 kind of a graph is that as people in the midst of a binge
      16 with cocaine, repetitive self-administration of cocaine, as
      17 they become more and more dysphoricJ the paranoia and then

      18 more clearly psychotic symptoms of cocaine psychosis become

      19 prominent. The estimates are that when peopre use cocaine
      20 I.V. or they smoke it, and if they use it in an intermittent
      21 binge crack pattern, the estimates are at least 50 percent
      22 and probably 70 percent of people develop significant
      23r. paranoid ideation during the end - - during binges after the

      24 initiation, or binges lasting for a few to several hours

      25 after the end of a binge; 50 to 70 percent. One would say,
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                                               PAR RA        DIRECT
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    l


                                                                                         3 -54

        ~         1    "Hell, if this drug produces euphoria first and then all of

                  2 this terrible dysphoria and more and more paranoia and after

                  3 a while a person is using and not getting back to base line,

                  4   why on earth do people continue to use it?"
                                                                             that is
                  5   addiction.    If I had an answer to that, it would be even
                  6 simpler to treat people.

               7 The paranoiaJ sort of the continuum from dysphoria to
               8      paranoia to psychosis with cocaine
                                                                  and it honestly is a
               9 continuum, almost like a continuum of white to black with
                                                                                     "
              10 many shades of gray in between - - is one which has clearly
              11 been identified and honestly was identified back in the early
             12 ' 80s as a phenomenon which was susceptible to something

        1    13       called the "kindling effect." And let me just describe the

             14 kindling effect and then I' II stop and answer questions, I
             15 guess.
             16 The kindling effect was first identified in manic
             17 depressive disease or so-called bipolar diseaseJ where it was
             18 observed that if a person had manic depressive diseaseJ when

             19 they first developed it, their manic episodes would last a

            20 long time and not be real manic and they're depressive
            21 episodes would last a long time and not be very depressed.
            22 And as a person went through the cycling of manic depressive
            23 disease, it required less stimulation of a mania to bring

            24 upon a more and more intense depression and then less
            25 stimulation of a depression to bring on more an more intense
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                                                      DIRECT

                                                                                          ,
                                                                                   3-55
/,          1    mania. And it seemed that person seemed to cycle more and

            2 more rapidly between mania and depression and it' s been

            3 hypothesized as an electrical phenomenon in the brain called

            4 the Kindling phenomena.

            5 It was next demonstrated in the early , 60s in Lexington,

            6 Kentucky at the Addiction Research Center at the Federal

            7 Penitentiary for Drug Offenders that the Kindling phenomenon

         8 was clearly present in opium dependents. The way that they

        9 studied this is, they basically took federal prison
                                                                               "
       10 volunteers who had a history of opium dependence and they

       11       gave them morphine for six weeks
                                                         six times a day by
       12       inj ection and then they put them in a small room with bizarre
~      13       wallpaper for five days and let them go through untreated

      14 wi thdrawal. And they took - - and morphine withdrawal lasts

      15 for five days. Then they'd take them out of that room and

      16 put them back in prison for six months with no morphine, and

      17 they would bring them back and just put them back in the room

      18 with bizarre wallpaper without any morphine, and 100 out of

      19 100 patients would develop dilated pupils, runny noses,
      20 objective and substantive signs and symptoms of opiate

      21 withdrawal just being in the context where they had been in
      22 previously untreated withdrawal before. Sort of a Pavlovian
     23 learned response i one might say.
     24 What was demonstrated in research in the late ' 70s and
     25 the early , 80s with cocaine psychosis and with
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'j             1    cocaine-associated seizures is that clearly a kindling
                                                                                       3-56


               2 phenomenon is present with cocaine as well, especially in the

               3 area of cocaine-associated paranoia, cocaine-associated

               4 psychosis and cocaine-associated seizures. The earliest

               5 research was with the seizure in the late 1970s. They

              6 identified people tended not to have a cocaine-associated

              7 seizure unless they had been on an extensive binge,

              8 tremendous quantities of cocaine, a couple thousand dollars

              9 worth of cocaine on a weekend, and then they would finally
                                                                                  '"

          10 surpass the level of cocaine toxicity in their system where

          11 they would have a seizure. And once they had that one

          12 seizure, subsequent use of cocaine to a much lower level

    )     13       just two or three or four administrations of cocaine - - could

          14 produce a seizure in the same person, where previously it had

          15 required 20 or 30 self-administrations. Once the wiring
          16 mechanism or the response of a seizure to cocaine
          17 intoxication had happened in those people' s brains J it took

          18 less of an insult from the drug to produce the same effect.

          19 What was then identified in the early 1980s is that it
         20 was exactly the same with cocaine-associated paranoia and

         21 cocaine psychosis. Then originally when people began using

         22 cocaine in an addictive waYJ it required a lot of cocaine, a
         23 heavy, heavy binge maybe for a day and -- a day or two days
         24 for a person to really start getting toxic from a paranoid
';.-
£        25        and sort of psychotic delusional standpoint. But once they
    --
          Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 35 of 207. PageID #: 2659
                                             PAR RA        DIRECT

                                                                                    3-57

 ¡ ")           1     had reached that, subsequently - - even if they had been off
                2 cocaine for six months or a year - - subsequently only a

                3 couple, three, four , five administrations of cocaine could

                4 produce similar paranoid and psychotic symptoms, a kindling

                5 phenomena, which was identified in the literature in the

                6 early' 80s - - clearly in the early '80s but also in __

               7 associated with amphetamine psychosis J and cocaine is

               8 scheduled as an amphetamine-like drug. The kindling

               9 phenomenon with amphetamine psychosis has been well known

           10 since the 1950s. l' II stop.
           11 Q. Dr. Parran, 1'm going to ask you to resume your seat, if
           12 you would.
    ~      13            (Wi tness regained the witness stand.)
           14 Q. Dr. Parran, you' ve mentioned three central features, I
           15 believe, in this discussion here: One is cocaine psychosis i

           16 two is this concept of binging i and third is that of the

          17 concept of kindling, kindling effect.
          18 Could you relate all of those concepts or phenomena with
          19 the history of John Hicks as you understood it from the

          20 materials that you were provided?

          21 A. Yes. Certainly Mr. Hicks, his past history over the last
          22 three to four years prior to the crimes that were committed,

          23 demonstrated an intermittent binge-type dependence or
          24 addiction on cocaine. His pattern clearly was a binging-type
'1"'"'-
L
          25        pattern where he wouldn't use it for several days, often
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                                         P AR          DIRECT

                                                                                3 -58

:f)         1    several weeks i occasionally a few to several months. But

            2   then once he did use, he' d use repeti ti vely and then try to
            3   stop it. And once -- once he had used, he used repetitively

            4   on that occasion and then he stopped it, but he'd only be

            5   able to be stopped for a short period of time and then he was

         6      repetitively again. Sort of a gradually accelerating

         7      intermittent binge pattern. Periods between binges got

        8       shorter and shorter. That certainly is what he described in

        9       his interview with Dr. Baum in 1990 and it is what he

       10       described to some degree in his interview with Ms. Leahy.

       11           And certainly the descriptions that Mr. Hicks gave to

       12       Ms. Leahy as well as the detectives in Knoxville when they
~      13       interviewed indicated there was a cocaine binge that he had

      14 - - that the events of August 4th or 5th, I can' t remember

      15 which date it was, had the hallmarks of a binge: Hadn't used
      16 for a while, pay day, got paid, got his money, all of his
      17 plans for the day went out the window i used cocaine __

      18 actually initially had a little bit of trouble getting the
      19 ini tial cocaine and started getting edgy and -restless and

      20 irritable, used the cocaine, felt very high. As it went

      21 awaYJ he got increasingly crescendo urgings or cravings to
      22 use more cocaine, again began to cast about on how to get
      23 money for more cocaine, et cetera. So, it's -- it's classic

      24 for a cocaine binge.

      25 The paranoia, moving towards cocaine psychosis, is
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                                          P ARRA        DIRECT

                                                                                     3-59
: /,         1    actually there' s some evidence in the interview done in
             2 Knoxville with the detectives that supports there being

             3 paranoia, intrusive thoughts, difficulty following through

             4 and maintaining one thought pattern, erratic, irrational J and

             5 uncharacteristic out-of-control behavior on his part is all
             6 there. Even in the interview it was concluded by people, you

          7 know, who will - - who are law enforcement professionals, not

         8 clinicians - - had clinicians been conducting that interview,

         9 I think several points would have been followed up on and a
                                                                                '.
        10 lot more data in the interview, but, I think there is clearly

        11 some data there and then much ,more data in the interview done
        12 by Ms. Leahy about the mental state or the thinking state,
~       13       psychological state that Mr. Hicks was in after or during

       14 this binge of cocaine.

       15 And then the kindling phenomenon also is - - there' s some
       16 evidence for the kindling phenomenon in Mr. Hicks' history in
       17 the assessment done by Dr. BaumJ the really good chemical

       18 dependency evaluation done by Dr. Baum in 1990, as well as

       19 some in Ms. Leahy'S interview indicating previous sort of
       20 binging patterns and suspiciousness and paranoid ideation in
       21 the past when he had used the cocaine - ~ much more heavily

       22 in the past than at this time. So, I think there is evidence

       23 of all of that.
       24 Q. Now, let me ask you -- let me ask you some ultimate

       25 opinions in a moment. But before I do, in looking through
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                                                                                      3 -61
      _.~
                  1    paranoia comes on after the intoxication has worn off, when

                  2    the dysphoria has kicked inJ and it tends to get worse and

                  3    worse with subsequent administrations. So, the dysphoria

                  4    paranoia and psychosis tends to increase with subsequent

                  5    administrations, whereas the intoxication tends to decrease

                  6    wi th subsequent administrations.
                  7        And clearly the literature, both now and in the early

                  8    1980s, indicates that once this severe paranoia or cocaine

                 9     psychosis begins, it tends to last for a matter of hours

             10        after the last administration of cocaine. It rarely, if ever

             11        - - and, frankly, lasts up until the time of the crash. What

             12        I teach medical student residents - - honestly, what I teach
      ~      13       Emergency Room doctors, I have many talks about the cocaine-

             14       intoxicated and cocaine-agitated person. What I especially
             15       tell Emergency Room doctors, because they're the ones that

             16       see people in this state all the time, is when a person has

            17        been binging on cocaine, they're getting more and more

            18        agitated, paranoid, irritable, interpreting external stimuli

            19        as threats. They frequently also are experiencing tightness

            20        in the chest, chest pain, other things, so they often wind up

            21        in the Emergency Room. And when they come in, they're very

            22        dangerous and they need to be sedated immediately in order to

            23        - - in order to ensure the safety of the Emergency Room

            24        staff. Once - - what tends to happen is a person binges on

'",         25        cocaine for a certain period of time and then there is a
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                                                                                   3-62   ,

  ..-)            1     peri-binge period of a few hours, several hours. People are

                  2     restless, irri table, paranoid, and then they crash. And the

               3        crash means basically going to sleep and sleeping it off and

               4        eating a lot, because in the midst of a binge, the

               5       norepinephrine effects of cocaine cause people not to eat and

               6       not to sleep. So, the recovery - - the crash from cocaine

               7       ter..ds to involve hypersomnolence and hyperphasia: Eating a
              8        lot of things and sleeping a lot.

              9            Rarely - - in fact, clinically it is almost unheard of now

          10              people still have some cocaine psychosis after they wake

          11           up at the end of the crash. Very, very rarely. But,

          12           typically, a fair number of people are paranoid right up
~         13           until the time of the crash, of the time when they fall

          14 asleep.
          15 When we look at - - at this case and we hear the
          16 descriptions of a single use, strong cravings to use more,

          17 hocking a VCR, erratic thoughts, commission ot a murder, use
         18 of more cocaine, commission of another murder and sort of

         19           agitated period of time where a person is hypervigilantJ goes

         20           homeJ sees their spouse, used some sedating drugs -- people

         21           frequently self-treat that agitated, restless time with

         22           things such as marijuana or alcohol, sedatives which were

         23           self-administeredJ and then leaving, driving, still being

         24           sort of irrational, crashing i going to sleep i waking up and
--,
         25           driving to the police station and turning one's self in and
            Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 40 of 207. PageID #: 2664
                                               P ARRA       DIRECT

                                                                                     . 3 -63

     () .         1    confessing, is classic for cocaine psychosis.

                  2 Q. Now, I think you' ve answered in a substantial way my next

                 3 question, but let me ask you anyways: What are the outside

                 4 signs and symptoms of cocaine psychosis?

                 5 A. Let me add - - I' II list a few things and then I' II
                 6 specifically list a few things that are not described with

                 7 cocaine psychosis which I think have shown up in some of the

                 8 transcripts as confusing points. Cocaine psychosis, or __

                 9 cocaine psychosis is a phenomenon which is characterized by

             10 paranoid thoughts, misperceptions , intrusive thoughts. So
             11 the feeling, like thoughts are coming into one's head,

             12 suddenly having a thought, frequently irrational, intrusive
      ~      13       thoughts, hallucinations, overwhelmingly tend to be either

             14 auditory, hearing voices - - although they're usually
             15 interpreted as thoughts as coming in their mind - - but
             16 hearing voices and tactile - - occasionally people feel what
             17 is called cocaine fleas, or feel things crawling on their

             18 skin, less and less ability to follow consistently through on

             19 a plan, more jumping and jumping from one plan to another and

            20 from one thought to another and more and more bizarre ways.

            21 What typically is not present with cocaine psychosis is
            22        florid delirium. I mean, these people aren' t talking out of
i
t
            23        their minds, acting, you know, bizarrely, schizop~renic or

            24 talking like theyJ re in delirium or DTs J or whatever, but
    fr"',   25        their thoughts and their behaviors are erratic and irrational
           Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 41 of 207. PageID #: 2665
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                                                                                          3-64

     '")          1    and frequently moving from being mildly paranoid, to being

                  2 armed, to being actually violent.

                  3 Q. Now, were these classic signs and symptoms of cocaine

                 4 psychosis present in the record that you have reviewed

                 5 relating to Mr. Hicks?

                 6 A. Yes. I think as I mentioned there's evidence of it even
                 7 in the interview with the detectives in Knoxville, although

                 8 that interview was an interview aimed at an entirely

                 9 different topic. I mean, it was a difficult task. Even
                                                                                     '"

             10 given the fact it was, you know, a law enforcement,

             11 professional interview, there is evidence in that interview
r
             12 that some of thìs was going on, and a lot of evidence in the

    .~       13       interview done with Ms. Leahy.

             14 Q. &~d, Dr. Parran, do you have an opinion, to a reasonable
             15 degree of medical certainty, whether Mr. Hicks was in the
            16 throes of a cocaine psychosis at the time of these two

            1 7 murders?

            18 A. Yes, I -- in reading the -- having read the transcript
            19 from the confession and having read the history of the client
            20 in terms of the pastJ my initial opinion and my overwhelming

            21 opinion since then is that from a clinical standpoint, if I
            22 had to create a differential diagnosis, my differential
            23 diagnosis in this case would be cocaine psychosis, cocaine

            24 psychosis, cocaine psychosis J cocaine psychosis, and then
    /0_\    25        maybe something else, but I can't imagine what else it would
          Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 42 of 207. PageID #: 2666
                                             P ARRA        DIRECT

                                                                                       3-65
    ,-,         1    be.
                2 Q. What were the indicia, if you will, of cocaine psychosis

                3 that you observed in the record as surrounding the murder of

               4 these two individuals?

               5 A. What would be the addition?
               6 Q. The indicia, the indications that Mr. Hicks was in the
               7 throes of cocaine psychosis when these two murders we~e

               8 committed.
               9 A. I can - - I can open up the transcript and give you a
                                                                                   "

           10 couple specific examples __

           11 Q. That would. be helpful.
           12 A. -- if you like.
   ~       13              The first I' II mention is the transcript from the

           14 Knoxville Police Department, and this transcript on its
           15 second page -- or on the first page, it says, "I went over to
           16 this guy's house that I knew and had some cocaine. So I

          17 bought me some." And then there s some information about the
          18 person he bought it from, and then "I used it and some after
          19 I went home and then that craving came, you know/ to get some

          20 more dope. So what I did/ I called the man and asked if he
          21 had some for me. He said okay. So I took the VCR we had at

          22 the home. So I went over there/ and a little bit later I
          23 gave it to him, so he gave me some more. So I told him I

          24 would pay him back tomorrow. I realize I didn't have the
;,-,--,
          25        money to get the video recorder because it wasn' t mine / so I
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    ì (~         1   got to thinking      I said I' ve got to do something, you know,

                 2 because the video recorder didn' t belong to me. I knew

                 3 there' d be a lot of bullshit going on with my wife i so what I

                 4 did, I got to thinking well, since I i m supposed to have went

                 5 to the ball game -- well, I didn't. "Okay? So I called her"

                 6 and he was calling his mother-in-law.

              7 Those sorts of things, indicating sort of the person buys
              8 some cocaine, doesn' t have any more money, is moving toward a
;-
(
              9      cocaine binge regularly and routinely, hocks about anything

            10 they have that' s valuable in order to get some more cocaine,

            11 and then once that's been done, frequently tries to figure
            12 out how to get some more money, it becomes more and more
     ~      13       irrational.
            14 So, "I need some more money. Maybe I should go rob 'my
            15 mother-in-law." That's entirely irrational, compared to

            16 robbing someone else who doesn' t know you, who you would

            17 knock over the head and would never recognize you. That is
            18 crazy. But this man isn't crazy. This man does haven't a

            19 history of schizophrenia. He doesn't have a -history of

           20 serious mental illness. That is an indication there of
           21 cocaine psychosis.
           22 He states on the next page, llBut getting back to where I
           23 was just going to leave,ll he said to the detective he was
           24 just. going to leave the apartment, and then - - II So she was
           25 wondering about that cage and what the bird cage had in it
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                                                 PAR   RAN    DIRECT

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                  1       and blah, blah, blah. She turned around and I just grabbed

                  2       her and started strangling her." That once again sounds
I


                 3 likei you know, sort of the erratic sort of impulsive

                 4 behavior of a person who's getting more and more sort of

                 5 psychotic on a cocaine binge.

                 6 A little further on they talk about finding a gun. He
                 7 said - - the interviewer said, "You could not find the gun? 11

                 8 And the defendant said, lIYeah, at first, then all of a sudden
                 9 I realized that. I saidi well, you know, Brandy knew .1 was

              10 the last one here, so, you know, it was like I was, 'No, I

             11          shouldn't do that to her,' you know. 11 That sounds very much
!
L
I
I
             12          to me - - giving a law enforcement interview as opposed to a
        ~    13          clinical interview - - of a person describing intrusive

             14 thoughts that are coming in that are bizarre and completely
             15 irrational sort of, you know, coming into a person's mind.

             16 lIAnd so, after I got the money, I said ' I'll leave and
             17 come back and clean up this mess.' So I called the man and I
             18 finally caught up with him.             11 I think that -- "... finally
             19 caught up with him.           11 In the interview with Shirley Lehmann

             20 (sic) later on, iie talks about how he couldn't call the

             21 person, there was no answer on the phone, the phone was busy,

             22 he was pacing around the apartment, more and more edgy,

             23 irrational, and dashed out and got more cocaine and came back

            24 here and used cocaine right here in the same place. Despite
    J""-'
    f       25         having already gotten the money and gun and everything else
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     /)          1    is is clearly the most likely clinical explanation is
                 2   cocaine psychosis.

                 3       So, he went and got some more cocaine. "And then must

                 4   have been around 12: 30, something like that, I went on ahead

                 5   and shot up the dope. I got -- I got a 50-cent piece and all

                 6   of a sudden I got to thinking again" - - "I got to thinking

              7      again," just typical cocaine psychosis and shortly thereafter

             8       intrusive thoughts, "I started thinking again well i I' d
             9       better go ahead and do this because she's going to be the

            10       only" -- referring to Brandy, and so, you know, he committed

            11       the second murder.

            12       Q. Well, is that evidence of rational thinking, to cover up
     ~      13       a crime, or does it reflect something else in your clinical

           14 opinion?
           15 A. All of it -- I mean, from -- from the trying to figure

           16 out how to unhock the VCR on is some of the most bizarre and

           17 irrational thought patterns that one can imagine, or at least

           18 that I can imagine, and indicates more and more paranoia and

           19 bizarre behavior and is quite indicative of cocaine
           20 psychosis.
           21 Lateri it says "It was in the living room, but I dragged
           22 it to the bedroom" which is Maxine's body. "...then I got
           23 to thinking I need to do something with it before someone

           24 discovered iti so I was going to cut her in half and put her
          25 in the freezer, and all of sudden I did and then I stopped."
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It)          1    I mean, that is crazy. That is not the actions of a person

             2    who is - - whatever. And then __

             3               THE COURT: You used the term II crazy, II Dr. Parran.
            4     Could you relate that to the opinions you/ve expressed about

            5     cocaine and psychosis?

            6                THE WITNESS: I' m using the vernacular II crazy, II
            7     that. is, bizarre thoughts and actions of a person who is __

            8     who is clinically most likely involved in a cocaine psychosis

            9     given a past history of no mental illness.

        10       A. (Continuing) And then finally on the next page there
        11       talking about the sexual abuse of the girl: First, you know,

        12       I was thinking all weird. Thinking all weird. II Here' s a

~      13        person, a day later even, describing his own thoughts of, you

       14        know, thinking all weird, and so those are the evidences in

       15        the police report.
       16            And then it takes Eome time, but reading through the

       17        report from Ms. Leahy, there' s what I consider to be just

       18        much more data from a trained clinician interviewing about

       19        these issues, asking followup questions about IIWhat do you

       20        mean ' thinking all weird'? What kind of thoughts were you

       21        having? II - - and those sorts of' things.
       22        Q. Based on the information you were able to obtain from the
       23        record, your conversations with Mr. Hicks and any other

       24
-,    25
                 materials that you were provided, do you have an opinion, to

                 a reasonable degree of medical certainty, as to the duration
        Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 47 of 207. PageID #: 2671
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                                                                                  . 3-70
J J')             1     of the cocaine psychosis which you've just testified about?

               2       A. The - - my best clinical judgment would be that the

              3        cocaine psychosis and - - that the cocaine psychosis certainly

              4        continued through the time that Mr. Hicks went home to his __

              5        his and his wife' s apartment. Probably until the time that
              6        he drove out of town and maybe until the time he actually

              7        went to sleep in Knoxville.

              8        Q. Let me ask you this question
              9                  THE COURT: When did it start?
          10           Q. That was my next question, the onset. In your opinion,
         11            to a reasonable degree of medical certainty, what was the

         12            onset of this cocaine psychosis?

  ~      13   A. The onset was probably shortly after the second
         14 self - administration of cocaine i the cocaine that was used __
         15           the cocaine that was bought with the VCR.

         16           Q. Now, Dr. Parran, in your professional opinion, were the
         17           Court and the jury properly and accurately informed through

         18           the testimony of the witnesses who were presented at trial as

         19           to the nature and extent of Mr. Hicks' cocaine dependency and

         20           psychosis at the time he committed these acts?

         21           A. No.
        22            Q. And why is that?
        23            A. It's clear from my reading of the transcript that the

        24            information that was provided about cocaine pharmacology was
(" "\   25            inaccurate during the trial; that the information given
          Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 48 of 207. PageID #: 2672
                                             P li..RA      DIRECT

                                                                                   .3-71
 1/)               1     regarding the timing of - - the difference between cocaine

                2        intoxication and the cocaine psychosis was not entirely but

                3        largely inaccurate, and that the information that was given

                4       about the signs and symptoms of cocaine psychosis were

                5       substantially inaccurate. The information given regarding

                6       the expected onset of cocaine psychosis, based upon the

                7       timing of the use of the drug, was inaccurate, as well as the

               8        expected duration of cocaine psychosis. That also was

               9        inaccurate. And, finaliy, the idea that cocaine psychosis

           10 was more likely to happen in a person who was a chronic,

           11 daily user of cocaine with day in and day out cocainè use,

           12           which is actually very rare for people to actually do that

  ~
      ~    13          but even more rare for people who have cocaine psychosis, but

           14 that was entirely inaccurate.
           15 Q. Dr. Parran, if you're able to do so, are you able to
          16 refer to portions of the record in which you feel that there

          17           were substantial inaccuracies or errors with respect to the

          18           information that was provided to the Court and the jury

          19           concerning Mr. Hicks' cocaine

          20           A. Sure.
          21           Q. -- situation?
          22           A. Sure. And I'll do it in whichever way is usually most

          23           appropriate in these settings. I can give the page and __

          24           the page number and the line number.
;" .',
          25           Q. Are you able to pinpoint who the witness is?
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                                                                                        3 -72

      () 0          1    A. If you want me to read the statement

                    2 Q. If you could summarize perhaps what the statements are,

                    3 but also if you could indicate which witness is providing

                    4 this inaccurate information to the jury.

                    5 A. Okay. The primary information which was inaccurate was

                   6 provided in the testimony of Nancy Schmidtgoessling / and her

                   7 testimony started on Page 1175. The areas where the

                   8 inaccuracies were most notable is on Page 1178 - - I' m sorry

                   9 1187, where they talk about the difference between snorting

               10 cocaine and using cocaine I. V. And Dr. Schmidtgoessling gave

               11 clearly wrong information from Line 22 on that page through

               12 Line 6 on Page l188. The information - - should I read the
 ~
 '.
               13       information, or just

               14 Q. If you could summarize it.

              15 A. Okay. Well, it basically said that that cocaine goes
              16 into the bloodstream faster if you snort it than if you use
              17 it I. V., which is wrong. She says that the intensity of the

              18 symptoms of the intoxication of cocaine are equal/whether
              19 you used an I. V. or snort it, which is clearly wrong. And
              20        she said that the reaction would be         that the only
              21 difference between using cocaine nasally versus I. v. is that
              22 the reaction might be quicker nasally rather than I. V., and
              23 it is not the only difference andi in fact, that's wrong.

              24 Then on Page 1191, starting at Line 11, they talked about
¡.,           25        the levels of intoxication from cocaine being similar to the
\.
            Case: 4:07-cv-00880-JG Doc #: 35-3 PARRA
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                                                              DIRECT

                                                                                        3-73
     0)           1   levels of alcohol, various degrees of intoxication. And the

                  2 question - - or the response of the expert was that they were

                 3 similar ¡that, you know, there were sort of a linear

                 4 intoxication effect from cocaine similar to alcohol, which is

                 5 - - which is not the case. Cocaine has much too short a half

                 6 life to be able to look at levels of intoxication.

                 7 Then at the top of the next page on 1192, the question
                 8 was would cocaine be the same curve of dysfunction? Can the

                 9 effect and degree of one's ability to perform depend upon the
                                                                                       '"

             10 amount that a person took in? -- meaning if you only took in
             11 a little cocaine now, it will have a little effect, and if

             12 you took a lot of cocaine, it will have a lot of effect. And
     ~       13       the expert said IIYes, II definitely demonstrating no evidence
             14 of the knowledge of the kindling phenomena that we talked

             15 about before where one has activated kindling with cocaine
             16 addiction. Even reasonably small amounts of the drug can

             17 precipitate in large behavior, rational changes.

             18 Page 1193, the description of why people die from
             19 cocaine: II In fact, when people die of cocaine overdose i it
            20 is usually from a respiratory problem. II Virtually no one

            21 dies of a cocaine overdose from a respiratory problem. It is

            22 a seizure, stroke or heart attack. It has little to do with
            23 the lung.
            24 She then points out later on that page that this patient
     ---,
            25          or this defendant was able to retain his orientation and
'"
                                          P ARRA
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                                                           51 of 207. PageID #: 2675          '.


                                                                                     3-74 (
,.,)         1   his goal directedness and, therefore, he was not

             2 significantly affected by cocaine when he was committing the

             3 crimes. As I described earlier, it is in the literature, and
             4 in the 1980s, in the literature now/ when a person is

             5 invol ved in cocaine psychosis, they are oriented, they know

             6 who they are, and where they are, and when it is. They are

             7 oriented to person, time and place. They are net delirious

          8 and they frequently follow through with impulsive actions,

          9 although they tend not to be able to follow through in a
                                                                                 "
         10 single plan of action over an extended period of time.

         11 And then, finally, throughout this entire section, all of
        12 the statements were about the -- about whether he was
~       13       intoxicated at the time, not whether there was the dysphoria

        14 and the paranoia and cocaine psychosis.
        15 There' s just a couple more here. On Page 1195, starting
        16 at line 18, the question is:

        17                 "Let's talk about that. This stuff reaches a peak
        18 in fifteen to twenty minutes."
        19 And the response from the witness was...
        20 "Yes, that is customarily thought to be the
        21 peak. II
        22 Well/that certainly is not when you' re using I. V. cocaine.

        23 It is gone in ten.

       24 The question then was...
       25 "Then the person returns to normal later
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                                         P ARRA        DIRECT

                                                                                   3 -75

 f)          1        rapidly? "
            2 And the response was...

            3 "Yesi usually sort of a crash, as they refer to
            4 it. It usually takts ten to fifteen minutes."
            5 Actually, the crash is, after a binge, often a few hours

            6 after a binge, which tends to last proportional to the length

            7 of the binge.
            8               "Question: The whole thing is less than half an
           9 hour? "
                                                                               "
        10                  "Answer: Not if there is something mixed in, but,
       11 yes. "
       12                   "Question: Doctor, did you actually"
~      13        I'm sorry, the next page, 1196, pretty close to the end...

       14 "Doctor, did you actually make an examination of
       15 the life background as part of your history to determine
       16 his work record, the way he dealt with his peers and so
       17 forth? II
       18                  IIYes, I did.   11



       19                  "Question: Did you see anything in there that
       20 indicated either cocaine usage or chronic usage of
      21 cocaine?"
      22 And the answer on Page 1197 reads...

      23                   "I didn't see anything as far as chronic usage. He
      24 was regular to work, he was cooperative with his
f\    25            co-workers, he was a good employee and reliable."
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                                               P ARRA       DIRECT
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                                                                                         3-76
     ,r)          1        All of that information, given a history of binging on

                  2 several thousand dollars of cocaine a few years earlier, a

                  3 couple thousand dollars use of cocaine six months earlier,

                  4 and given the history of a person who went to work and

                 5 participated normally in working during the day and wound up

                 6 committing two murders and other things later during the

                 7 night, is absolutely diagnostic of cocaine addiction and

                 8 cocaine psychosis, and her statement is that is that it' s no

              9 indication of chronic use. I think -- I think that's it.
                                                                                    '.
             10 Q. Dr. Parran, in your professional opinion/ based on the
             11 information that was presented at trial and which you' ve just
             12 commented on, do you believe the jury ~as fairly and

    ')       13       accurately apprised of the effects of cocaine on Mr. Hicks'

             14 conduct that night?
             15 A. Absolutely not.
             16 Q. Okay. For the reasons you:ve stated?
             17 A. Yes.
            18 Q. Now, Dr. Parran, this case took place in 1985; that's
            19 when the trial took place. What was the current state of

            20 medical knowledge of cocaine and cocaine psychosis at that
            21 time?
            22 A. Well/ that / s a very good question. Certainly we know
            23 more about cocaine now than we knew in 1985 and 1986, but

            24 that' s because we' ve experienced our current cocaine epidemic


    ")      25        which started honestly in probably 1976. But we' ve
             Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 54 of 207. PageID #: 2678
                                                 PARRA         DIRECT

                                                                                        3-77
    1 f)            1        experienced it for another decade since then. But in 1985

    ~
    ¡
     ¡
                    2        and ' 86 - - and I think the trial actually took place in
    t
                    3        February of ' 86 -- cocaine addiction was well-known. It was
                    4 in the DSM-III, and then subsequently published a little

                    5 later in 1986, the DSM- III -R, and now in 1995 the DSM- IV,

                   6 cocaine psychosis and stimulant psychosis. Amphetamine

                  7 psychosis has been described in the literature since the

                  8 1950s. In fact, there are a few descriptions later in the
                  9 Western European literature, the German literature from the

               10 1930s, of paranoid ideation and bizarre behavior from
               11 cocaine.
\
               12                   But what would be most available to practitioners in our

         ~    13           community in Ohio in 1985 are several articles from

              14 well-respected psychiatric journals and widely-read
              15 psychiatric journals from the mid- to late-' 70s right up
              16 until 1986, and certainly since. They talk about cocaine

             17 psychosis, paranoia associated with cocaine, these long last
             18 - - longer lasting effects of cocaine than just the mere
             19   intoxication.                                            ~.

             20 Q. Dr. Parran, let me stop you there and ask if I might hand
             21 you an exhibit, Plaintiff's Exhibit 17.
             22 Could you identify that exhibit for us,             j
                                                                          please?
             23 A. Yes / it's a face sheet O~ a Xeroxed copy of a face sheet
             24         of a list of articles in
                                                                   literature, that I wrote
             25 down the initial or the earliest one being in 1931/ the last
         Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 55 of 207. PageID #: 2679
                                             PAR   RA     DIRECT

                                                                                   .3-78
    (1          1     one being in 1986, early 1986 -- I think published in

                2 February of 1986 - - basically listing articles in the medical
               3 literature about cocaine dependence, cocaine addiction,

               4 including references and descriptions of cocaine paranoiai

               5 cocaine psychosis.

               6 Q. SO what Exhibit 17 is, is a compendium or a list of the

               7 articles?
               8 A. The first page is a list and attached are the actual

               9 articles.
                                                                                   ",
           10 Q. And these are examples of the type of materials that were
           11        available to practitioners by February of 1986?
1

          12 A. Absolutely, yes.
    ~     13        Q. Is there anything about which you have testified this
          14 morning relating to cocaine, cocaine psychosis, the kindling
          15 effect, the binging, the psychosis, the paranoia, the

          16 duration of cocaine psychosis which would not have been

           7 available to practitioners in this field in 1985 and 1986?

          18 A. In general, no. There is one -- I did cite one piece
          19 one statistic where it' s thought that 50 to 70 percent of

          20        people who     who use cocaine in a binge-crash pattern
          21 experience clinically significant paranoid ideationi with
          22 better than half of them actually arming themselves with

         23 weapons during cocaine binges, and that was published after
         24         1986-.
         25              But the description of the kindling phenomenon with
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                                              PARRA         DIRECT

                                                                                     3-79
'. ."~'.
1;f" ','
                 1   cocaine psychosis, as well as cocaine seizures, the

                 2 description of the typical binge-crash pattern and the

                 3 description of cocaine psychosis itself and cocaine paranoia

                4 coming on after the intoxication of cocaine and lasting well

                5 beyond the intoxication of cocaine are all very well

                6 documented in the medical literature in 1985, , 86 and before.
                7 Q. And to your knowledge, Dr. Parran, was that information

                8 and examples of that literature available to practitioners in

                9 that field of addiction in Cincinnati, Ohio in 1985 and 1986?
                                                                                    ".

            10       A. Oh, absolutely. One of the articles is from the American

            11 Journal of Psychiatry, the most widely distributed, widely
            12 read journal, psychiatric journal in the country, and that is
      ~     13       from March of 1975 and its titled is "Cocaine Psychosis:

            14 A Continuum Model."
            15 There is an article from 1976 in the same journal, the
            16 American Journal of Psychiatry, and the title is "Cocainei
            17 Kindling, and Psychosis." That was a decade before these
            18 events.
            19 And then I have a few here, one in 1986 IL.Neuroleptic
            20 Reduction of Cocaine-Induced Paranoia" in the Journal of
            21 psychopharmacology published in February of 1986, the same

           22 month of the trial. Even the Psychiatric Annals in 1984 __

           23 the psychiatric annals are very widely distributed - - have
           24 articles describing - - describing the same thing.

           25                 MR. MEZIBOV: Your Honori if I may have one minute,
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                                              P ARRA        DIRECT

                                                                                        3-80
     (,         1    that may be it.

                2         (Messrs. Mezibov and Lazarow conferred pri va tely. )
                3 Q. Two final questions, Doctor. First i with respe~t to this
                4 information and the availability of these materials as an

                5 extension of that questioni were therei and to your

                6 knowledge, practitioners in the field which you study and

                7 about which these articles have been written who were

                8 available in Cincinnati to have this information at their
                9 disposal?
            10 A. Well, certainly there were in the early 1980s. The                "




            11 Cincinnati V. A. has a big Addiction Medicine Treatment

            12 Program that was active then. They had a specific drug
     ¡A    13       treatment branch, as well as a separate alcohol treatment

           14 branch. They treated them separately then. We're now

           15 treating them together with a psychiatrist as well as

           16 internists on their staff. In fact, the National Institute

i;
           17 on Alcohol Abuse and Alcoholism and the National Institute on
!
i"
!          18       Drug Abuse, two branches of NIH in 1980 developed a career

           19 teacher's program where they supported individuals of medical

           20 schools to acquire more education and then teach about

           21 addiction and the pharmacology of addictive drugs. And Don
I:         22       Nelsoni who is a clinical pharmacologist at the University of
 ,
1"
¡"
          23        Cincinnati, was a career teacher with NlAA and NIDA from

          24 1981, and was teaching a pharmacology course at the

          25 University of Cincinnati Medical School on drugs of abuse in
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                                              P ARRA       DIRECT
                                                                                           .
                                                                                          3 -81

     f
      L~         1    the ' 80s and is still there now.
     t

                 2 Q. Dr. Parran, you also mentioned there was a study that

                3 evaluated or reported on the violence associated with cocaine

                4 psychosis, people being armed and the like. What is the

                5 correlation between cocaine psychosis and violent behavior?

                6 A. The study that was reportedi they studied a couple of

                7 hundred people who used cocaine in a binge, binge-crash kind

                8 of pattern, either smoking it or using it I.V. Seventy

                9 percent reported clinically significant paranoid ideation
                                                                                     '.
            10 happening around the time of cocaine binges. The - - 50
            11 percent of those who had paranoid ideation reported that the

            12 paranoid ideation lasted all the way through to the time of
     ~
    ,..
            13       the crash, so it lasted for a few to several hours after the

            14 cessation of the cocaine use. Better than half of people
            15 with paranoid ideation reported that they had intermittently
            16 armed themselves during a cocaine binge with various
            17 weapons. And of that 50 percent who had armed themselves, a
            18 quarter reported having actually been violent. None reported
            19 actually ever having killed someone, but a quarter reported

            20 having been violent, including jumping out of windows because

            21 they were sure the police were coming through the door;
            22 beating up a significant other because -- thinking they were
            23 sending messages about the person using cocaine to law
           24        enforcement; misperceiving external stimuli and then reacting
r
    (-     25        in a violent, arming way.




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                                                                                         . 3-82

      ·1 J,~         1         If you remember, norepinepherine adrenaline is the
      ,
      ,
      I
                     2    hormone which produces our fight or flight response. People,
      ,
      t
                     3    when they're overstimulated with norepinepherine, tend to get

                     4 more and more paranoidi have more and more tough time

                     5 focusing on something and tend to be" hyper-reflexic, and

                     6 really sort of armed. It's -- it's a hormone which -_ which

                     7 has tremendous survival benefits for humans; but when

                     8 overstimulated with it, people can be very violent.

                 9 Q. The facts that you found in the record in Mr. Hicks'
                                                                                         c,
                10 case, they're consistent with the findings of these studies
                11 you've just mentioned with respect to violence?
                12 A. Yes.
           1    13                 MR. MEZIBOV: That' s all the questions I have of
                14 this witness. Thank you, Doctor.

                15                 THE COURT: Doctor, in your history that you
                16 accumulated on Mr. Hicks, was there a history of seizures?
                17                 THE WITNESS: No, there was no history in his case
                18 of cocaine-associated seizures and that sort of kindling
                19 phenomenon. Just a kindling phenomenon in terms of the
               20 paranoid thoughts as such.
               21                  THE COURT: Can an addict that has become an
               22 intermittent binge-type pattern individual, can that addict
               23 reasonably be expected to overcome the addiction?

               24                  THE WITNESS: I couldn't give you worthwhile
       ~
r

;t.


      t        25        information in 1985 because the epidemic was too early at
          \.
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                                                      DIRECT

                                                                                   3-83
In          1        that point. But at this point, I think we have some pretty

           2 good information, and the information that we have now is

           3 that if you take a thousand people with cocaine addiction,

           4 intermittent binging/ whether they/re smoking it or using it

           5 I.V., and you follow them up over 15
                                                          ,years or so, at the end
           6 of 15 years, better than a third of them will be sober and in

           7        stable recovery. Of the ones that survive
                                                                     because there
           8 is a highly fatal condition here -- that a third will be

          9 sober / in stable recovery, about another third will have
                                                                               "
       10 swi tched to a different pattern of drug use, and that' s
      11 honestly what we're seeing in Ohio now: People are ~witching
      12 to heroin since cocaine has sort of a short life; people are
 ~    13          switching to mixing cocaine with heroin. They get jazzed up

      14          on the first use of cocaine, feel very
                                                                euphoria. And when
      15 the dysphoria of the cocaine should be kicking in, that is
      16 when the sort of euphoric period, the mellow high of the
      17 heroin kicks in. And instead of going on a full-blown binge,

      18 a person tends to use cocaine and heroin together twice a
     19 day.
     20 So, we've seen/ sadly/ about a third of our addicted
     21 patients, who normally were bingers on cocaine, just switch

     22 pharmacologically to a different approach but still be out of
     23 control with chemical dependence.

     24 And, finally/ another third are either incarcerated or
(~   25         dead.
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                                                               DIRECT

                                                                                        3 -84
        ..,         1              THE COURT: So, it' s reasonable to believe that

                    2 approximately a third could be sober?

                    3             THE WITNESS: If - - if people escape either death

                    4 or j ail, the statistics are that 50 percent of the people /

                    5 whether they have alcoholism or cocaine dependence, over time

                    6 will eventually get sober and stay sober for outstanding

                 7 periods of time.

                 8                THE COURT: Does the snorting of cocaine have any
                 9 detrimental effect on those membranes and so forth? Is that
                                                                                       c,
               10 permanent?
               11                 THE WITNESS: That can be permanent. It' s probably
 ¡
 I             12       not the cocaine itself that damages the nasal membrane, but
        '"     13       what happens is when a person snorts cocaine, when the

               14 norepinepherine is released, there' s spasm of the smooth
               15 muscle and the blood vessels that go in the nose, so people
               16 stop absorbing it. The nasal septum is made of cartilage and

              17 cartilage doesn' t have its own blood supply. It depends on

              18 blood vessels to passively supply oxygen to the cartilage.
              19 And so/ cartilage is exquisitely sensitive to not enough
              20 blood supply, and so what happens is actually the cartilage
              21 in the septum dies and deteriorates and falls out. To cite a

              22 famous example, Linda Ronstadt had cocaine addiction and was

              23 afraid of needles and didn't know how to turn it into

              24 freebase, so she just snorted and snorted and lost her nasal
              25 septum, went into treatment and had to have a nasal septum

..: ~
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                                                        DIRECT

                                                                                . 3-85
 (1             1   replaced several years later by a plastic surgeon so she

             2 could sing again.

             3               THE COURT: Did you conduct any physical
            4 examination of Mr. Hicks?

            5                THE WITNSS: No.
            6                THE COURT: Wouldn't that be medically prudent to
            7 help you make your opinion here today?

            8                THE WITNSS: It may have been, although it was ten
            9 years after the fact.
                                                                               "
        10                   THE COURT: Well -- well, I prefaced my question:
       11 Is it permanent __
       12                   THE WITNESS: The physical __
~      13                   THE COURT: - - and you agreed.
       14                   THE WITNESS: The permanent signs I'd look at, that
       15 if I had thought of that, would honestly be from track marks,

       16 from I.V. marks.
       17                   THE COURT: You didn't see the I. V. track marks?
       18                   THE WITNESS: No.
      19                    THE COURT: They would still exist 1.
      20                    THE WITNSS: Track marks would probably exist,
      21 although the disclaimer that I would give you is that track
      22 marks in people who are opiate dependent tend to be much more

      23 chronic and long lasting/because people tend to use opiates
      24 in a chronic pattern. People tend to do intermittent binging
."
      25 on cocaine. They tend not to use the same vein, and so the
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                                                P ARRA        DIRECT

                                                                                           3-86
      iC)             1    track marks tend to be much less permanent scars with cocaine

                      2 use.
                      3              THE COURT: Did you examine, in reaching your
                      4 opinion, any criminal history of Mr. Hicks?

                      5              THE WITNESS: Very superficially. I read one of
                      6 the background Psychological reports that talked about his

                      7 history of domestic violence in the past while intoxicated.

                  8 I didn' t read that extremely carefully.

                  9                 THE COURT: You don't know of any specific crime or
                 10 criminal experiences with the law other than domestic             ".



                 11 violence?
                 12                 THE WITNESS: At least based on my memory right now
     :A      13           it was a domestic violence incident and a court-mandated

             14 outpatient counseling program in ' 82, I think.
             15                    THE COURT: Any other history which was not
             16 significant in your opinion?

             17                    THE WITNESS: Well, when I interviewed him myself
             18 and when I quickly looked through the past Psychological
            19 record/ I was looking for evidence of previous psychotic

            20 behavior, behavior that would indicate any mental illness or
            21 the behavior that indicated extreme violence, and all I saw
            22 was the domestic violence.
            23                    THE COURT: Thank you, Doctor. We'll recess until
            24 1: 15. 1: 15. Thank you, Doctor.

            25                    THE WITNESS: You're welcome.
:"
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                                                 P ARRA       CROSS

                                                                                        3-87
      r)              1         THE CLERK: All rise.
                     2    (At which time, the luncheon recess was taken.)
                     3
                                                     * * *
                     4

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l!~        25
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         i
                                                         P ARRAN"     CROSS
     J
                                                                                               3-88

             .')         1                             AFTERNOON SESSION                 (1:31 p.m.)
                                        THE COURT:

                                        MR. MEZIBOV:

                                        THE COURT:

                                        MR. WILLE:

                                        THE COURT:

                         7 Proceed, Mr. Wille.

                         8              MR. WILLE: Thank you, Your Honor.
                         9 CROSS-EXAINATION
                     10 BY MR. WILLE:
                     11 Q. Doctor Parran, have you ever testified at trial in a
                     12 capital case?
             ~       13  A. No, sir.
                    14 Q. Have you ever testified in a criminal case involving
                    15 cocaine as an issue?
                    16 A. No.
                    17 Q. Are you familiar with the factors set forth in Ohio law
                    18 as to mitigation with respect to a capital offense?
                    19 A. No, I'm not.
                    20 Q. Now, you are not a psychologist or a psychiatrist; is
                    21 that correct?
                    22 A. That is correct~
i-                  23       Q. Now, are you aware that Dr. Schmidtgoessling rendered an
                    24 opinion in conjunction with this case that Mr. Hicks at one
I . .-
     .
         '--       25        point had been feigning the symptoms of mental illness?
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                                                    P ARRA        CROSS
    1
                                                                                         3-89
    1    - ""
    ti                1 You i re aware of her opinion in that regard?
    j
    j
                      2 A. Yes.
    J

                     3 Q. Now, I take it - - or would you consider yourself to be

                   4 competent, qualified to render an opinion as to the validity

                   5 of her opinion in the latter regard?

                   6 A. I can certainly give you my opinion about that as an

                  7 internist and a physician.

                  8 Q. Would you consider yourself to be an expert with respect

                  9 to -- I'll withdraw that.

                 10 Would you offer an expert opinion as to the validity of
                 11 her expert opinion?
                 12 A. I would not offer it regarding her opinion of his
         -.      13      diagnosis of malingering or feigned mental illness.

                 14 Q. And that' s what my question was directed to --
                 15 A. Okay.
                 16 Q. -- if I was not clear on that.

                 17 Now, Dr. Parran, would you think that you are qualified
                 18 to render an opinion as to whether a person is suffering from

                 19 a mental disease or defect?
                 20 A. I'm certainly qualified to render an opinion, but as a
                 21 non-psychiatrist, I would probably not be considered

                 22 qualified to render an expert opinion.
L
i                23      Q. Now, Dr. Parran, am I correct you did speak with

                24 Mr. Hicks?
1/.             25       A. Yes, I did.
   ...
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                                                                                    3 -90

     '"
                                            i

                1     Q. And you mentioned in direct testimony that you were, I

                2 guess, I don't know how you put it, but you were looking

                3 forward to the opportunity to speak with Mr. Hicks in the

                4 sense of the experience of doing so?

                5    A. No, I wouldn't -- I wouldn't          I wouldn' t say that. I
                6 did think that it was important for me to have a chance to

               7 talk to Mr. Hicks once I had looked through the materials

               8 that had been forwarded to me and was - - and was at the place

               9 of beginning to form an opinion about cocaine psychosis.

           10 Q. Would it be fair to say that your experience is somewhat

           11 limited in talking with persons who have been convicted of

           12 serious felonies?
     ~     13       A. Yes.
           14 Q. And I take it - - it may seem to be an obvious question¡

           15 but I take it you've never interviewed before someone who had

           16 been convicted of murder and sentenced to death?

           17 A. I have interviewed people who been convicted of murder in

           18 the past, but no one who has been sentenced to death.

          19 Q. Now, Dr. Parran, in forming your opinion -with respect to
          20 Mr. Hicks, I take it that you 'gave weight to what he told you

          21 during the interview?
          22 A. Yes.
          23        Q. And now, Dr. Parran/ in normally          in normally dealing
          24 with persons with cocaine psychosis, do you on occasion rely
          25        on such things as / say, urinalysis tests or blood tests?
'-
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                                                    P ARRAN      CROSS
J
                                                                                          3-91
           "
           I         1    A. Yes; not -- not as it relates to cocaine psychosis, but

                     2 as it relates to documentation of cocaïne use.

                     3 Q. Now, Dr. Parran, you've testified that you assisted with
                     4 the training of interns with respect to handling persons in

                     5 emergency situations. Is that a fair statement?

                     6 A. Yes.
                    7 Q. And I take it that in that circumstance you would be

                    8 dealing with a situation where the person that may be

                    9 suffering from a cocaine psychosis is right before you at the

                 10 critical time, if you know what I mean?

                 11 A. Yes.
                 12 Q. SO, I take it then that you would consider that to be a
       )        13       very important thing to consider, namely the opportunity to

                14 actually observe the person under - - appear or under the

                15 possibility - - strike that - - actually observe the person in

                16 the highly agitated state which would be consistent with

                17 cocaine psychosis?

                18 A. Certainly the people who observe patients the most when

                19 patients are actively involved in a state of - cocaine

                20 psychosis are people who work in Emergency Rooms i ambulances,

                21 intake offices, those sorts of things.
                22 Q. Would you say you'rf;Qne of those persons?

               23 A. I certainly have done a lot of consultations in Emergency

               24 Rooms, yes.
 .
..t-           25        Q. Have you
     '--                                 in your function as a consultant, would you
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                                                 P ARRA       CROSS
    j
                                                                                             4
                                                                                      3-92
    J /)          1     say that - - I take it you have actually seen people that

                  2 appear to be under the symptoms of a cocaine psychosis?

                  3 A. Yes.
                  4 Q. And in this particular case, however, you've never seen

                  5 Mr. Hicks under
                  6 A. No.
                  7 Q. -- apparent influence of a cocaine psychosis?

                 8 A. No.
                 9 Q. Now, Dr. Parran, are you aware or have you reviewed Dr.

             10 Hawgood's report with respect to Mr. Hicks?
             11 A. I' m sure that I have because I' m - - I think it was in the
             12 materials that I looked at, yes.
        ~    13        Q. If I were to represent to you that during an interview
             14 with Dr. Hawgood Mr. Hicks admitted that at one point he

             15 feigned the symptoms of mental illness, that would __ that
             16 would be consistent with your recollection of Dr. Hawgood's

             1 7 report?
            18 A. Yes/ as well as Dr. SChmidtgoessling'S opinion.

            19 Q. Exactly. And would it be -- or do you recall that in the
            20 course of her report, Dr. Hawgood indicated that Mr. Hicks

            21 stated that he had been advised by certain jailhouse lawyers

            22 to feign these symptoms of mental illness because it might be

            23 beneficial to his case? That would be consistent with your

            24 recollection as to her __
 ..
!           25        A. Yes, I think it was multiple personality disorder, or
\
    Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 CROSS
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,         2
             1     something like that.

                   Q. If I were to tell you that Dr. Hawgood testified in a
                                                                              3-93




          3        deposition in this case that in fact Mr. Hicks had indicated

          4        to her that "Yes, I -- I did feign some mental illness

          5       because I WaS advised by jailhouse lawyers," that would be

          6       consistent with your recollection of __

          7       A. Uh-huh.
         8        Q. -- your review of that deposition?
         9        A. Yes.
     10 Q. Now, would it be fair to say, Dr. Parran, that in that
     11 circumstance Mr. Hicks appeared to be willing to tell Dr.
     12 Hawgood a falsehood - - strike that.
~    13               Would it appear, based on Dr. Hawgood' s statements, that

     14          Mr. Hicks had occasion to lie because he thought it would

     15 help his case?
     16 A. Yes.
     17 Q. Now, have you considered the possibility that when
    18 Mr. Hicks described his cocaine use to you/ that perhaps he
    19 was entertaining the same intent to lie?
    20           A. Yes¡ I must -- that's certainly a possibility that I/ve
    21           thought about, and thought about at the time I interviewed

    22           him. I must say that the majority of my opinion is based

    23           upon the data in the interview with the detectives in

    24           Knoxville and based upon information and, secondarily, based

    25           on information in the interview with Ms. Leahy, I think in
        Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 71 of 207. PageID #: 2695
                                             P ARRA        CROSS

                                                                                  3 -94
¡ ~",
               1    September of ' 85, both of which, at least to my review,

               2    appear to have taken place prior to much of the other

               3   behavior that Mr. Hicks demonstrated with other examiners.

              4    Q. Would you be - - are you aware that Mr. Hicks demonstrated
              5    some aberrant and bizarre behavior to Mrs. Leahy?

              6    A. The second -- the second day/ the second interview day,

              7    yes.
           8       Q. And are you also aware that after Mrs. Leahy's interview
           9       wi th Mr. Hicks, that Mr. Hicks expressed similar _ _ or showed

          10       similar behavior in his interview with Dr. Schmidtgoessling?

          11       A. Yes. My impression was that his initial interview with
         12        Ms. Leahy was an extended interview in which he appeared to
.~       13        be giving consistent information which anticipated to be

         14        reasonably backed up with interviews with other family

         15 members and the second interview was much more bizarre. And

         16 from there on, the interviews were -- were difficult.
         17 Q. Now, Dr. Parran, you have examined, I take it, much of
         18 the information that Mrs. Leahy gathered?

         19 A. Yes, I think I read the report entirely. _
         20 Q. Are you aware or do you recall that at one point
         21 Mr. Hicks himself stated in the course of
        22 Dr. Schmidtgoessling/ s investigation as to his sanity that
        23 he, in fact, did not abuse cocaine or alcohol?

        24 A. Yes.
        25 Q. And would it be fair to say, Dr. Parran, that some of the
             Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 72 of 207. PageID #: 2696
                                                  P ARRA        CROSS

                                                                                        3-95
       /')             1     information cited by Mr. Hicks in support of his - _ his
                       2     allegation or assertion of cocaine psychosis was developed in

                    3        State post-conviction proceedings? Would that be a fair

                   4         recollection or statement as to your recollection of the

                   5         record?
                   6        A. I have a problem wi th Mr. Hicks - - with the beginning

                   7        part of your statement, 'because it was not my impression from

                   8        reading any of the materials that Mr. Hicks claimed a cocaine

                   9        psychosis.
               10           Q. Are you familiar with the affidavit of Dr. Baum?
              11 A. I'm familiar with Dr. Baum's affidavit, which was

              12 obtained in 1990.
      ~       13            Q. Yes. p~d, therefore, it was obtained - - you would have
              14            no reason to doubt it was obtained in conjunction with

              15           Mr. Hicks' post -conviction action¡ correct?

              16           A. My understanding is that Dr. Baum's opinions were formed

              17           in 19 -- late 1989-90, after the conviction.

              18           Q. And isn't it true that Dr. Baum relied on information in
              19           forming his opinion that was brought out following Mr. Hicks'

             20            conviction and during his post-conviction action?

             21            A. Yes, with -- interviews with Mr. Hicks and others.

             22            Q. So, it is then fair to say that at least in part your
             23            diagnosis is based on information which was developed

             24            subsequent to Mr. Hicks' conviction?
.£".....,
             25            A. Certainly the information in Dr. Baum's evaluation of
              Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 73 of 207. PageID #: 2697
                                                   P ARRA       CROSS

                                                                                        3-96
        ..,         1         chemical dependency regarding Mr. Hicks was a more thorough

                    2 evaluation and had more information than was available from

                    3 the earlier charts, yes.
                    4 Q. Well i correct my recollection if I i m wrong, but do you

                    5 recall Dr. Baum referring to instanc~s of hallucinations and

                    6 other aberrant        behavior by Mr. Hicks?
                    7 A. Yes.
                   8 Q. And isn' t it fair to say that Dr. Baum was relying on/ to

                   9 some extent, on Mr. Hicks' assertions of hallucinations

               10 following his apprehension?

               11 A. Yes.
J


I              12          Q. Dr. Parran, you testified that Mr. Hicks' actions on the
j~
!
i
               13          night of the murders were consistent with the symptoms of

               14 cocaine psychosis. You would agree, I' m sure, that there are
               15 persons who commit violent acts that are not necessarily
i
               16          operating under the influence of a cocaine psychosis?
r
               17         A. Yes.
              18 Q. Now, you stated on direct -- again/ tell me if I'm wrong
              19 50 to 70 percent of persons under the influence of
              20 cocaine psychosis suffer paranoid ideation?
              21 A. That/s not quite, but it's __
              22 Q. Pretty fair summary?
              23 A. Actually, 70 percent of people who intermittently binge
              24 on c9caine describe clinically significant paranoid ideation.
    "
              25         Q. Could you be more specific as to' you say ltclinically
        Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 74 of 207. PageID #: 2698
                                                PAR   RA     CROSS
l
                                                                                   3-97
) /~              1     significant of paranoid ideation?" Are you saying 50 to 70

                  2     or 60, or whatever, persons would exhibit violent behavior
i
              3         comparable to Mr. Hicks' behavior?

              4         A. Well, I think my statement was that most clinically

              5         rigorous data we have right now about cocaine binging and

              6        paranoid ideation is that 70 percent of people who binge on

              7                                           ,
                       cocaine have paranoid ideation. Of those 70 percent who have

              8        paranoid ideation, more than half report repetitively having

              9        armed themselves with a weapon of some sort because of the

         10            paranoid ideation while binging on cocaine. And that of that

         11            half who have armed themselves, half of them, a quarter of

         12            the overall 70 percent, report having acted violently toward
    ~    13            themsel ves or others during the cocaine binge subsequent to

         14            the paranoid ideation. That' s what I said.
         15           Q. If I understand this correctly then, you have started
         16           with 50, 60, 70 percent and you've broken that down to where

         17           you're saying now that 25 - - actually 25 percent of these

        18            persons exhibit or actually exhibited some form of violent

        19            behavior?
        20            A. Might be a little less than that. Probably in the range
        21            of 18 to 20 percent.

        22            Q. Now, I don't know if you have the statistics on this or
        23            not / Dr. Parran, but of that 25 percent or less __
        24            A. Yes.
        25            Q. - - of the people who do violent behavior __
         Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 75 of 207. PageID #: 2699
                                                    P ARRA      CROSS

                                                                                    3-98
     )             1     A. Yes.
                   2     Q. - - how many of those people commit two murders?

               3         A. I honestly don' t think anyone has that data. I tried to

               4         find credible research data on that and was not able to.

               5        What I - - what I can say is that - - is that the leading cause

               6        of death from cocaine addiction is violence by several times

               7        greater than heart attacks, strokes, seizures, as we

               8        discussed before. But I can' t - - that information honestly
               9        doesn't exist.
          10                       THE COURT: Excuse me. Before you leave that
          11 point, when you say "violence," do you mean

          12 self-destruction?
.~        13                       THE WITNESS: Suicide or homicide.
          14                       THE COURT:     So that --
          15                       THE WITNESS:     And at times both.
          16                       THE COURT:     And how - - what is the percentage of
         17            suicides, homicides?

         18                        THE WITNESS: I tried to find that as well and was
         19            not able to.
         20                        THE COURT: Thank you.
         21            A. (Continuing) I can give a little bit of information, but

         22            it isn't specific to cocaine. The -- the information I was

         23            able to get, or the information that I heard when I was

         24            testifying at the American Bar Association' s Special
",
         25            Committee on Drug Crisis and Special Committee on Violent
            Case: 4:07-cv-00880-JG Doc #: 35-3 Filed:  03/07/13 76 of 207. PageID #: 2700
                                                 P Jì.RRA       CROSS

                                                                                       3 -99

     1/)             1        Crime - - I was testifying about drug dependence to them __

                     2        the information that I heard there was that they estimated
 j
                  3           that 70 percent of homicides in the United States on an
 1',
 !
                  4           annual basis took place with a significant involvement of

                  5 alcohol and drugs, but that was testimony from someone else

                  6 at an ABA hearing and I can't verify it, the veracity of it.

                  7 Q. Dr. Parran, I would like to ask a question about that.
                 8 Of course, you testified on direct that there is an important
                 9        distinction between cocaine psychosis and cocaine

              10 intoxication; correct?
             11 A. Yes, there is.
             12 Q. So, therefore, those statistics with respect to how many
       ~     13           persons commit crimes under the influence or intoxication of

             14 drugs would, wouldn' t you suggest, would not be determinative
             15 or substantially relevant in your diagnosis?

             16 A. Yes. I don' t know that anyone has bothered interviewing

             17 those people to find out what percentage exhibited
             18 significant paranoid or cocaine psychosis behavior.

            19 Q. SO that' s not available, in other words? ~
            20 A. It's not available data, no.
            21 Q. Now, Dr. Parran, if I could just break down your
            22 diagnosis in three -- three parts: Part 1, would you agree

            23 that maybe Part 1 would be the things that Mr. Hicks told you

            24 himself?
       -"
\.          25           A.    Yes.
        Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 77 of 207. PageID #: 2701
                                                    P ARRA    CROSS

                                                                                  3-100
   /)          1        Q. Now, by doing this, I don't mean to suggest any relative
               2 importance ¡I' m just kind of breaking it down logically. And

               3 Part 2 would be things that Mr. Hicks i family members or

               4 contacts or other things from his social history from which

               5 you were able to make some determinations as to his possible

               6 frequency of cocaine use?

              7 A. Yes.
              8 Q. And the third aspect would be your analysis of Mr. Hicks i

             9 behavior on the night of the offenses?

           10 A. That certainly is part of it. Certainly a big part is
          11 the actual interviews by others, the detectives and __

          12 especially the detectives and Ms. Leahy of Mr. Hicks.

  ~       13          Q.       I guess I' m including that.

          14 A. Lump them in one or the other.

          15 Q. Exactly. Now, in terms of the third component i wouldn' t

         16 you agree that an important aspect of your diagnosis is your
         17 opinion as to whether Mr. Hicks' behavior was irrational or
         18 bizarre?
         19 A. Yes.
         20 Q. And would you agree that perhaps'
                                                               reasonable minds could
        21 differ, reasonable expert minds could differ, as to whether

        22 Mr. Hicks' behavior manifested irrationality or bizarre
        23 character?
        24 A. Yes i I think that reasonable minds could differ on the
(. '\   25         amount of - - on the amount of weight they lend to the - - to
         Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 78 of 207. PageID #: 2702
                                              PARRA        CROSS

                                                                                   3-101
1 -')              1     the irrationality or the bizarreness of the behavior,

               2        al though it - - from what I remember from reading through the
I
               3        other people's opinions, pretty much everyone's opinion,

               4        especially Dr. Schmidtgoessling's opinion, was that this was

               5        irrational, erratic, uncharacteristic behavior for - - for

               6        him.
               7        Q. You did review Dr. Reardon's transcript/ I take it?
               8        A. Yeah, I just reviewed that in the last couple days.

               9        Q. And it's fair to say that Dr. Reardon -- or Dr. Reardon
          10            found some of Mr. Hicks' behavior to be not irrational or

          11 erratic in his opinion?

          12           A. Yeah, I think that he found some of the behavior

    :)    13

          14
                        irrational and erratic and some of it not so much.

                       Q. Now, you mentioned before, Dr. Parran, you used the word
          15           "weight" in terms of - - in relationship to the opinion about

          16           whether someone' s acting irrationally or bizarrely. Do you

          17           have any knowledge or information with respect to a person' s

          18           behavior in relationship to the mitigating factors that are

          19           possible under Ohio law with respect to a capital case?

         20            A. I honestly am not aware. I am -- I know nothing about

         21            mitigating factors in Ohio law regarding capital cases.

         22            Q. Would it be fair to say that in determining the
         23            rationality or bizarreness of a person/ s behavior in

         24            relationship to the issue of whether there/ s a mitigating

    J
w" -"\

         25            circumstance which is permissible under Ohio law, that a
      Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 79 of 207. PageID #: 2703
                                            PARRA        CROSS

                                                                                 3-102

.,)          1    person who had experience, professional experience, in the

             2 latter regard, in the regard of presenting evidence or in

             3 assisting in these types of issues, that their opinion might

             4 have more validity than yours?

             5              MR. MEZIBOV: Objection.
             6              THE COURT: He may answer. If you understand the
           7 question.
           8 Q. I admit it is a pretty tough question.

           9 A. I think I do. My opinion was requested about cocaine

        10 pharmacology and about the clinical and to give a clinical
        11 opinion about what was going on with Mr. Hicks on that day,
        12 and that is what my opinion is about. I think that the
.~      13       weight of my opinion is - - my personal feeling about this is

        14 that my personal opinion should be based on my own knowledge

       15 of cocaine pharmacology, my knowledge of cocaine dependence,

       16 my knowledge of working with patients with cocaine
       17 dependence, cocaine psychosis, and my ability to look at an
       18 indication and interpret the signs and symptoms that I see in
       19 the case in terms of my background.

       20 Q. Now / Dr. Parran, you're aware / of course, that your
       21 opinion is being offered with respect to an allegation of
       22 ineffective assistance of counsel?
       23 A. I' m sure that I' ve heard that. I'm not sure I understand
                                                                 ,


       24 wha~ that means.
'\    25         Q. i see. Would it be fair to say -- withdraw that.
     Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 80 of 207. PageID #: 2704
                                           PARRA        CROSS

                                                                                3-103
/)             1         And you're aware, Dr. Parran, that the allegation of

           2         ineffective assistance of counsel involved the attorneys'

           3         alleged negligence in failing to consult an expert such as

           4        yourself?
           5                    MR. MEZIBOV: Objection.
           6                    MR. WILLE: Your Honor, may I state why 1/ m going
           7        into this? Your Honor, the State i s position is that this

           8        hearing, of course, is not really at the first instance about

           9        Mr. Hicks' cocaine psychosis or state of mind. In the first

      10 instance, it's about his attorneys' reasonableness in

      11            deciding whether to pursue this line of defense in either

      12            trial or mitigation; therefore, any evidence or any testimony

~     13            relative to whether this information would have been in fact

      14 viewed by the attorneys is relevant to mitigation in Ohio, is
      15           relevant and should be explored.

      16                        THE COURT: Thank you, Mr. Wille. Denied.
      17                       MR. WILLE: Thank you, Your Honor.
      18           Q. Now, you mentioned, Dr. Parran, that you relied in part
     19            on Mr. Hicks' statement to the police?

     20                        THE COURT: I' m sorry. Did he answer the last
     21            question?
     22                        THE WITNESS: No i I didn / t .
     23            Q. I'm sorry?
     24            A. I don't know what it was.
'.
     25            Q. I didn't give you the opportunity to answer the question.
              Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 81 of 207. PageID #: 2705
                                                    P Ji.RRA    CROSS

                                                                                        3-104
       ,'-)         1               MR. WILLE: Thank you, Your Honor.
                    2               THE COURT: r was interested in it.

                    3               MR. WILLE: rim glad you were, Your Honor. I
                    4 apologize. I lost my train. Could you read it back to me?

                    5 r don' t remember.

                    6 Q. Well, are you aware, Dr. Parran, that this case involves
                   7 the allegation that counsel, Mr. Hicks' counsel/ was

                   8 ineffective for failing to explore or hire an expert such as

                   9 yourself?
i',
j
               10        A. I' m aware that that' s - - that that' s one of the things
j

               11 they asked me about early on, which was to form an opinion

               12 about the quality of the testimony as it related to cocaine
      ~        13       pharmacology of cocaine psychosis, yes.

               14 Q. You testified on direct that you felt that the jury was
               15 given inadequate or inaccurate information __
               16 A. Yes.
               17 Q. on this issue, but you would offer no opinion or you
               18 do not claim any expertise with respect to whether that
              19 inaccuracy in any way is related to a case in mitigation in
              20 Ohio.
              21 A. Since I don t t know what any criteria are for mitigation,
              22 I'd be on pretty thin ice on giving an opinion on it.
              23 Q. Now, Dr. Parran, is it fair to say that you relied in
              24 forming your diagnosis on Mr. Hicks t statement to the police¡
      ",
              25        is that a fair statement?
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                                                                                P JI.RRA     CROSS

                                                                                                                     3-105
          ,",            1      A. Yes, I certainly weighed that very carefully.

                       2 Q. Now, Dr. Parran, would you consider Mr. Hicks' statement

                       3 to the effect that he left the door open of the apartment so

                       4 he could return later without being detected
                                                                                                       i would that be
                      5 an indication of bizarre or irrational behavior in your
                      6 opinion?
                      7 A. Returning to the apartment struck me as fairly irrational
                      8 behavior, having already taken what he was taking to go get

                     9         more cocaine.                      But,       leaving the   door open and/or taking the
                                                                                                                 .
                  10          key, I don't remember which, or both
                  11          Q. Well, let me clarify that. Do you recall Mr.
                                                                              Hicks
                  12          saying he               had left the door open when he left so when he came
        i-       13           back he could get in without, I guess, without being detected

                 14 or being seen?
                 15 A. Uh-huh.
                 16 Q. Now
                 17                                  MR. MEZIBOV: There is an obj ection, unless
                 18 Mr. Wille can go to the record and be precise, because he's
                 19 apparently now speculating as to what mayor -may not be in
                20 the record and asking a witness to answer with respect to

                21 what may be illusory statements.
                22                                  THE COURT: This is cross-examination, testing the
t
                23 credibility of the opinion of this witness. Denied. And

                                                                                                                      i
i
                24           Doctor i if it's something you didn't consider, just tell us
      .. ...
                25           that. You don't have to -- if you can't recall it or you
t.o
                 Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 83 of 207. PageID #: 2707
                                                     PAR   RA      CROSS

                                                                                           3-106
     1/,               1    didn't consider it, just tell us that and we'll go on.

                       2    A. It' s something that I noticed when reading the
     l
                       3 statement. It' s not something that struck me one way or the

                       4 other in terms of whether this individual was paranoid and

                       5 potentially involved in cocaine psychosis. The reason I say

                      6 that is because reading - - reading that statement one way __

                      7 and I certainly can find it in here, if I need to
                      8 (Witness reviewing the transcript.)
                      9 A. Hmmm. Well, I can't find it right at the moment. But
1,
i                 10        looking at that statement one way i it lended (sic) support
j

                  11        for an idea of being paranoid about being seen and being
i
i
I
                  12       paranoid about or being suspicious and paranoid in
         ~        13       behaviors.
                  14 Q. Dr. Parran, would you think that a person who' s

                  15 committing a crime may be paranoid about being apprehended or

                  16 detected even though they're not under the influence of
                  17 cocaine?
                  18 A. Yeah, I think there is certainly a drffê~ence between a

                 19 person being worried or suspicious and being -paranoid.
                 20 Q. Well, then let me rephrase my question. You would agree

                 21 or you would concede that a person that was committing a

                 22 crime would show some worry and suspicion __

                 23 A. Yes.
                 24 Q. - - show worry and suspicion about being detected?
    ..i".~"'~.
                 25        A. Certainly.
         Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 84 of 207. PageID #: 2708
                                                     P ARRA                   CROSS

                                                                                            .3-107
J /)            1        Q. Now, do you recall Mr. Hicks' statement to the effect
                2        that he brought the tape from the car when he went up to the
1

                3 apartment the second time and murdered Brandy?

                4 A. Yes.
                5 Q. You recall that statement?
                6 A. Yes.
              7 Q. Now, in your opinion is that indicative of irrational or
              8 bizarre behavior?

              9 A. No.
           10 Q. Now, Dr. Parran, do you recall a deposition taken by my
           11 office with respect to this case?
           12         A.         (Nods head 2ffirmatively.)

    ~.     13         Q. And you were asked the question, I believe, that did you
          14 find anything inconsistent in these facts with your diagnosis
          15 of cocaine psychosis?
          16 A. Yes.
          17 Q. And you recall answers that you felt there was nothing
          18 inconsistent with a diagnosis of cocaine psychosis?
          19 A. Yes.
          20 Q. Wouldn't it be fair to say your testimony that you've
          21 just made that Mr. Hicks' taking the tape with him to go up

         22 to the apartment before he murdered Brandy i if viewed as

         23 indications of rational and thoughtful behavior, indeed would

         24 be inconsistent with your
                                                      diagnosis that he was           under the
"..,,
!"       25         influence of a cocaine psychosis?
    Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 85 of 207. PageID #: 2709
                                        P ARRA        CROSS

                                                                              3-108

n          1   A. By not characterizing it as irrational, I certainly

          2    wouldn't characterize it as rational or thoughtful behavior.

          3    Secondly iit is not - - I would disagree. As I - - as I tried

          4    to explain this morning, and as I think is a widely held

          5    misconception, perhaps
                                        i regarding this case, but certainly in
          6    many areas, a person who has a cocaine psychosis is moving

       7       from the paranoia, from mild paranoia of cocaine use to more

       8       severe paranoia, and what we would call cocaine psychosis is

       9       a person who is not. And clinically there' s no evidence that

     10        these people behave like a completely disorganized, paranoid,

     11        schizophrenic, delirious individual, that some of their

     12        actions and behaviors appear to be and are extremely erratic,

~    13        impulsive wi th intrusive thoughts, paranoid ideations

     14 oftentimes with auditory hallucination. Oftentimes their
     15 behaviors are those of a person who is much less disorganized
     16 than that, although certainly much more disorganized than

     17 they would normally be in life. And these sort of "waxes and

     18 wanings" of this phenomenon during the time of the cocaine

     19 psychosis is what makes the individual so unpredictable and

    20 what makes their -- their actions so unpredictable.
    21 Q. Would it be fair to say, Dr. Parran, that in your opinion
    22 during a cocaiB:~J2sychosis there are times when a person may

    23 act rationally and with intent and premeditation with respect

    24 to a- particular act?
    25 A. I have to make the disclaimer that not being tr-a,Í.ned in
      Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 86 of 207. PageID #: 2710
                                          PAR   RA       CROSS

                                                                                    3-109
I",         1    forensic psychiatry I' m not in a position to respond to

            2 exactly the terms that you used. But what I can say is that

            3 when a person is involved in a paranoid, severely paranoid or

            4 psychotic episode around the use of cocaine, some of their

            5 actions are less disorganized and more purposeful than

            6 others. But what' s characteristic of the overall phenomenon,

         7 that is that the person tends to intermittently lose track of

         8      their - - of their purpose and          and go off on various
        9 tangents and side behaviors that are fairly indicative 9f
                                                                                "
       10 this very unstable sort of psychiatric moment that the

       11       patient is in, and that is           is what actually the cases that
       12 you're citing indicate to me.
A      13       Q. Let me go back to what you said at the very beginning.
       14 You' re saying that perhaps you would not feel qualified in
      15 terms of rendering an opinion as to the possibilities of __
      16 from a psychological standpoint of a person acting rationally
      17 and with premeditation and specific intent during a cocaine
      18 psychosis?
      19 A. I am not familiar or trained with issues ~f

      20 premeditations, et cetera. I cani as a clinician, look at
      21 patterns of behavior, rationality and irrationality, levels
      22 of organization and disorganization of thought and come' up

      23 with clinical opinions about that.

      24 Q. Doctor i may I refer to your chart? During these times of
      25 cocaine psychosis, would it be possible for a person to act
            Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 87 of 207. PageID #: 2711
                                                     P p.RRA    CROSS
                                                                                                  t
                                                                                          3-110

    1/1               1    rationally and logically and with premeditation during the

                   2       course of this period?
    j
                   3       A. The most consistent actions that people clin __
                  4        clinically that people pursue during a cocaine binge is

                  5        seeking more cocaine. And as they become - - as they progress
                  6        in the binge and as they self-administer the drug a second or

                  '7       a third or fourth or sometimes many more times than that, the

                  8        amount of paranoia in their behavior and the irrationality of

                  9       their behaviors tend to become intensified.
                                                                                     '.

1
              10          Q. Would it be possible, however/ Doctor, for Mr. Hicks/
              11          assuming that he was operating under a cocaine psychosis
1
i

              12          during these periods, to perform purposeful/ intentful (sic)
        ~    13           and seemingly premed - - acts of premeditation, even though in

             14           your clinical diagnosis he was suffering under a cocaine

             15           psychosis?
             16           A. Certainly people are able to perform purposeful actions;

             17           I certainly could agree with that. There were purposeful

             18           actions in this case. They tended not to be extended,

             19           purposeful actions. They tended to be pretty short lived and

             20           then using more cocaine. But certainly people can do

             21           purposeful actions when they're involved in cocaine

             22           psychosis.
             23                        MR. WILLE: One moment, Your Honor.
             24               (Mr. Wille and his colleagues conferred privately.)
    (',      25                        MR. WILLE: Just a couple more brief questions.
        Case: 4:07-cv-00880-JG Doc #: 35-3PARFiled:
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                                                         REDIRECT
1
                                                                                       3 - 111

l,;~          1    Q. Dr. Parran, on direct you referenced a Dr. Nelson?

1             2    A. Don Nelson, yes.
1
              3    Q. Could you tell us again who Don Nelson is?

              4    A. Don is a clinical pharmacologist on the staff of the

              5    University of Cincinnati School of Medicine who has received

              6    a - - who received a training award and was trained in
              7    chemical dependence and early -- pharmacology -- i~ the early

              8    1980s and was teaching in this area, teaching about chemical

             9     dependence, about pharmacology of mood-altering substances in
                                                                                  -,
         10        this area. He - - and probably knows many of the people in

         11       this area who may have been more clinical experts as opposed

         12       to pharmacology experts.

    ~    13       Q. In reviewing the materials in this case, did you recall
         14       seeing a letter by Mr. Hicks' defense counsel to Mr. Nelson?

         15       A. No, I don' t .
         16       Q. Were you aware - - and you would have no knowledge whether
         17       they in fact did or did not in fact try to contact

         18       Mr. Nelson?

         19       A. No, I do not. But the reason why Dr. Nelson's name came

        20        up is because he is one person who I know is from Cincinnati,

        21        lives in the area, 1'm certain was practicing in this area in

        22        the mid-1980s and had a good deal of experience with

        23        amphetamine psychosis and cocaine psychosis as a clinical

        24        pharmacologist.
        25                  MR .   WILLE : Thank you.
      Case: 4:07-cv-00880-JG Doc #: 35-3 PARRA
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                                                      REDIRECT

                                                                                .3-112
/')         1                          REDIRECT EXAINATION
            2 BY MR. MEZIBOV:

            3 Q. Dr. Parran, I just have a couple followup questions to

            4 Mr. Wille' s.
            5 The first, Mr. Wille asked you some questions concerning
            6 your knowledge that the record contains references to feigned

           7 mental illness by Mr. Hicks. You remember those questions?

           8 A. Yes.
          9 Q. And my question is, what effect does the fact that
                                                                                "
        10 Mr. Hicks may have feigned mental illness have on the
        11 opinions you' ve offered regarding cocaine psychosis and its
       12 impact on Mr. Hicks and the actions which he committed that
)      13          night?
       14 A. I can' t give a clinical opinion about whether there was

       15 feigned mental illness or not. I certainly can give, because

       16 I' m not a psychiatrist
                                          or psychologisc.? but I can certainly
       1 7 gi ve my opinion that the people who did the examining seem to

      18 be very appropriate in that decision. Mr. Hicks' history of
      19 attempting to feign mental iflness, and not very well, didn't
      20 really have any negative impact on my opinion; that the

      21 record is very clearly supportive of cocaine psychosis.

      22 Q. So, regardless of the fact that Mr. Hicks mayor may not
      23 have been feigning mental illness with his attorneys or any
      24 of the people who interviewed him after the fact i your

      25 opinions regarding cocaine psychosis and its impact in
        Case: 4:07-cv-00880-JG Doc #: 35-3P ARRAN
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                                                                                   3-113
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1- \         1    connection with the acts remains the same?

1            2    A. Yes, absolutely.
J
             3    Q. Now, Mr. Wille also mentioned a Dr. Reardon. Is that
             4 correct?
             5 A. Yes.
             6 Q. And is it accurate that we provided you a copy of

             7 Dr. Reardon's deposition __

             8 A. Yes.
             9 Q. -- that we took just a week or so ago?

         10 A. Yes. I actually read it yesterday, on Tuesday, because I

         11 just got back from a week teaching overseas on Monday.

         12 Q. I i m going to ask you - - I don' t know if you have the
    ~   13       deposi tion in front of you.

        14 A. I left them in the car.
        15 Q. Let me do this.
        16 MR. MEZ IBOV: I f I might approach, Your Honor.
        17 (Mr. Mezibov handing the witness the document.)
        18 Q. Dr. Parran, what I' ve done is placed in front of you
        19 Dr. Reardon's deposition and I have highlighted excerpts

        20 an excerpt from Page 38 in yellow.
        21 A. Yes.
        22 Q. Which lines does that run from?
        23       A. Page 38, line 12 through 20.

        24       Q. I would ask you to read that passage to us, first.
    "   25       A. II In my 9p,.lnion, the description that Mr. Hicks provided
         Case: 4:07-cv-00880-JG Doc #: 35-3PFiled:
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                                                                                 3-114

     )         1    is not indicative of someone who was in such a state of

~              2    cocaine psychosis that they were unable to reason, that they
¡
J

               3 were unable to plan, that they were unable to form intent,

               4 that they were unable to calculate a course of conduct t delay

               5 ini tiating parts of that course of conduct, plan ahead as

              6 opposed to the kind of grossly disorganized, erratic,

              7 inconsistent i savage kind of behavior that I have seen in a

              8 number of either cocaine psychosis or schizophrenic psychosis

              9 cases. II
          10 Q. Now, my first question with regard to that passage that
          11 you read is, as an individual with the qualifications you
          12 have provided to us, do you agree with that comment or that
    ~     13       passage by Dr. Reardon?

          14 A. I do not agree with the passage or the comment.

          15 Q. Why not?
          16 A. Because I think that this comment, once againr speaks to

          17 the misconception that people with clinically significant,
          18 meaningful cocaine - - degrees of cocaine psychosis that are
          19 heavily influencing their behavior need to look like IIgrossly
          20 disorganized, erratic, inconsistenti savage kind of behavior

         21 seen with schizophrenic psychosis cases. It I have a clinical
         22 problem with that.
         23 Q. Why is that?
         24 A. ßecause cocaine psychosis is something which involves
    ..
         25        which certainly involves intermittent intrusive thoughts,
             Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 92 of 207. PageID #: 2716
                                               PAR   RA     REDIRECT

                                                                                       3-115

i /)               1    almost a - - a waxing and waning, of people sort of beginning

                   2    to exert some control and then losing control of their
l
                   3 thought processes, paranoid ideation, sometimes auditory
\
j
                   4   hallucinations and the impulsivity. It certainly waxes and

                   5 wanes with cocaine psychosis. And as I said, it's one of the

                   6 reasons why it' s so easy from a clinical standpoint to

                   7 underestimate a patient's dangerousness, for example in the

                   8 Emergency Room, and to, therefore, take them less seriously

                9 than one needs to and then have the person accelerate ten or

              10 fifteen minutes later and become extremely dangerous. That

              11 is not only my clinical experience, but in the literature and

              12 from the literature from the early' 80s about cocaine

         ~    13       psychosis. And, therefore, the fact that this patient at the

              14 time exhibits clearly disorganized -- although in this
              15 expert' s opinion not grossly disorganized - - but clearly
              16 disorganized, clearly erratic, clearly inconsistent behavior
              17 with everything in his life, the best I could tell and most

              18 other experts, and very savage behavIOr:' I think it' s there.
              19 Q. If I understand your testimony correctlYi do you take

              20 exception to Dr. Reardon's descriptions as either savage or
              21 disconnected?
              22 A. Yes, I take exception. I think that the record certainly
              23 indicates disorganized thinking and behavior, very erratic
              24 behavior, quite inconsistent behavior not only during the
      .-",
    r         25       evening but entirely inconsistent behavior from - - comparing
    \.


...
                  Case: 4:07-cv-00880-JG Doc #: 35-3PARRA
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                                                                                            3-116 j
l 1/)                    1    the evening to his life leading up to there, and a degree of

                         2    violence and savagery which is shocking i and I think that' s

                         3    all in the case and that is what I see in the case.

                         4    Q. And in addition to the descriptions that you take
                        5     exception to, do you also take exception to the conclusions

                        6     drawn there by Dr. Reardon?

                        7    A. Yes, I do. I read the beginning of the sentence of

                        8    Dr. Reardon. The description that Mr. Hicks provided is not
                        9     indicati ve of someone who was in such a state of cocaine

                    10       psychosis. I interpret that as an opinion that the patient

                    11       probably was in a state of cocaine psychosis t but that this

                    12       person's opinion is that the extent was not great enough to
  ~                 13       be considered to contribute to the behavior i and I take

                   14 exception to that conclusion.
                   15 Q. Now, Dr. Parran, again as an individual with the
                   16 experience in cocaine and cocaine psychosis and matters
                   17        surrounding cocaine, do you have an opinion as to whether or

                   18        not Dr. Reardon is competent to offer an opinion with respect

                   19        to cocaine psychosis and its effects?

                   20        A. I have some concerns, and let me tell you my concerns.

                   21        In reading through his deposition yesterday, it concerned me

                   22        tha t Dr. Reardon did not know the pharmacology of cocaine;
                   23        didn't know the appropriate half life of cocaine; the

                   24        duration of intoxication; didn' t know that norepinephrine was
    'I
                  25         the same thing as adrenaline, that they're the same thing;




~:"......--'-._--_.. -_..__.. _.- - --- _.-
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           ,            1
                                                                                         3-117
                              didn't know that norepinephrine -- although he stated it was

                        2     a neurotransmitter, which is partially true is actually a
i
                     3        systemic hormone which when it is released from the brain

                     4        functions as an neurotransmitter, but it is basically a

                     5        systemic hormone throughout the body.. He seemed to think the

                     6       majority of cocaine effects were through sera -- he seemed to

                     7       think the majority of euphoric effects were mediated through

                    8        seratonin, when they are clearly by dopamine; did vaguely

                    9        recall dopamine and thought that was involved in some ways

                10           but at least that's what I saw in the deposition. So that

                11           concerned me, from a knowledge of pharmacology standpoint.

                12                 The other thing that concerned me was his description of
     ~          13           his clinical background in addiction medicine. He stated

                14           that although - - and certainly he was the clinical director

               15            or administrator, director of a big treatment program in the

               16           Columbus area for several years, he didn't know what ASAM,

               17           American Society of Addiction Medicine was. And, actually,

               18           treatment programs in Ohio that have medical directors who

               19           are not certified by ASAM, are not able to receive

               20           reimbursement by third-party insurers for the treatment they

               21           provide because it's considered that an ASAM-certified

               22           medical director is one way that insurance companies can

               23           verify that it' s a legitimate and well-run treatment

               24           program. Tha t concerned me that he didn't know what that
    ""..
               25           was.
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                                                                  REDIRECT

                                                                                            3 - 118


         'J            1        It concerned me he didn' t know what an addiction medicine

                       2 fellowship was, even though he is a psychologist and not a

                       3 physician. Being an expert in the field or being able to
                      4 give expert opinions about aspects of addiction medicine,

                      5 cocaine psychosis, without even knowing what an addiction

                      6 medicine fellowship is concerned me.

                      7 And then, finallyi the description that he gave of the
                      8 treatment program and the cocaine psychosis patients he' s

                      9 seen concerned me. My impressions - - and this is just an
                  10 impression based on the - - the deposition as well as his CV,
                  11 is that a significant amount of the treatment program that he

                  12 supervised, which sounds like a big comprehensive treatment

     ~            13       program, was Methadone maintenance, which is for heroin

                  14 addiction, residential treatment, which certainly could be

                  15 for cocaine addicts, but generally well after the cocaine

                  16 psychosis is done, and outpatient treatment. And when he was

                  17 asked whether he had seen patients who had cocaine - - who
                  18 were acutely using cocaine -- and the question seemed to be
                  19 framed sort of along the lines of in an Emergency Room

                  20 setting, or whatever, he stated he certainly saw lots of

                  21 patients in outpatient treatment within a matter of a few

                  22 hours of using, or even patients who came in intoxicated, and

                 23 that was his experience with patients with -- my impression
                                                                             .



                 24 was that was his statement of experience with patients with
     ~. N~,i..


:.
                 25        cocaine psychosis. Actually, certainly lots of patients who
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                                            P ARRA       REDIRECT

                                                                                    3-119

 l ()          1    have just used cocaine recently or just used it on the bus or

               2 at the corner to - - before coming into treatment, that

               3 happens all the time. But the ones who use cocaine just

               4 before they come to treatment and trigger cocaine psychosis

               5 don' t walk in the door. They go off ¿ they go off to get more

              6 cocaine. So, those statements concerned me significantly

              7 regarding his qualifications to give an expert opinion about

              8 something having to do with cocaine.

              9 Q. Dr. Parran, how imp9rtant, in your professional

           10 estimation, is it to have an expert knowledge of

           11 pharmacological effects of cocaine to be able to explain the
           12 dynamics and the impact of cocaine psychosis in a given
     ~    13       instance?
          14 A. Well, I think especially - - let me back up. It' s perhaps
          15 not critically important to have a clear understanding of all

          16 the pharmacology of cocaine to be able to talk about cocaine

          17 addiction to some degree, although even that would be a

          18 serious liability. Not knowing the pharmacology - - really

          19 knowing it well -- of cocaine, and certainly -psychologists do

          20 know the pharmacology of cocaine -- I worked with many

          21 psychologists in our V.A. treatment who know the pharmacology

          22 of cocaine quite well. Buti not knowing the pharmacology of

          23 cocaine when we' re talking about something that is different
          24 than cocaine intoxicationi that is different than the cocaine
'"'"
;~.-,.
 l       25        crash and is this sort of peri-bingei paranoid, at times
                     Case: 4:07-cv-00880-JG Doc #: 35-3P Filed:
                                                         ARRA 03/07/13 97 of 207. PageID #: 2721
                                                                    REDIRECT

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      ..')                   1     psychotic period, I think is - - renders a person in not a

                             2 solid position to give an opinion.
)
                             3    Q. And finally, Dr. Parran, in your professional opinion,

                           4 how important is it to be familiar with or expert in the
                           5 pharmacology of cocaine in understanding Mr. Hicks' condition

                           6 in connection with the matters in this case?

                           7 A. I think it's very important and it -- not knowing the

                           8 pharmacology of cocaine and also how the pharmacology of

                           9 cocaine measures with the disease of addiction to produce

                        10 typical patterns of cocaine dependence, cocaine binging, the

                        11 kindling phenomenon, and paranoia and psychosis, not knowing

                        12 that I think renders a person in - - in a very weak position
     ~,.~"              13       to be able to give a credible opinion about this case.

                       14 Q. From what you read in the transcript of Dr. Reardon, did
                       15 it appear to you that he had an appreciation of the kindling

                       16 effect as you' ve described?

                       17 A. No. My initial reading when he was asked about the
                       18 kindling phenomenon, it appeared to me it was the first time
                       19 he ever heard of it. I can't say that for sure. But then
                       20 his response of what his understanding of it was, he thought

                       21 he had a vague understanding of it, some sort of
                       22 understanding. I can read the exact thi~g if you want --
                       23 OOPsl there it is. Page 49:
                      24                        "Do you know what the kindling effect is?"
     . -,             25                        "Answer: Kindling? II
'\




--_......_----..__.._..._.. ...._......._-- -
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                                                                                 3-121

1 :)         1              lIQuestion: Kindling, k-i-n-d-l-i-n-g. II
             2              11 Answer: Not specifically. Not that term. 11

             3              liDo you know what it refers to?1I

          4                 II Answer: Well, I'm assuming it refers to something
          5          with regard to timing of onset and so forth. II
          6      The response indicated that he really did not know what

          7      kindling was at all.

          8 Q. And how important in your estimation is or was the

         9 kindling effect insofar as Mr. Hicks' situation is concerned?

        10 A. Well, the kindling effect is what explains the reason why

        11 some patients -- and apparently at least ~- to the best of my
        12 professional opinion, in this case a patient can binge on a
 ~      13       tremendous amount of cocaine at one time and finally trigger

        14       a certain cascade of symptoms in themselves. In maybe five

        15       percent of cocaine addicts, a person by binging on cocaine

        16       will trigger a seizure. And then in that five percent,

        17       almost every time they use cocaine after that, even if it is

        18       a small amount / they'll have a seizure thereafter, and that' s

        19       the kindl ing phenomena.

        20           In terms of this case, using a tremendous amount of

        21       cocaine in the few years previously, intermittent and huge

        22       binges triggered the paranoid ideation when using cocaine,

        23       explains the crux of how a person can do somewhere between

        24       three and five runs of I. V. cocaine in an evening and develop
  "
       25        very bizarre, very savage, very disorganized behavior that
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                                            P ARRA       REDIRECT
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                                                                                    3 - 122   (


     t)         1    looks like cocaine psychosis i more than anything else

                2    clinically in a differential diagnosis. So I think it is

                3    really a critical issue.

                4              MR. MEZIBOV: Thank you, Dr. Parran. That's all I
                5    have.
                6              MR. WILLE: Nothing further, Your Honor.

I;             7               THE COURT: Do I understand tha~ when the kindling

               8     effect is invoked or occurs, that then the person will binge

               9    on I. V. cocaine?
           10                 THE WITNESS: The kindling effect can - - the

           11       phenomenon of kindling can affect several different __

           12       several different parts of cocaine use. Certainly the
     ~     13       phenomenon known as kindling can affect whether a person has

           14       a subsequent seizure after they've had one.

           15                 THE COURT: We know Mr. Hicks didn' t have seizures.

           16                 THE WITNESS: Yes.
           17                 THE COURT: So let' stalk --
          18                  THE WITNESS: The kindling effect certainly
          19        explains how people have significant paranoid ideation and

          20        psychosis-type actions.
          21                  THE COURT: As far as we know, that never happenea
          22        prior to this time with -- of the murders with Mr. Hicks; do

          23        we?
          24                  THE WITNESS: Well, the description - - the
 :.- '\   25        description in the 1990 report of Dr. Baum -- I think that's
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                                                          REDIRECT

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¡! -,           1   his name - - granted, that was after the fact and it was

                2 information gathered in 1990, but the description there of

                3 the cocaine dependence that Mr. Hicks had had in the previous

                4 few years did describe no violent behavior but certainly

                5 described intense binges that invol v~d paranoid ideationi

                6 using by himself, using in solitary environments, no longer

               7 using socially with other people. All of which is, at least
               8 I read, is pretty strong evidence for that.

               9              THE COURT: Well, the only information you have in
           10 that regard is the amount of __

           11                 THE WITNESS: I can try to look for it here if you
           12 want me to.
    ..~
           13                 THE COURT: Well, do you have             I understood that
           14 you based your opinion on the fact that he used his life
           15 savings to buy cocaine.
           16                 THE WITNESS: That was my opinion regarding cocaine

           17 dependence. My opinion regarding the fact that it' s my
           18 opinion that he had significant paranoia with previous
           19 binges, previous heavy binges with cocaine, was based both on

           20 my interview with Mr. Hicks in 1995 as well as data from 1990
           21 and Dr. Baum' s record which he shifted his pattern of use to
          22 more and more solitary use by himself during these binges,
          23 which generally happens because of the paranoia coming on

          24 with heavier and heavier binges.
    ')    25                 THE COURT: And when he is on a binge, the only
       Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 101 of 207. PageID #: 2725
                                            P ARRA     REDIRECT

                                                                                  3-124

 -")          1    thing he is interested in is getting more cocaine?

              2              THE WITNESS: That' s what most patients describe.

              3              THE COURT: Did Mr. Hicks?
              4              THE WITNESS:     Mr. Hicks did, yeah / and he described
              5    that in his --
             6               THE COURT:     So Mr. Hicks was on a binge?
             7               THE WITNESS:     Yes.
             8 THE COURT: And all he was interested in was
             9 getting more cocaine?

         10 THE WITh~SS: That -- that sounds __
         II THE COURT: Am--
         12                  THE WITNESS: I mean, that seemed to be my reading
~       13        of it.
        14                  THE COURT: All right. All right. Now, when did
        15 he start the binge?

        16                  THE vHTNESS: I'll have to look at it, but it's
        17 from the detective' s report, I believe - - I have it right
        18 here. He first used
        19                  THE COURT: Wel 1 , I thought __

        20                  THE WITNSS: I'm sorry/Your Honor, but it' s - - I
        21        thought it was about 8 0' clock in the evening.

       22                   THE COURT: On the Friday?
       23                   THE WITNESS: On Friday.
       24                  THE COURT: After--
d~\
       25                  THE WITNESS: Between 8: 00 and 9: 00 in the evening,
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    Ì ()           1   I think.

                   2              THE COURT: All right. And that's when the binge

                  3 started?
                  4               THE WITNESS: That was the first use of cocaine.

                  5               THE COURT: Now, when did ~he binge start? I

                  6 understand there is a difference between the simple use of

                  7 cocaine, if there is such a descriptive phrase, and a binge.

                  8               THE WITNSS: What I would say is that once a
                  9 person has cocaine dependence and they've - - and they've

              10       established it in a binge-crash pattern, which is the most
I

              11 common, the initial use of cocaine is the initial start of
              12 that binge.
        ~     13                  THE COURT: All right. So, then if Mr. Hicks'
              14 situation was such that if he took a drop or a - - any. amount

              15 of cocaine, it was the start of a binge?
             16                   THE WITNESS: That' s consistent with the history

             17 that I heard in here, especially from Dr. Baum and my history

             18 with him.
             19                   THE COURT: And so the binge started with the first
             20 use of cocaine?
             21                   THE WITNSS: Yes.
             22                   THE COURT: When did it end?
             23                   THE WITNESS: Usually we classify the binges ending
             24 wi th the last use of cocaine.
    ."'-,
    .        25                   THE COURT: Last use. So --
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        ')          1                               THE WITNESS: Maybe ten minutes after that, when
 l;
                   2         the peak goes away.

                   3                                THE COURT: Now, in this situation the binge was
                   4 over wi th the last use of cocaine?

                   5                                THE WITNESS: I would say, "yes.
                   6                               THE COURT: Around 12: 3 0 that evening?
                   7                               THE WITNSS: Yeah, I think it was right around
                  8 then, 12:30. Maybe -- let's see. Oh, must have been 12:30;

                  9 something like that. "So, I went up ahead and shot up the

               10 dope I got." So, I think he went around 12: 30 and got his

               11 last cocaine and came back to the apartment and used it. So,

               12 probably sometime between 12:30 and 1:00 or so.

      ~       13                                  THE COURT: Thank you.
              14                                  THE WITNESS: Okay.
              15                                  MR. MEZIBOV: Your Honor, may I clarify one point?
              16 FURTHER REDIRECT EXAINATION
              17 BY MR. MEZIBOV:
              18 Q. Dr. Parran, His Honor has asked the onset and the

              19 duration of the cocaine binge; correct?
             20 A. Yes.
             21 Q. And what about the onset and the duration of the cocaine
             22 psychosis?
             23 A. Most patients -- and I can/t say for
                                                        "Mr. Hicks, because
                                                           .

             24 by ~he time I interviewed him in 1995, he said that his
't "'        25         recollection of all of the events that evening was not clear
\
              Case: 4:07-cv-00880-JG Doc #: 35-3 PFiled:
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I.')                1    enough to tell me exactly. But, most patients, once they

                    2    have had cocaine psychosis or paranoia associated with the
1
                    3    cocaine binge in the past, get some degree ~f paranoia,

                    4 usually mild, after the first use of cocaine and then it is
                    5 multiplied each time they use the cocaine thereafter. So i I

                    6 generally consider serious paranoia to be starting after the

                    7 second time that people use cocaine.

                    8 Q. When in connection with Mr. Hicks then would the serious

                   9 onset of psychosis set in?

               10 A. Once again, the only thing I have to base my opinion on
               11 is his confession, and during his confession he said he got

               12 edgy, he got restless, that he got an incredible urge to use
    ~          13       cocaine after the first I. V. cocaine use and he went and

               14 hocked the VCR. When he used the second I. V. cocaine, he
               15       suddenly started thinking about robbing his grandmother
                                                                                               or
               16 his mother-in-law; and as that got closer, he began

              17 considering murdering his grandmother, and that _ _ so
              18 clinically for me it would be right around the time or

              19 shortly after the second I. V. administration -of cocaine.

              20 Q. And do you have an opinioni to a reasonable degree of

              21 medical certainty, whether Mr. Hicks was in the midst of a
              22 cocaine psychosis throughout the times these two murders were

              23 committed?
              24 A. Yes.
              25                MR. MEZIBOV: Okay.




-_._-~_.- -
             Case: 4:07-cv-00880-JG Doc #: 35-3 PFiled:
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     ) :')             1                  MR. WILLE:     Nothing further, Your Honor.
                   2                      THE COURT:     Is this witness released?
                   3                   MR. MEZIBOV:        Yes, Your Honor.
                   4                   THE COURT:        Is this witness released?
                   5                  MR. WI LLE : Thank you. Yes. Thank you / Your

                   6        Honor.
                   7 THE COURT: Thank you, Doctor.
                   8 (Wi tness excused.)
                   9                  THE COURT: Weill have a 15-minute recess.
                                                                                                               ..

              10                      THE CLERK: All rise.
              11                (At 2 :43 p.m., a recess was taken.)
              12                                             * * *
                                                                                     (3:05 p.m.)
      ~       13                      THE COURT:        Is the petitioner ready to proceed?               .
              14                      MR. I'1EZIBOV:      Yes.
              15                     THE COURT:         Respondent ready to proceed?
              16                     MR. WILLE:         Yes, Your Honor.
              17                     THE COURT:         Call your next witness.
              18                     MR. MEZIBOV:        Your Honor,   we've agreed with
              19 Mr. Wille that we can call certain witnesses ~ut of order,
              20 and we defer to Mr. Wille.
             21                      THE COURT: Proceed.
             22                      MR. WILLE: Thank you, Your Honor. We would call
             23            Dr. Reardon.
                                                                                                          ..

             24                      THE CLERK: Raise your right hand, please.
      --,
..           25                (Duly sworn by the Clerk.)
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                        LARRY SOUTHWICK STATEMENT TO
                          HOOLIHAN & DILLON AT W.P.D.

 Larry Southwick, date of birth is 5-23-53, Social is XXX-XX-XXXX. He lives at 379
 Belmont Avenue N.W, Warren, Ohio, 44483. He works full time at MedStar
 Ambulance as a dispatcher. He is currently the manager of the Warren terminal of
 the Greyhound Station.

 Larry has worked for Fingerhut since 1998. At that time there was a West
 Warren TerminaL. He worked as a ticket agent in the mornings from 8:30 until
 12:00 at which time Fingerhut would come in. They would close the terminal, go to
 lunch together and then re-open the station. Larry then went to his regular job at
 1:00.

Larry helped Fingerhut move the West Warren station to it's current location on
East Market. In the process of moving Larry asked Robert what was in the bag
(which was in a box of stuff they were moving). He told him it was a gun and
showed it to him. Larry describes it as a .38 revolver that was silver with light
brown handles. In the bag also were an eyeglass repair kit, ammunition and a
couple of knives. Larry said this bag was always at the terminal in a little cubbie
hole in the wall. When Fingerhut worked it was either in the back office with him
or near his briefcase.

Either Robert or Donna would call in to the terminal everyday to see if everything
was all right with Larry. He didn't actually meet Donna for approximately 4-6
months after coming on board. Larry describes Robert as a good boss who was laid
back and a fair payer. Larry wasn't aware of any relationships outside of the
marriage. Robert introduced Donna as his 'wife'. He said that they argued from
time to time, like normal couples.. .


Larry said that Donna spent a lot of time back then at the Youngstown terminaL.
There was a restaurant in the terminal called Just The Ticket where Donna was
most of the time. Apparently she's been arrested at least a half dozen times in
that restaurant. He could only recall why on one occasion. The charge was
obstruction of justice. There was a white security guard that was always hassling
the black customers and Donna would go off on him. Her arrest was the result of
this. When Donna would call Robert to bail her out he would call her an idiot and
tell her he wasn't going to bail her out.


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The hours of the Youngstown station are approximately 7:00, 7:30 to 9:00,9:30.

Larry quit the terminal in 2000 because some phone cards came up missing from
the safe and Robert blamed him. Robert said it had to be one of Larry's family
members or someone he let in the back. He repeatedly said this to Larry and Larry
finally wrote Fingerhut a letter and quit. Fingerhut only listed Larry's name as a
possible suspect on the arrest report. Larry said he even had some of his own
money (rolled coin) in the safe and why would someone leave that behind and just
take the cards. Donna let people back there, even passengers (as was witnessed by
Larry's wife). Even inmates were in there a lot. Several times a week TCI would
bring inmates to the terminal who had been released. Larry quit in October of
2000.

Donna called him to come back to work in November of 2000. Robert wanted him
to come back as well and told him he could when things picked up. However, he
didn't go back until the Saturday after Robert's funeral.

Larry said there was no indication of marital problems. Fingerhut joked once about
"she must have a boyfriend' after a telephone call with Donna. That was a couple
of months ago, Larry said.

When Larry came back on December 15th, the bag with the gun was in the cubbie
hole. He didn't look inside at that time. The following Monday he looked and sure
enough, the gun was gone. He called the Howland Police Department to report it
missing.

Larry attended the funeral and said Donna was crying the whole time. She met
with him afterwards (at the funeral) and gave him the keys to the Warren terminal
to open up the next day.


Larry didn't know of any boyfriends of Donna's and had never seen or heard of
Nate. He did witness her writing a long letter a week before Robert's death. He
didn't know if Donna carried a gun or not. The target in the terminal was from a
target practice she attended next door to the old West Warren terminaL. There is
apparently a shooting range there.
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 There was a computer at the Warren terminal with internet access. Larry never
 witnessed Donna on it.

 Larry first heard about the Santiago-gun incident after Fingerhut was murdered.


 When police asked him if he thought Donna would have any use for the missing
 phone cards he said she could use them for private, untraceable calls if she wanted
 to. He never witnessed this though.


 At night, Robert and Donna, would take the daily cash home with them and one
 would deposit it in the morning on their way to work.

 Larry said that Fingerhut was distanced from his son in Florida and that he didn't
 trust any members of his family.

Larry didn't know EVERYTHING was in Donna's name, only the Greyhound business.
Larry was told it would be harder for someone to Sue them if it was in Donna's
maiden name. Larry also thought Donna was laid back and easy going.

Larry said Fingerhut really liked eBay and that's where he got all the team jackets
and other sports memorabilia.


Larry called Donna after the funeral to console her. They never discussed the
actual death. Talked about 3 times just consoling. She then asked him to run the
station because he was the only one in Warren who knew how and she trusted him.

Larry never saw any bullet holes in the basement of the Warren terminaL. He said
they weren't there when they moved to the new location.

Robert never mentioned Nate and Larry never saw them together.

Jenny Smith is Larry's Sales Manager. She heard from both, Jamie Wozak for the
Akron terminal and Melvin, from the Youngstown terminal that driver (the 5:15
bus), Jimmy McCoy, told them that jokingly he said, upon coming into the Warren
terminal and finding Donna on the computer, "You/re in a chat room talking to your
boyfriend again". And she replies "My man, Nate, is in the back". At that point
Nate comes from the back office to the front office. This was one week before
the homicide. (???)
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                              CHRISTINE ELLINGTON
             INTERVIEW WITH HOOLIHAN AND DILLON (H.P.D) AT THE W.P.D.

 Christine owns The Final Cut hair salon at 402 East Market. She lives in Liberty
 and her Social is XXX-XX-XXXX, date of birth is 4-9-67. Hours are 9-5 on Tuesday
 thru Friday, and 7-4 on Saturdays. Closed Sunday and Monday.


 She had seen Donna and knew she worked at the Greyhound Station.

 Donna brought Nate in on the 11th and said "Here's another cuf'.

Christine said she didn't converse with Nate at all during the cut because it slows
her down and the fact that she didn't know Nate. Donna went back to the terminaL.


Chris said Nate was wearing dark clothing, and paid for the cut himself ($13.00).

Christine said that Donna has brought 3 or 4 black guys in for cuts previously and
all she would ever say was "I have a cut
                                           for youl/.


Christine said she had never seen Fingerhut and Nate together.




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                                                                          141 South St., Warren, Ohio 47 ¡ /Î.; ) _, ¡"- _ j

                               STATE OF OHIO                                         . CASE NO. I / / ( /í r i _:/.. / ()
                               CIY OF WARREN

                        ~ .-                VS.                                                                    COMPLAINT (Rule 4)
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                                                                               WARRANT ON COMPLAINT

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 )            r:-' 2t at Warren Municipal Court. If ,/òi/ fail to
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     Highlight of the notes of the tape of Santiago Mason at the Prosecutor's


     Office. Detective Hoolihan and Detective Dillon (Howland P.D.) took this

     statement.



     Santiago is married and he has one kid. He apparently goes to the
     Greyhound bus station in Warren where he was going to purchase a ticket to

     go to Cleveland to visit his relatives the next day. As he is at the window, he

     approaches Donna and she is sitting there writing a letter. He sees a picture

     of a black guy and it looks like he is in incarcerated. Santiago recognized

     the bars, because they were both apparently housed in Belmont. They didn't

     know each other though. He buys the ticket and then Donna starts coming

     on to Santiago pretty heavy. Telling him, "You are so cute. I always liked

     black guys cause they got big dicks." Santiago in turn says, HI got a big

     dick." One thing leads to another and she is asking him "Can we hook up

     later on tonight. I get off work at 5:00, why don't you come back down to

     the station at 5:15 and we'll hang out. Maybe go to my house." So,.

     Santiago goes back to the Greyhound station at 5: 15 and he goes around to

     the front door and she tells him to go to the back door where .she co~~ out

     and tells him she will be right out, she has to lock everything up. They get




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in the car and Donna fires up a bad ass joint. They get to Donna's house and

apparently they are in the living room. They are only there for about 45

minutes. Donna proceeds to say, "Let me see how big your dick is."

Santiago gets his tool out and Donna has her way with it and she is begging

him, "Why don't you fuck me. Why don't you fuck me." Santiago says,

"No." He keeps saying no. He's mumbling about he doesn't want to get

any disease or anything like that cause he is married. Anyway, Donna

finally gets pissed off and Santiago wants to go back to the Greyhound

station, he's asking questions about Donna's husband, whether he will be

home or not and he was real nervous about being there seeing that he just

met her that same day and here he is in her car, in her big house, getting high

with her and having sex with her to an extent. Just oral sex on Donna's part.



Donna tells him that Nate.. .she is always going on about Nate, how much

she loves him and how much he loves her and she can't wait until he gets

out... That her and Fingerhut don't even sleep in the same rooms, they are


actually separated, but they are just living in the same house. She tells him

she doesn't want a divorce because everything is in her name. Donna tells

him that Nate is going to shoot some guy that's been hitting on her and later

on in the tape, it reveals that this happened beforeNate went to prison. He
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and Donna were in a car and a gang of black guys comes over and they are

like sizing her up and saying stuff and that's what that led to. Since they

were hitting on Donna he was going to shoot them.



She takes him back to the Greyhound station and he walks home and then

two or three days later, Donna calls him and Santiago apparently had her cell

phone number. She gave it to him. He actually rattled it off by heart during

his interview. She calls him and tells him she wants to see him and suck his

dick again. Apparently, they end up going to meet back at the Greyhound

station and Santiago comes of course and they get in the car and she is

listening to this wild rap music and he was laughing, "What you doing

woman? Listening to music like that!" She's all old and everything you

know. (Santiago) On the way there, Donna is asking Santiago why don't

you drive and he says I drive, I have a car, I just don't have a license. I have

fines and costs and it is going to cost money to get unsuspended or whatever

and she says, "Well, I wil loan you the cash. If you want so you can get

your license back." He was like, "Cool, that works for me." She reaches in

her pocket and gives him $220.00, by this time they are back at the house.

They are in the other living room this time, Donna performs oral sex on.him
                                                                 . - - . ---
again and she says, "Don't worry about the money honey. I don't ever have
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 to worry about money. I don't worry about money at alL. When you gonna

 fuck me?" Again he says, "No." She gets mad and she goes back to the

 bedroom and comes out with another joint and she is smoking it. They were

 only there at the house for 20 to 25 minutes. She is stil mad, so she takes

 him back to the station and then about one week later she shows up at his

place of employment, Vista Windows, (Elm Road? Old Stambaugh

Thompson's behind Perkins, I am not real sure) Anyway, she is all irate,

she's mother fucking him up and down and screaming, "I want my money

back!" There was a couple of witnesses there, his friend Wali, he spends

every night over at his house in the evenings. Another guy name Walt. She

is going on and on, mfing him, "You got my money and my gun!" Santiago

is like, "Your gun? I don't have your gun, I don't have your money." She is

saying, "I am going to have you fucked up." So they keep interrogating him

about whether they ever stopped anywhere, have they ever just stopped

anywhere at all, other than just go to the Greyhound and straight to her

house and back and Santiago is adamant that they have never stopped

anywhere. Including the Dairy Mar where supposedly the gun was stolen

from her and the money. He swears he has never seen any envelopes or any

bags, never saw a gun, he never stopped, but Donna did tell him at one point

earlier on the first ride that she kept two guns in the car. She ends up telling
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 him that she is going to call the police and she filed that report on him

 November 20th, missing Smith and Wesson 38, phone cards, and cash. He

 told the detectives that before she wasn't worried about the money, she

never had to worry about money, and now she is all pissed off about the

money and that she is a liar and that she wil fuck any black guy. She's

always kissing on the bus drivers all the time at the Greyhound station. He

tells Hoolihan that he would take a polygraph whenHoolihan asked him and

he wanted Donna take one too. He says she is a psycho type of woman and

one other thing that he said was that she was a fast driver. That she drives

like a "bat out of helL." (Maybe she was just pissed?) DetectiveHoolihan

asked Santiago, "Why would Donna file this report on you?" He says,

"Because of the sex." He wouldn't give it to her. Santiago called Robert

Fingerhut at the Youngstown Greyhound and tells him about everyhing, that

he's had an affair with her and she is accusing him of stealing this gun and

money. Fingerhut asks him, "How do you know her?" He says, "From the

Greyhound station in Warren." He just says, "Oh, okay." And hangs up the

phone.
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Early on she told him that she would love to have a three some with two

black guys, how it would be great to be sucking on one black guy and have

the other black guy in her ass.



His friend's name that he spends every evenmg with Wali, one of the

witnesses at Vista Windows, his last name isAkram. I don't know where he

lives or anything.



I guess that's it.
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            HOvVLAND POLICE DEPARTMENT
                        169 Niles Cortland Road NE, Warren, Ohio 44484


                           SUPPLEMENTAL REPORT

  Report #: 01-078868
  Date: 12-12-01
  Investigator: Det. Sgt. Monroe
  Page lof5


 On "Wednesday, December 12, 2001 at 1:00pm Donna Roberts came to the Howland
 Police Department with her brother Ralph Roberts and sister in law Rita Roberts.
 Donna came into the Detective Bureau Conference Room along with Capt.
 Compton, Det. Sgt. Dilon and RJO. Ralph and l'Iichael Roberts, Donna's brothers
 waited in the lobby of the police station.

 Donna told offcers she last saw Robert Fingerhut alive at 8:00am on 12-11-01 in the
 master bedroom of their 254 Fonderlac SE residence. Robert was gettng ready for
 work and Donna was lying awake in bed. Donna thought Robert went to work at the
 "Warren Greyhound terminaL. Donna said she also helps out at the Warren terminal
 but never the Youngstown offce. She sells tickets in 'Warren and does basic offce
 work. She told offcers she doesn't tyork in the Youngstown offce because
 everything is computerized and she does not knOtl' how to use the equipment.

Donna met Robert in lVliami, Florida and married August 22, 1983. Robert was a
licensed private investigator in Florida. He had a permit to carry a gun there.
Robert bought a BCI badge in Miramar, Florida. Donna worked for Dr. Morton
Freiman lYID a plastic surgeon in North l'Iiami Beach, Florida. Donna tóld offcers
she was the offce manager and as part of her duties she conducted bilmg, kept,
wrote and maintain""ed medical records. Donna further told offcers she was Dr.
Freiman's only employee and also served as his medical assistant during surgical
procedures. Donna also traveled to Israel with Freiman and did trauma work with
him during two wars on fresh battle injured soldiers in the field. Donna said she
provided treatment for gunshot wounds and performed skin graphs.

Donna was born in Youngstown, Ohio and married three times. Her first marriage
was to \Viliam Raymond and lasted sh years. The second marriage was to Bert
Gelfand for ten years and then to Robert Fingerhut in 1983 for three years. Donna
said the onlyreason her and Robert were divorced was because of Ïmancial benefits
in the case of a civil suit against Robert. Donna told offcers the divorce was Roberts
idea. He wanted to put all of their assets in Donna's name so they would be
protected in the case of a lawsuit or failure of their business.




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   Donna told offcers her and Robert got along great and had no real problems with
   their relationship. They had small problems like any couple. She stated they argued
   over litte things like changing the dog's water, but nothing major. They purchased
   their 254 Fonderlac residence in 1995. Donna also mentioned Robert was a collector
   of sports memorable and 'World \Var II relics. Donna bought Robert a Cleveland
   Browns, Brian Sipe field worn football jersey in the early eighties and that is tiow he
   got started collecting jerseys, making jerseys and collecting ,?ther memorabila.

  Donna told RIO on the day of Robert's murder she woke up 'around 8:00am when
  Robert was leaving for work. Donna said she just stayed in bed relaxing unti 9:30
   or 10:00am. She got out of
                              bed, washed her hair, did her makeup and took care of
  the girls, "her dogs". At 12:30 she arrived at the \Varren Greyhound Bus Terminal
  and worked unti 5:15pm. When Donna arrived Robert had already left the
  terminal and Donna did not know where he was. Donna said she called Mr. Daniels
  at the Youngstown terminal to see if Robert was there. She was told Robert had not
  yet arrived. During her worked period Donna said everyihing was normal and
  nothing unusual   happened. She said she spent the day alone in the offce.

  After "tYork Donna went to Giant Eagle and purchased a cooked roast chicken for
 her dogs to eat. She arrived at 254 Fonderlac SE at 5:45pm and Robert was not
 there. Robert usually worked in the Youngstown terminal from 2:30pm until the
 last bus at 9:00pm. Donna called Robert once at the Youngstown terminal after
 coming home from work. Robert called Donna a couple of times between 5:45 and
 9:00pm. Robert called to see what Donna was doing, ask what Y'ias for diner and to
 teH her things were slow at the offce.

 At 9:00pm, Donna said she called Robert at the Youngstown terminal, he told her he
 ,"vas going to be a little late, but did not say ,"vhy. Robert told Donna she should go
 shopping at the mall and buy herself something nice, because she deserved it. Donna
 said she did not go to the malI, but to \Val-IVfart instead.

Do!ma then said," there is something you don't know about Robert, and you can't
let this get back to anyone because no one knows. Robert goes both ways." Donna
has never met any of
                      Robert's male friends, but she knows Robert met one of
                                                                             them
at the Avalon Inn ~ometime last year. He has a friend named Bobbie who would call
him at the house unti last week. Bobbie would call a couple times a week and ask
for Robert. Donna said, "Robert has his friends and I have mine, I guess we are just
a prett cool couple".


Donna said, customers have threatened Robert at the bus terminal in Youngstown.
Some of the customers are craz. Donna had no specifc detail as to who may have
made the threats or \'vho the crazy customers were, just that there were a lot of
people like that.




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    Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 119 of 207. PageID #: 2743
   Donna told offcers Robert has several firearms, a big rife with a bayonet, 38-
   caliber Taurus revolver with a short barrel, 38-caliber revolver with an unexposed
   hammer, unknown brand and a Smith and Wesson 38 caliber revolver.

   On November 20,2001, the Smith and 'Wesson 38 caliber revolver was stolen from
   Donna's car while parked at the Dairy Mart on Logan and East Market St. in
   "Warren, Ohio. Donna said, she helped this guy she really didn't know and gave him
   a ride. She knows him only as Santiago, who is a black male'subject. DoIlna gave
   him a ride and he stole the gun and 5320.00 Greyhound deposit, which was in the
   car. Donna said, she ran into the store to buy cigarettes and when she returned to
   the car, Santiago, the gun and money were all gone. Donna immedlately reported
   this theft to the \Varren City Police Department.

  Donna told offcers six months to a year ago she was datig a guy named Carlos.
  Donna dated Carlos for two or three months, but she cannot remember his last
  name. Carlos is a male, half black and half Hispanic of average height and weight.
  Donna met Carlos at the bus termial in \Varren. Donna's relationship with Carlos
  was for sex and she had no emotional attachment to him. RiO asked Donna if there
  was anyone else she had any type of relationships with and she said, "no".

 RiO asked Donna if she knew Nate Jackson and she said, "oh yea, I forgot about
 him. He calls me from prison and he just got out on Sunday, 12-09-01". Donna told
 offcers she went to Lorain and picked Nate Jackson up Sunday when he was
 released from prison. She has known Jackson for two years and seeing him on a
 regular basis since they met. They met at the Youngstown bus terminaL. Donna told
offcers Jackson ìvas In prison for being a passenger in a stolen car. Donna also told
offcers Nate has been in and out of jail for stupid little thing, nothing bad. Donna
told offcers Robert and Nate were frIends. When Donna and Nate got back into
Youngstown from Lorain on Sunday, 12-09-01 she dropped Nate off at Shelia and
 Oscars. Their house is somewhere in Youngstown with red shingles on the siçle of it,
instead of siding. Donna didn't talk to Nate again unti Tuesday morning, l2-11-01
on the telephone. Nate called Donna, she did not know where he called from"; he just
called to say hello. Donna did not see Nate
                                                     on Tuesday, December 11,2001.
Donna said, "Nate.was not jealous of
                                              Robert and Robert understood about Nate.
Robert knew all about my relationship with Nate". Donna told offcers her and
Robert had an understanding and out of respect for Robert she would not bring
men to their home to have sex. The last time Nate Jackson was at the 254 Fonderlac
with Donna was the weekend before Labor Day. Nate was serving time at CCA in
Youngstown and was on a weekend pass. During this visit by Nate, Donna said
Robert was home and she did not have sex with Jackson. Over Labor Day weekend,
Nate was on a pass from CCA and she had sexual relations with him, but not in the
house. Donna said, "her relationships were just a game and the game had only one
rule. You don't say I love you to whoever you're dating and Robert was very strict
about that".




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   Donna told offcers the music she likes to listen to is older stuff and pop. Nate likes
   listening to rap and rhythm and blues. Donna said she stopped at the house on
   Sunday, 12-09-01 with Nate. She said they were both in the house from 1:00pm to
   2:00pm~ feed her dogs and picked up some pot, "marijuanna". Nate last spoke with
   Donna in the morning on the eleventh of December 2001, from a payphone
   somewhere in Youngstown.

  Donna describes Nate as 5'10", thin but with a muscular buÜd, short black hair
  with dark skin. Donna told offcers her and Nate wrote each óther a lot. They wrote
  each other about three times a \yeek. On Thursday and Saturday Nate would call
  Donna coUect from prison.

  Donna told offcers Robert ,vas a very hyper person and when he got mad he was
  flaky. About a week, week and a half before Robert's death he was actig kind of
  nutt up until yesterday. Robert \1/as missing Tuesday, from 11 :30am to 2:15pm
  when he showed up at the Youngstown Terminal for work. Donna said this is out of
  character for Robert to go or do something without her knowing about it. Robert
  kept a gun in the center console of his car or tucked between the seat and the
 console.

 Donna went back over what she had done late Tuesday evening on the eleventh of
December with offcers. At 9:00pm she went to Giant Eagle to buy chicken for her
 dogs~ but they did not have any. Donna was in Giant Eagle approximately five
minutes. Donna then went to \Val-Mart and shopped for approximately 30 minutes.
Donna bought make up and a cigarette lighter. About 10:30 Donna arrived at Super
Kmart and made no stops or detours along the way. Donna told offcers she was
there a long time and just looked around. She likes looking around at Super Kmart.
Donna did not buy anything. Donna said she did not see anyone she knew at Super
Kmart, but she did talk with a lady who had a cute little boy with her. Donna left
Super Kmart at 11:30pm and went straight home. Donna came down her street and
pushed the garage door opener. The garage light came on and the overhead door
began to clcse, so she pushed it ~gain. Donna parked the car in the garage and
closed the overhead door.

Donna told         she has a pending lawsuit against a policeman who worked in
             offcen.

the Youngstown bus termiaL. She thought the offcer's name was Bettencougher
and he wore a black uniform. Donna said she did not know what police department
the offcer was from. Donna said the suit is a couple years old and was dismissed by
the court. They have fie an appeal with the court and she does not know where the
case currently stands. Donna said Attorney Steve Chuparkoff, (330) 744-3010 was
handling the appeaL.


Donna told offcers Robert has a life insurance policy worth 5250,000.00 with State
Farm and she has one worth $50,000.00, their agent is Cathy Thomas. Thomas can
be reached at (330) 793-1136. Donna said Robert was going to increase h!s .!fe




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                             JANET CLAY STATEMENT TO:
                                 HOWLAND POLICE

Janet lives at 779 Fairmont, Youngstown, Ohio. Her date of birth is 2-6-67. Her
Social is XXX-XX-XXXX. Her phone number is 743-6913.

Janet met Nate on the 10th €? Sheila's house in the afternoon. Just Janet, Sheila
and Nate were present.

Donna picked Nate up in her car on the 10th. They came back later that night and
Donna & Nate went into the bedroom to smoke crack. This was done in exchange,
of course, for crack paid to Shiela. Nate gave Sheila a gram for the room rental at
that time.


Janet said she then saw Nate again the next day (11th) when Nate called Sheila
looking for someone to 'kick it' with at the Days Inn. He offered Janet crack and
money to come to the Days Inn to 'kick it'.

John takes Janet and Sheila to the Days Inn. He leaves Janet there with Nate,
and after getting a hit for bringing her, John and Sheila return to Sheila's house.
Sheila told Janet to call for a ride back when she was ready.

Janet said that Nate went to the Kings Motel on the 12th and he had another girl
there.

Nate calls Sheila to come and get Janet and John does so. He goes in and gets his
hit and then takes Sheila and Nate back to Sheila's house. There, at Sheila's they
smoke more crack and Janet said they were up all night. Nate was stil there in
the morning (of the 12th).

Nate told Janet he cut his hand. She said he was very nervous and jittery, pacing
back and forth continually looking out the window and peep hole of the door. She
said that Nate was smoking a lot of crack (and this really means something coming
from her). She approximated over a gram.


Janet said that Nate was staying at Sheila's house.




                                                                             EXHIBIT

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On the night he was arrested, (early morning hours of the 20th) Janet said that
Nate had been waiting all day for Donna to come pick him up. She never came.
Nate was talking to Donna when the police came. Nate was really upset with Donna
that she didn/t come get him. Donna said she couldn/t because she was at her moms
and that she couldn't leave her mom because Mom was so upset with everything.
Donna never bothered to call Nate and tell him she wasn/t coming.

Janet said that Nate and Donna talked to each other numerous times and Nate
would always go off to another room to talk to her.


Janet said that even she knew that something happened. She figured Nate just
robbed somebody or something.

Janet never saw any gloves, gun or ski mask.

END
    "
            Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 123 of 207. PageID #: 2747
                      HOvVLAND POLICE DEPARTMENT
                                  169 Niles Cortland Road l\e, Waren, Ohio 44484


                                     SUPPLENfENT AL REPORT

           Report #: 01-078868
           Date: 12-12-01
           Investigator: Det. Sgt. Monroe
           Page 1 of 5 .




           On Tuesday, December 12, 2001, shortly after 0005 hours RJO was contacted by Pd.
           Ray who advised he was at 254 Fonderlac SE where a shootig had occurred. Ptl.
          Ray advised he ,vas at the crime scene and had one dead male white subject lying on
          the kitchen floor with a handgun near the body. Ptl. Ray believed the subject had
          been shot in the head. Ptl. Ray requested assistance processing the crime scene and
          advised he would also contact Det. Sgt. Dilon and the Corners Offce. RIO told Ray
          to secure the scene and not disturb anything until detectives arrived.

         At 0035, RJO arrived at 254 Fonderlac SE and spoke with Ptl. Ray and Ptl. PolIcino. .
         Offcers advised there ,vas no sign of forced entry into the residence. Ptl. PoIlcino
         walked around the entire exterior of the residence and found nothing un usuaL. The
         victim's wife, Donna Roberts, called 911 and reported the incident. Ptl. Ray further
         advised Roberts was in the master bedroom.

         After quickly surveying the scene, RiO told Captain Philips of the Howland Fire
         Departments EMS squad there was no need for his personnel to stand by any long.
        RIO then contacted Trumbull County Sheriffs Detective Tony Leshnack and
        'Varren City Police Detective Daniel Mason and requested their assistance
        processing ""and photographing the crime scene. Det. Sgt. Dilon videotaped the
        scene.

        RIO and Ptl. Ray went into the master bedroom and spoke with the victim. She
        seemed very excited, anxious, curious and inquisitive as to what had happened. RJO
        told the victim it appears her husband had been shot. She said, "shot, oh my god,
        someone murdered my Robert". The victim then started screaming, crying and
        appeared very emotional for several minutes. RIO told the victim she had to be
        strong and answer a few questions to assist in the investigation. ...ter a couple of
        minutes Donna composed her self and began answering questions.

        Roberts told offcers we have a couple of guns in the house, a small silver gun and a
        second gun Robert keeps in his car, the silver Chrysler 300 which is missing. RiO




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                                                                     Page 2 of5
         asked Donna where her husband's car was and she said, "I already answered all
         these questions. \Yhere is Roberts car, someone stole bis car".

        Donna said ber husband does not drink or do any kind of drugs. She told offcer,
        Robert doesn't have any enemies, and everyone loves bim. Sbe said tbat the pot in
        the kitchen was hers and Robert never smokes it. Donna saÎd, when she .drove down
       the street around midnight, she tried to use the garage door ope~er from down the
       street. Sbe noticed when she pressed the opener the light came on in the garage and
       the overhead garage door began to close, so she pushed it again and the door went
      back up. Sbe parked on the right side of the garage as usual and got out of the car.
      Sbe walked around the back of bercar and began to enter the bouse. She noticed
      the man door from the garage to the house was standing open, her husband was
      lying on the floor with blood aU around him and coming out of his mouth. She went
      into the house grabbed the portable telephone and caUed 911. She then thought an
      intruder migbt stiH be in tbe house so she went out the front door and stood on the
     front lawn giving information to 911 unti the police arrived. RiO asked Donna if
     the front door was locked and she said it was. Donna said, she had to turn the
     deadbolt to open and unlock the front door. Further she indicated they rarely ever
     use the front door.


   RJO explained to Donna, the entire house needed to be bandIed as a crime scene,
   searched and offcers have no idea where or what the perpetrator may have done or
   ,vhere in the house the perpetrator may have gone and there may be evidence
   some,vhere else in the house. Donna told RJO,do what ever you have to do, just find
  1vho ever did this. RJO further explained to Donna, it would be necessary to search
  the entire house for evidence and it would probably take all night. Donna said, "I
  told you, do what ever you have to do, search the whole place, just find the guy."
  RJO asked Donna if anything appeared to be missing and she.said no. Donna told
  RJO, I saw blood coming from Robert's mouth, and did someone stab him.


 RJO asked Donna to tell offcers everything" she had done since she woke up
 Tuesday, morning December 11,2001. At approximately 8:00am, Donna awoke to
 Robert getting ready for work and said goodbye to him. Robert left and went to the
 \Varren Greyhound Terminal. She told officers she stayed in bed until around
 10:00am, but did not go back to sleep she just lye there relaxing. At 10:00 she got
 out of bed, washed her hair and got ready for work. She arrived at work around
 12:30pm at the Greyhound bus terminal in Warren and stayed there unti

Donna said she was driving the red 2000 Chrysler 300m, which was parked,       in the
                                                                             5:30pm.
garage. Donna said that is her car and Robert has a silver one just like it. .

Aitèr work Donna said she went to the Red Lobster Restaurant and had a nice diner
alone. Donna paid cash for diner but could not remember what she ate. RIO notice a
plastic cU-ntainer on the floor of the passenger side of her vehicle with a clear plastic
lid. There were crab legs in the container. When asked about the container with the
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                                                       Page 3 of5
             crab legs, Donna said, "Oh yes, I remember, I had the king crab legs and an
             absolute vodka martini". After diner Donna went straight home.

              At 9:00pm Robert Fingerhut called Donna from the Youngstown Greyhound
             Station and told Donna he was going to be late. Donna said/' Robert told me I
             should go shopping at the mall and get myself something nice, because I deserved
             it". Donna instead went to Giant Eagle to buy chicken for the ?ogs at 9:00pm.
           . Donna went from her house on Fonderlac to Firestone to Avalon to East Market
             Street and puIIed into the Giant Eagle parking lot from the traffc light. She s~id the
            first handicapped parking space \yas open and she parked there. Donna ran into the
            store looking for roasted chicken, which they did not have so she left. Donna said
            she was in the store approximately five minutes. Donna then went to \Val-l\Iart on
            Elm Rd. and took the by-pass to get there. She did not stop an,y-where else along the
            way. \Vhi1e at '\Val-Mart, Donna purchased make-up and a cigarette lighter. These
                                                  the residence \yith at receipt for such, dated
            items were found on the kitchen table of

            12-11-01 at 9:37pm. Donna thought she was at \Val-Mart approximately ten
            minutes. She then got back on the by-pass and exited on State Route 46/Niles
           Cortland Rd. and \yent to Super Kmart. Donna told offcers she arrived a Super
           Kmart shortly before 10:OOpm and walked around the store looking at thing, which
           she often does. Donna said she did not purchase anything she just looked around.
           Just before midnight Donnaleft the store and went straight home. That is when
           Donna found Robert lying on the floor in the kitchen and called the police. Donna
           then started screaming, "Oh my god my Roberts gone, Oh my god my Roberts
           gone:'. Donna also told RIO she \yas seeing Dr. Ariza for postmenopausal
           depression.

           Offcers noticed vrhile processing the scene, Donna would start screaming and
           murmuring loudly when offcers were not talking. \Vhen offcers would begin
           talking about findings at the scene: Donna would become very quiet, as if she was
    "" listening to offcers. At one point Sgt. Dilon \yalked toward",the bedroom from the
          dining room and found Donna standing in the bedroom doorway leaning against the
          doorframe listening to offcers. RiO spoke with Doana and suggested a family
          member be called.to come sit with her and possible take her to another location for
          the night. Donna provided her brother Ralph Roberts's telephone number to Ptl.
          Ray.

          Donna's brother, Ralph Roberts was contacted by the Austintown Police
          Department and asked to come to the scene at the request of HPD. Donna spoke
          \vith Ralph and decided to leave with her brother and sister in-law Rita Roberts.
          Donna asked RiO what are you going to do now. RiO told Donna, offcers are going
          to continue processing the crime scene and search for more evidence. Donna said,
          "Ok you do what ever you have to do". RIO again told Donna offcers would need to
          spend most of the night processing the house and it would be best if she left with her
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       brother for'support. RIO also told Donna offcers would need to speak with her later
       in the day to further discus the investigation. Donna told RIO to contact her anytime
       at Ralph's. Ralph Roberts provided RIO, his address, 931 Kirwan St., Austintown,
       Ohio, telephone number (330) 792-9554 and told RIO to call if anything was needed.
       Ralph told RIO, Donna could stay with him as long as needed. Ralph also gave RIO
       his and Donna's parent's address and telephone number, Mike and Pauline Roberts
       of 406 South Racoon Rd., Youngsto'rvn, Ohio 44515, (330) 792-4987. -


       'While conducting the crime scene inventory the telephone rang. At 3:38am RIO
       answered the portable telephone, which was upon the dining room table. RIO said
       hello several time and the caller hung up. RIO entered *57 and *69, causing a
      telephone trace of the call to be done by the telephone company. \Vhen RIO entered
      *69 an electronic transmission indicated the previous telephone call came fr~ (330)
      506-0373. At 3:48am. RIO called said telephone number and whoever answered the
      -lephone i~ediafeÍy hung the telephone up without saying an)ihing.
      RJO observed two life insurance polices on Robert Fingerhut, both together inside
      cabinet on the upper left side of the master bedroom headboard. These two por es
      were on top of all the other documents in the cabinet. One of the life insuranc£ '
      policies was 'r\ith State Farm Insurance valued at 5300,000.00; the effective date was
      from 08-12-99, policy number LF-1717-3705, agent Cathy Thomas, (330) 793-1136.
      The other was with New York Life and it ¡.vas also a life insurance policy valued at
      525,000.00, effective 02-12-01, policy number A0966059, telephone number 1 (800)
      695-5164.

     RJO conducted the inventory at the crime scene and cataloged the items removed.
     RJO also administered a gunshot residue test on Donna Robérts before she left the
     residence. Det. Sgt. Dilon noticed w'hat appeared to be a small amount of blood on
     Donna's shirt Donna told RIO she never touched anything at the house nor did she ,:). )
     touch Robert. RIO asked Donna if she could change her shirt and allow offcers to '.142-/1 (l',.i'if.:;¿;,
""   look at the yellow shirt she was wearing and Donna complied. \VhHe at the scene . _ (/
     RJO opened the trunk compartment of Donna Roberts's veh!ge. Red 2000 C~sler ~:;" 'L.:-
     300m, Ohio license number CPA 8226. I~side the trunk RlQJound a brown paper ~
     bag ¡.yith the name-Nate Jackson and the number 399-469 upon the bag. RJO looked~qx,'- '71-;;
     inside the bag and found men's clothing and a second bag containing the items listedi) vrl- --
     on HPD property form as item # 26. Part of item # 26 is 145 hand written letters to


     - - ~iJ DÛ
     Nathaniel Jackson bv Donna Roberts. .- /
                                            A .~"-
                                                 - .nv:


     Those items remained with the all other items secured at the scene. The vehicle was ,~ ~
     towed by May's Towing to the Trumbull County Sheriffs Departent for further
     processing. Det. Leshnack followed the vehicle in tow and secured it indoors at the
     Trumbull County Sheriffs evidence-processing garage. Det. Leshnack and Det. Sgt.
     Pizlo of the Trumbull County Sheriffs Department later processed the vehicle. At
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                   HO\VLAND POLICE DEPARTMENT
                                       169 Niles Cortland Road NE, Warren, Ohio 44484


                                             SUPPLEiVIENT AL REPORT

   Report #: 01-078868
   Date: 12-12-01
   Investigator: Sgt. Dilon
   Page 1 of 5


  0011 Hours - I received a telephone call at my residence from Howland PD Offcer
  Albert E. Ray asking me to respond to 254 Fonderlac Dr. SE in reference to a dead
  body being discovered in the residence. I told PtI. Ray that I would be enroute
  shortly.

  0026 Hours - I notified the Trumbull County 911 Dispatch Center that I was
  enroute to the scene.

 0029 Hours - I notified the TC911 that I was on the scene.

 Upon my arrival, I spoke with PtI. Ray who informed me that Donna Roberts had
 called 911 to inform them that she had returned home and found her husband
 Robert Fingerhut laying on the kitchen floor. Ptl. Ray told me that he and Ptl. Ron
 PoIIcino arrived on the scene and were met in the front yard by a hysterical Donna
 Roberts, who came running out the front door of the residence with the phone.

 Upon entering the residence, I was informed by Howland Fire Department
 paramedic George Beck that he had checked the victim's vital signs, he was unable
 to locate any and that the viç,tim appeared to be expired. I approached the area
where the victims body ,vas and Doted that the victim was laying face down on the
floor to the east of the man doorway that leads from the attached garage into the
kitchen. I noted that the victim was laying with his head to the south and his feet to
the north. I noted that the victims left arm was raised above his head. I noted that
the web ofthevictim's left hand appeared to have a bleeding wound between his
first finger and his thumb. The victim's right arm was resting below his shoulders
and was pointing towards his feet. I noted a pool of blood underneath and around
the injury to the victim's left hand. I noted a pool of blood underneath and around
the victims head and blood drops and smears of blood to the right, (west), of the
victims body between his body and the open door. I also noted blood spots north of
the victim's feet. A pair of boots rested on the floor above the victims left arm, a
green thermos type mug, blood, miscellaneous papers and a case of
                                                                       Pepsi Cola in
cans lay between the victims body and the kitchen cabinets and countertops to his
east. I noted that a rug at the feet of the victim appeared to have been moved by the
victim's feet as he fell to the floor and a case of bottled water was resting to the right

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                                                                                             EXHIBIT

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  of his feet. I noted the victim was \vearing a red satin Cincinnati Reds medium
 weight sports Jacket, a baseball uniform shirt of some type, (white with red
 pinstripes), blue Jeans, white athletic socks and dirty white high top tennis shoes.
 The floor to the right, (west), of the victim's torso had scattered blood pooling in
 many different spots. I noted just outside the door, (on a step in the garage), lay a
 stainless steel handgun with brown wooden grips. The weapon was lying near the
 southwest edge of the step, pointing north. There was blood on the step and what
 appeared to be a partial footprint in the blood near the gun. I noted blood on the
 kitchen cupboard to the left of the victims body, (on the eastside), below the kitchen
 counter. Blood was on the wall to the left of the victim's head and the kitchen
 cabinets below the countertop, (in the southeast corner). There was blood both in
 the southeast portion of the cupboard below the counter as well as from the
 southeast corner to the northeast corner. I noted blood just north of the victim's feet
 on the kitchen floor also.

 The victims wife, Donna Roberts told us that the victims vehicle was missing from
 the garage. I asked Donna if she had any idea who may have the vehicle and she.
 stated she didn't. TC911 was notified and a BOLO was put out on the
 LEADSINC1C computer system listing the vehicle as stolen. I asked Donna Roberts
 if the man door from the garage into the kitchen was routinely kept locked or if it
was kept unlocked. Donna Roberts told me that she and the victim kept the door
unlocked because they had the electric garage door opener on the overhead door of
the garage and that made it very secure. I asked Donna Roberts to calm down long
enough to tell me briefly what had happened this evening. Donna began to talk, then
suddenly stated, "I can't take this, everywhere I look, everything I see, is Robert
laying there on the floor, with all that blood!" I calmed Donna do\yn and again
asked what happened tonight. Donna eventually calmed down enough to tell me that
she had talked with Robert earlier this evening on the telephone several times, the
last time she said she thought it was on his cellular phone. Donna told me that
Robert told her that he was going to be a litte late and that she should go out            ""

shopping since he knew she 10ved to shop. Donna told me that as a result of her
conversation with Robert she left the house and went to Giant Eagle on E. Market
St., \-Val-Mart on Elm Rd. and Super Kmart on SR46. Donna told me that she didn't
buy anything at Giant Eagle or Super Kmart, but she did buy something at \Val-
lVIart and the bag was on the kitchen table. Donna told me that when she came
home, she turned down her street and as she approached her house, she hit the
button to open the overhead garage door. Donna told me she was startled because
she saw the light come on and the door began to go down. Donna told me that she
thought thaí.was unusual because Robert never left the door standing open when
they weren't at home. Donna told me that she pulled into the garage, got out of the
car, walked around the back of it and over to the door that leads from the garage
and it was standing open. Donna told me that was when she saw Robert laying
there. Donna then began to shout, Oh My God, Oh lVly God, I can't believe my
Roberts on the floor bleeding, I can't get that picture out of my head!" I gave Donna
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 some time to calm down again and asked her what she did when she saw Robert.
 Donna told me that she, "freaked out," ran into the kitchen and grabbed the
 portable phone, ran into the bedroom and called 9-1-1. Donna told me that then she
 realized that someone may stil be in the house, so she ran out the front door while
 on the phone and the police arrived about that time. I asked.Donna if she saw
 anybody near the house or on the property when she was coITng down 'the street
 and she said no.

 As \ye waited for the arrival of the coroner's offce, Pt!. PoIlcino and I began
 checking the interior of the residence for any evidence that someone else may stil be
 in the house as well as any evidence that items may have been taken from the house.
 Pt!. Pollcino and I checked the entire interior of the residence, no one was located
 and nothing appeared to be missing from our point of view, (no obvious things such
 as TV's, VCR's, Stereo Components, Computer Equipment, etc.). However, we did
find what appeared to be a droplet of blood on the ceramic tie floor in the hallway
that led from the front door to the master bedroom. The droplet was later swabbed
by Det. Leshnack and entered into evidence, since it was the only sign of blood .
evidence in the residence other than the area where the victims \yas found. Mter an
interior check, I exited the residence and made a complete check of the exterior of
the residence for any signs of forced entry, with negative results. Inside the
residence itself, I found damage to the main bathroom door near the doorknob. I
was unable to locate any signs of damage to any of the exterior man doors or
windows. Upon checking the interior of the garage, I noted a metal support bar that
ran along the entire inside of the bottom of the overhead door panel was damaged, it
appeared to have been partially detached from the door itself and the parts were
laying on the garage floor. \Vhile checking the exterior of the residence, I noted
'what appeared to be vehicle tire tracks in the front yard on the north side of the
driveway in the northeast corner of the la\vn. I also detected slight rubber tire
marks on the roadway that appeared to travel south on Fonderlac SE, from the
marks on the lawn. "" .
A short time later Trumbull County Forensic Pathologist Dr. Humphrey
Germaniuk arrived and began his investigation of the scene. Upon the arrival of Dr.
Germaniuk, Shelley IYlazanetz of the coroner's office also arrived to assist. At the
direction of Howland PD Det. Sgt. Paul Monroe,. I began to videotape the area
around the body. Upon the arrival of Det. Anthony Leshnack of the Trumbull
County Sheriff's Office, photos of the entire residence began.

\Vhile conducting our investigation inside the residence, Donna Roberts could be
repeatedly heard screaming hysterically, "Oh l\ly God, has Robert been stabbed in
the face, Oh IHy God, why isn't he moving, I can't believe I came home to find my
Robert like this," from the master bedroom. At the same time, I noted that Donna
 would stop shouting hysterically and then become quiet. On one occasion when
Donna Roberts stopped screaming, I walked back toward the bedroom from the




                                                                            §
       Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 130 of 207. PageID #: 2754

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      dining room and found Donn.a standing in the bedroom doorway leaning against the
      door frame listening attentively to any and all conversations the offcers on the scene
      were saying. I startled Donna Roberts and when she noticed me in the hallway, she
      began to break down again, screaming, ""Why isn't my Robert moving, I can't
      believe that I saw him that way!" I remained in the master hedroom with Donna
      Roberts while Det. Sgt. lVlonroe entered and conducted gun shot residue tests on
      Donna Roberts hands. 'While in the room, we notIced what appeared to be
      bloodstains on the front of the shirt Donna Roberts was wearing near the bottom.
      The shirt was also collected and entered into evidence. Upon my inital entrance into
      the residence, I noticed a tray on the dining room table with stems and seeds that
      appeared to be marijuana as well as matches, cigarette rollng machines, cigarette
      rollng papers, 2 empty plastic sandwich size baggies and several small pipes that
      are commonly used to smoke marijuana and crack cocaine. Det Sgt. Monroe and I
      asked Donna if the drug paraphernalia was the victims and she replied that it was
      not and insisted that it was hers.

     I began checking the entire residence for prescription medication that belonged to
     the victim as well as Donna Roberts and collected a very large inventory list of
     medication throughout the residence. Donna Roberts informed me that the victim
     was taking medication for allergies and high cholesterol.

     From that time on, I assisted Dr. Germaniuk, Det. Leshnack and Det. Sgt. l\Ionroe
     with the collection of evidence. Upon the inspection of the handgun on the step
     outside the man door by Det. Leshnack, it was learned that the weapon was loaded
     with five live rounds and no spent rounds.

     At approximately 0150 hours, Donna Roberts brother Ralph Roberts and his wife
     Rita Roberts arrived on the scene to assist Donna in her time of need. Det. Sgt.
     Monroe asked Mr. Roberts if it was possible for him to take Donna to his residence
""
     for the night to get her away from the graphic scene at the residence as well as to
     provide her 'i"ith the emotional support she would need at this time. Mr. Roberts
     told Det. Sgt. Monroe that he would take Donna home. I was standing in the dining
     room of  the residence at the time of Mr. Roberts and his wife's arrivaL. Prior to
     Donna Roberts leaving the residence and while in the hallway between the master
     bedroom and the front door, Det. Sgt. Monroe explained to Donna, Ralph and Rita
     Roberts that it was best that she leave the house because we, (the police), were going
     to be there for some time and the entire residence would have to be checked for any
     évidence of this crime. Det. Sgt. Monroe stated to Donna Roberts, ""\Ve are going to
     have to go through the entire house and check everything Donna." I noted Donna's
     response to Det. Sgt. Monroe to be, "You do whatever you have to do, I don't care."
     Donna Roberts then began to explain to her brother Ralph for the second time that
     her Robert was just laying there and wouldn't move and that it looked like someone
     stabbed him in the face. Dr. Germaniuk began his inspection of the victim's body by
     rollng him over. Upon my inital look at the front of the victim's body, I noted his
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 face was covered in blood and snot was evident from his nose. I noted the right side
 of the victim's face and back of his head were swollen and out of proportion. Dr.
 Germaniuk inspected the victim's head and found a wound on the back near the
top. As Dr. Germaniuk began removing the victims clothing, he discovered a bullet
inside the layers of three shirts the victim was wearing, as w.ell as bullet holes in his
clothing and jacket. I noted that when all the victims shirts were removed, he had a
wound on the back of his right upper arm along with what Dr. Germaniuk
described as a graze wound on his back near the top to the right of the center of his
back. Pt!. Pollcino then found a hole in the ceilng of the basement stairway, (which
was directly across the kitchen), (directly north), of the man door from the garage
into the house. Another bullet was later recovered from inside that ceilng above the
basement stairs.

Eventually during the investigation of the interior portion of the crime scene, Donna
Roberts car was removed from the garage. Once it was moved, we discovered a pair
of glasses \yith brown plastic frames as well as a lens from the glasses lying on the
floor. I videotaped the glasses where they lay as well as the lens, the damaged rail on
the interior of the overhead garage door and the parts from it that were on the
garage floor.

0627 Hours - I cleared the scene of the crime. Report on fie, investigation to
continue.




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Signature: ~~                                                    Date: /J-IJ -¡) J




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                                                         -li i.
  Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 132 of 207. PageID #: 2756

         HO\VLAND POLICE DEPARTMENT
                     169 Niles Cortland Road l''E, Warren, Ohio 44484

                           SUPPLELYfENTAL REPORT


Report #: 01-0ì8868
Date: 12-12-01
Investigator: Sgt. Dilon
Page 1 of 2



The following is a list of prescription medications found in the residence that were
written in the name of the victim Robert S. Fingerhut:

In a Kitchen Cabinet
        1) Naproxen - 500mgFull 3-28-00
        2) Naproxen - 500mgFull 2-16-00
I\lain Bathroom Cabinet
        1) Naproxen - 500mgFull Dr, Benjamin KuIper
       2) Sonata - 10mg 8-25-01
       3) AlprazoIam - 1mg 12-01-01
       4) Diazepam - 5mg 5-04-01
       5) SodSulfacet - 10% OPSOL 12-05-9ì
       6) Allegra D - 60 120ER Tab
lYlaster Bedroom Cabinet on the Headboardof the Bed
       1) .A.llegra - 60mg 10-22-01
      2) Lipitor -10mg 12-01-01
      3) i\etroprolol- 50mg 11-1 ì-01
      4) Metroprolol - 50mg 10-28-01
      5) Lorazepam - 2mg 6-14-01
      6) Lipitor - 10mg ~ 11-03-01
      1) Allegra - 60mg 11-05-01
      8) Metroprolo1 - '50mg 12-13-98
      9) Allegra .:0mg 12-14-98
Per Donna M. Roberts, Mr. Fingerhut was a non-smoker.




                                                                                   --- EXHIBIT

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   Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 133 of 207. PageID #: 2757
                                       Page 2 of 2

  The following is a list of prescription medications found in the residence that were
  written in the name of the victims wife, Donna ìYI. Roberts:

  In a Kitchen Cabinet
        1) Hydroxyn Pam - 50mg 5-26-00 Fun
        2) Ibuprofen - 600mg 11-15-99
        3) Hydroxyn Pam - 50mg 5-12-00
        4) Skelaxin - 400mg 7-26-99
        5) RisperdaI - 2mg 3-01-01
        6) Premarin - 0.9mg 4-28-01
        7) Hydroxyz - 25mg 2-25-00
        8) Hydroxyz - 50mg 6-08-01
        9) Paxil- 20mg 12-09-00
       10) Medroxyp AC -10mg 1-04-01
      11) Depakote - 250mg 11-09-00
      12) Hydroxyn Pam - 50mg 6-03-00
      13) \Vellbutrin SR - 100mg 6-08-01
      14) MecIizine - 12.5mg 9-12-99
      15) Despramine - 25mg 6-25-99
      16) PaxIl- 10mg 2-03-01
      17) Xenical- 120mg 8-31-00
      18) CorrectollaxatIve Tablets

Front LivIng room Table
       1) Depakote - 250mg         10-21-01
      2) \Vellbetrin SR - 150rng   11-13-01
      3) \Vellbetrin SR - 150mg    12-03-01
      4) Hydroxyn Pam - 50rng      12-03-01
      5) Hydroxyn Pam - 50mg       11-13-01

Donna M. Roberts told me that she was a smoker and smoked Newport brand
cigarettes.




        .fl/~
Signature: ,~/. . _                                              Date: IJ - / ;)-tJ/
               Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 134 of 207. PageID #: 2758


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     Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 137 of 207. PageID #: 2761




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        Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 138 of 207. PageID #: 2762



                                          Trubull County Sheriffs Office
    )
                                     Supplemental Report
                                    Investigative Division
              Case # 2001-08795 12/12/01
              Victim: Robert Fingerhut (Homicide Scene/Ivestigation)
                      254 Fonderlac, Howland T\vp.

                         At approximately 0012 Hr. on 12/12/01, tls offcer was contacted at home by
             Det. Sgt. Paul Monroe of
                                         the Howland Townhip Police Departent to assist with
             photographig a crie scene. Ths offcer responded and took photographs of the entire
             scene (inside and out). I assisted Dr. Gerraruk with photographing and removal of the
             body. This offcer volunteered to sketch the crime scene. One possible bloodsta was
             swabbed from the ceramc floor in the front door hallwav and taen as evidence. Ths
             offcer requested that Howland P.D. hold the scene so that
                                                                    .; myself and Det Sgt. Pizzulo
             could retu for fuer cre scene processing.
                        Det. Sgt. Pizzuo was unavailable for work ths day. This offcer retued at
            approxiately 1400 Hrs. on 12/12/01 to collect additional bloodstan evidence and
            possible fingerprit evidence. Selected points in the kitchen and gaage were processed
            for prints, including: the counter area near the body, some cups and glasses from the
            counter, and the screen door and man door between the kitchen/gaage. Four bloodstains
            \-vere taken from different locatIons as evidence. A placemat with a parial fingerprit in
            blood was taken as evidence and was located hanflQ: on the inside of the kitchen/garage
           door.
                       On 12/13/01, De!. Sgt. Pizzuo accompaned this offcer back to the scene.
           Additional photographs were taken of
                                                    the scene. Four additIonal bloodstains were taken
           from the gaage floor. Nothg fuer to report at tls tie.




)                                                                                                   "   _.

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                                                                                                 EXHIBIT
         Detectve Anthony Leshnack
       Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 139 of 207. PageID #: 2763




                                                                                           Investigative Division
                                                                                      Det Sgt Pater J. Pizzuto
                                                                            Administation (330) 675~2540

                                                                            Pager . (330) (330) 875-2506
                                                                            Desk / voice           mail

                                                                                          675-0988
                                                                            Fax (330) 675-7012




Lab Report
    ~# Commen Pleas 01-CR~7S4
    Fr: Det Sgt Pster J. Pizz:Jlo

   cc: fie, Hewl2nd PO, TCSO

   Dae: Wecr.esday, May 01, 2C

   R2: Nê.t!êr.iel 1: J2ê..çscn , Jc¿ge1ier,t E:-./ Creer


  On 24 ?cr.l C2 JU¿;;2 StLèaíc ;ssi.sc an crcsr rer Hêr.d\vrtir.g Ex2mpl.srs to te taken from Nõthaníef
  Jêd,scn. i'v1r. Jêc!~scn's Cci.nci f\theny Cor.soldane agreed that this 'Nuld be done on 29 April in
  Jucg'2 Si'..afd'3 Jt.rj reem. .
 . fnves¡içs¡crs met with ;l.rcmey Ccnsoldaie st 1.2-- en 29 April and afer some disaJssion with Judge
  StL:ard, it was 2c::epæbie tha the Exemplar be done in an interview rom of the TCSO JaiL. Originally
  tvlr. Jac;,son was to rê-Mie a 4 pa;e letter three times for submission to 8CI&1. After some
  c:nverssiÍcn i:etween Attomey Ccnscldar.e and Prosector Watkins it was accptable for him to re-
 write the ¡¡fS! æd last pages only aiong with aêdressing an envelope thee times.

 P.t Bpprcx. 1250 on 29 P..prilwrt Attomey Ccnsotdê1e present Mr. Jackson

 paçes 2nd esk2d to fe-wrte them.                                                            was      given the 'sampte


 At 1320, Hrs Mr. Jec"scn sidcd that he cid not want to ccntinue due to the disCGmrrt he was
 ex¡:erienc:ng in his hend. (NOTE) Due to an injury that Mr. Jackon had incurr at the time or the
 ell ::;-td -æ..cer-:é c: ne Ll$éÎS tldêx Bnç-ê wrTé l"-ilC.f -a pe.c pécH.

 It was agræa oy Atomey Cor.sldae tht we would ccue on 30 April 02 at 11 GO hI'. The
 E.'(emplar th2t was CGmpleted so far VIS sealed in an envelope wi Atorney Consoldane Witnessing.

~ ft.¡ri2C, 11CO r.rs Det. S~ Mcnrcear:d ContaC:ed Mr. Jac¡(son abutcontrning the Exempiar,
he stated :'at he wil no longer c:mply with the request and tr.at he has ccntaced the Public Defender
WTC with hs dsdsfcn. Attcíire¡ Corsc-iar.e was msde awer of Mr. Jac's ~S5 to
c:ntir:L.8. C::r:ry Prcsec:'!crs cffce was made aware of the s'.atus.


.. P3çe 1
     Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 140 of 207. PageID #: 2764

                ~.-/"""
    U¡ 1\-15/   ¿,l.1.;L. J   f ~pc:\e 'vyir;i AtCrTêY Ccnscicane via teiepr-or:E.

                      Mciey Coscrie jr,dict.d -t he sp with Nê1o,aiel JGscn Bbcut -his
    unwillingr.ess to continue with the Exemplars and conñrms that Mr. Jack.cn wil not te prov¡C¡r.g 7irJ-sr
    hancwriung samples at this time.



   The Exemplar that was obtained on 29 Apri was tumed over to Det SGT Mcnroe for trns¡:crt to BCi&i.



   OET SGT Peter J. Pizzo i TCSO




"Page 2
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                                                     PROPOSITION OF LA \V NO.2

."         THE DEFENDANT'S RIGHT TO THE EFFECTIVE ASSISTANCE OF COUNSEL is
......
  4-
          VIOLA TED WHEN COUNSEL'S PERFORMANCE IS DEFICIENT TO THE
          DEFENDANT'S PREJUDICE. U.S. CONSTITUTION, AMENDMENT VI; OHIO
          CONSTITUTION, ARTICLE I, SECTION 10.

                      The Sixth Amendment right to counsel applies to the states through the Fourteenth

          Amendment. Gideon v. Wainright (1963),372 U.S. 335. The test for
                                                                                  whether   that right has
~
;t"       been violated is found in Strickland v. Washington (1984), 466 U.S. 668, which obliges
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          reviewing courts to determine ifcounsel's performance is deficient. Id. at 687. Ifcounsel's

          performance is deficient, the reviewing court must determine if the accused was thereby

          prejudiced. Id. In order to establish prejudice, the accused need not establish outcome



~
          determinative error. Id. at 693-694. State v. Clifton (1999), 85 Ohio St. 3d 433, 450.

         Instead, the accused is prejudiced when the reviewing court loses confidence in the fairness

         of the triaL. ld.

                    Strategic choices by appointed counsel are virtually unassailable. Id. at 690.

         Strickland makes clear, however, that a reasonable investigation of both the facts and the

         applicable law is required before counsel's choice may be deemed strategic. Id. At 691.

         Furthermore, Strickland requires that appointed counsel in a criminal case meet a "duty to

         advo~ate the defendant's cause. . . (and) . . . bring to bear such skil and knowledge as will

         render the trial a reliable testing process." Id. At 688. Federal courts have consistently

         recognized that Strickland's duties to advocate and to employ "skil and knowledge" include

         the necessity for trial counsel to object or otherwise preserve federal issues for review.




                                                                                                    EXHIBIT
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    !~~              Gravely v. Mills (6th Cir. 1996), 87 F.3d 779; St8te v. Lockhart (8th Cir. 1994), 23 F.3d

                     1280;

                                Argument: Nathaniel Jackson's Sixth Amendment right to counsel was
                    violated by defense counsel's prejudicially deficient performance at both phases ofthis
                    capital case.


                          Defense counsel failed to object to Jhe prosecution's extraction of guilty verdict
                    and death verdict promises from all twelve impaneled jury members during the voir
I                  dire phase of the triaL.
~
                               It is improper in voir dire to extract promises from a
                                                                                                      jury. State v. Powers (lOth App.
                   Dist.), 1992 Ohio App. LEXIS 1009; State v. Treesh (11 th App. Dist.), 1998 Ohio App.

                   LEXIS 4886; State v. Treesh (2001), 90 Ohio St. 3d 460.

                              In the instant cause, the prOSfC¡ :ting attorney extracted promises from all twelve
,1
                  impaneled jurors that each would render a finding of guilty in the trial phase of
                                                                                                                           the case if

                  the State proved all elements of its Câse by proof beyond a reasonable doubt, and that each

                  would render a verdict of death if
                                                                      the state in the penalty phase proved beyond a reasonable

                  doubt that the aggravating circumstances in the case outweighed any mitigating factors

              which the defendant might offer. (TR- 686-87, 936, 952, 955, 1044, 1163, 1165, 1260, 1289,

              1316, 1346, 1389, 1400, 1494, 1502).


                            In general, the purpose of voir dire of a prospective juror is to determine whether he

             has both the statutory qualification of a juror and is free from bias or prejudice for or against

             either litigant. PavIlonis v. Valentine (1929), 120 Ohio St. 154, 165 N.E. 730, paragraph one

             of     the syllabus. The primary purpose of
                                                                               voir dire examination in a capital murder case is to
             detennine whether a juror wil truly consider aggravating circumstances and mitigating


             factors in determining appropriate penalty and not ultimately vote to impose the death

                                                                                    12
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 ~           penalty merely because a murder has been committed. See Morgan v. Ilinois (1992), 504

             U.S. 719, 119 L. Ed. 2d 492, 112 S. Ct. 2222. The purpose of voir dire is not to prejudice a
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             jury and predispose its verdict or viewpoint prior to the offer and consideration of evidence.
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                         In State v. Treesh, supra, at 465, this court held that notwithstanding the timely

             objection by defense counsel to the prosecutor's extraction of
                                                                                                  promises for a guilty verdict,
            and counsel's argument that said conduct constituted constitutional misconduct which
""..
it
            created a biased and partial
                                                       jury, that Treesh "hard) failed to demonstrate how the question

            affected a substantial right." Id. at 465. In the case sub judice, defense counsel failed to

            object to any of the extracted promises from the twelve jurors impaneled who ultimately

           found defendant guilty and recomm~!'dçd a sentence of death. Although this court has

;~
           previously held that "'the failure to object to error, alone, is not enough to sustain a claim of

           ineffective assistance of counsel,'" where "appellant does not show that any particular failure

           to object substantially violated any essential duty or was otherwise prejudiciaL" State v.

          Hanna (2002), 95 Ohio St. 3d 285, citing State v. Holloway (1988), 38 Ohio St. 3d 239 at

          244, appellant notes that failure of counsel to object to the prosecutors extracted promises

          thereby waived review of that conduct except under the doctrine of plain error, State v.

          Hanna, supra at 308, all of which limits review of ineffective assistance for failure to object

         under an outcome determinative test. State v. Gross (2002), 97 Ohio St. 3d 121.

                     Appellant submits that his counsel had a duty to seat a fair and impartial
                                                                                                                 jury and one
         that was not predisposed to convict and recommend a sentence of death; that counsel failed

         repeatedly in this duty by allowing the prosecutor to condition and predispose the jury to a

         guilty and death sentence mindset; and that the so-called "death qualification" of

                                                                                                                   the jury as

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 ~i        recognized in Witherspoon took on an expanded and new meaning in the instant cause and

           thereby prejudiced the right of defendant to a fair and impartial trial and the effective

          assistance of counsel therein, all in violation of
                                                                          his constitutional rights.

                      Counsel repeatedly failed to object during voir dire to the prosecutor's
          comments and questions which sought to limit the type of mitigating factors which
t
\J        might justify a sentence other than death.

                      During voir dire, the prosecutor questioned ten of the twelve impaneled jurors on
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          matters relating to mitigation, limiting his examples of
                                                                                 mitigators that might compel ajury

          to vote for life instead of death to "mental di~ease or defect" (TR- 826, 923, 959, 1164, 1258)

          and to youthful "age" (1288, 1314, 1344, 1396, 1500). Notwithstanding that the purported

          use of these mitigators was to insure that the jury would nonetheless weigh aggravating
;;¥
          circumstances against mitigating factors, regardless of their type or variety, the use of just

         two mitigators by the prosecutor, which he acknowledged as perhaps justifying life, and

         which he knew were inapplicable to the appellant, nonetheless conditioned and predisposed

         the jury to await for those mitigators and those mitigators only during the penalty phase.

         Defense counsel failed routinely and repeatedly to object to this inappropriate trial tactic,

         which effectively denigrated appellant's mitigation evidence.

                    In State v. Jones (2001), 91 Ohio St. 3d 335, this court considered the cláimed error

         of appellant who ~rgued that he should have been permitted to ask prospective jurors about

         their views on specific mitigating factors; that the trial court's refusal to permit that line of

         questioning left several jurors confused as to the meaning of mitigation; and that his inabilty

         to ask about specific mitigating factors, coupled with juror confusion about the meaning of




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f=ž'      mitigation, limited his ability to uncover potential biases in prospective jurors and may have

          resulted in the empanelling of jurors who were unwilling to consider mitigating evidence.

                      In rejecting appellant's claim, this court held that "(d)uring voir dire, a trial court is

          under no obligation to discuss, or to permit the attorneys to discuss, specific mitigating

          factors, State v. Wilson (1 996), 74 Ohio St. 3d 381,385-386,659 N.E.2d292, 300-301; State
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         v. Lundgren (1995), 73 Ohio St. 3d 474,481,653 N.E.2d 304, 315, (and that) (r)ealistically,
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         jurors cannot be asked to weigh specific factors until they have heard all the evidence and

         been fully instructed on the applicable law." State v. Jones, supra, at 338.

                     In light of Jones, supra, it is clear that the prosecutor in the instant cause was

         improperly asking            jurors to weigh and consider specific mitigating factors during voir dire,

        all of \vhich he limited for his own purpose, and all without routine objection from


        appellant's counseL. Again, by failing to object to the prosecutors misconduct, counsel for

        appellant thereby waived review of tliat conduct except under the doctrine of plain error,

        State v. Hanna, supra at 308, all of which limits review of ineffective assistance for failure

        to object under an outcome determinative test. State v. Gross (2002), 97 Ohio St. 3d 121.

                   Appellant submits that his counsel had a duty to seat a fair and impartial
                                                                                                              jury that was
       open to considering mitigation evidcih;e of any variety and that was not predisposed to

       convict and recommend a sentence of death; that counsel fa.iled repeatedly in his duty by

       allowing the prosecutor to condition and predispose the jury to consider only two mitigating

       factors which were given the imprimatur by the prosecutor of possibly being worthy of a life

       sentence verdict; and that the failure, inaction and unawareness of
                                                                                                his trial counsel to the law



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~~      thereby prejudiced the right of appellant to a fair and impartial trial and the effective

        assistance of counsel therein, all in violation of
                                                                                  his constitutional rights.

                    Defense counsel failed repeatedly to object to inappropriate statements and
        misconduct of the prosecutor during voir dire that materially prejudiced and
        predisposed the jury to guilty and death sentence verdicts. '

                   During voir dire, the prosecutor made inappropriate statements to five impaneled

       jurors, either by mis-stating the law or discussing facts and evidence not alleged in the

       indictments or proven at trial, all of which prejudiced and predisposed the jurors to guilty and

       death sentence mindsets, namely, (I) that "(t)he first trial deals with the state proving beyond

      a reasonable doubt, the defendant committed aggravated murder" (TR- 820); (2) "if you

      found beyond a reasonable doubt even though there were mitigating factors, you would still,

      under the law, return a verdict recommending the death penalty, do you understand that?"

      (TR- 826); (3) "So we're dealing with charges where the person committed the crime, the

      defendant is alleged of             killing a homeowner" (TR- 930); (4) "in this case the aggravating

      circumstances accuse the defendant of ¡mrposely kiling a homeowner in the commission of

     an aggravated burglary" (TR- 1046); (5) "So that means that you would be able, if
                                                                                                               you were
     one of the 12 jurors, to listen to the evidence and decide the defendant's guilt based only on

     the evidence, right?'(TR- 1157); and (6) "In this case, the defendant is charged with kiling

     a homeowner in an aggravated murder" (TR- 1392-1393).

                During voir dire, it is improper for counsel to discuss evidence. State v. Johnson (8th

     App. Dist.), 1997 Ohio App. LEXIS 100. In the instant caùse, the prosecutor not only mis-

     stated the law during voir dire, but also scught on three occasions to repeatedly discuss

     evidence with jurors ultimately empaneIled, that would not be proven, namely, that the

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 ~           defendant killed a homeowner, a fact that the prosecutor would ultimately acknowledge

             during trial as wrong (TR- 3383, 3397), only to re-assert the mis-statement of fact and
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             evidence three times during final argument in the penalty phase, namely: that "it was his

             specific intent to kil the victim, to commit an aggravated murder against a homeowner"

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."           (Penalty Phase TR- 142/2-4); that "it can't get any worse than being in prison and planning

            the execution of a homeowner who just comes home" (Penalty Phase TR- 142/19-21); and
l,
            that "(i) t is the \\'orst fOil1. The other is that after he kills a homeowner" (Penalty Phase TR-

            143/15-16).

                                   Appellant's counsel sat silently during voir dire without objection as the

           prosecutor mis-stated the law and commented on evidence that would not be proven at trial,

c;
           and only finally objected to the prosecutor's mis-statement of fact after the prosecutor's third

           re-statement of         the error during final argument in the penalty phase (TR- 143/17-18). By

           reason of         this negligence and inaction, counsel failed repeatedly in their duty to appellant by

          allowing the prosecutor to appeal to the passion of the jury and thereby predispose it to a

          guilty and death sentence mindset, thereby prejudicing the right of appellant to a fair and

          impartial trial and the effective aSf.istance of counsel therein, all in violation of his


          constitutional rights.

                       Defense counsel fashioned a d(~fense to dcath pcnalty spccifications of
          Aggravated Burglary and Aggravated Robbery under R.c. 2929.04(A)(7) which
          demonstratcd counsel's unawarcness of the law relative to the proof and elemcnts of
          those specifications.

                       Appellant was convicted on counts one and two ofthe indictment charging appellant

          with the aggravated murder of Robert Fingerhut while committing the acts of aggravated



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~lf,      to bear such skil and knowledge as will render the trial a reliable testing process." rd. At

         688. It cannot reasonably be argued that counsel met that standard in this cause, given
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         counsel's patent unawareness of                    the law which only became evident to them after close of

         the evidence in the trial stage and discussion ofjury instructions thereafter with the court and

         opposing counsel (TR- 3344-3371).


                    Appellant submits that counsel had a responsibility to provide him a reasonable and

        legally sound defense to the capital charges brought against him; that they failed in that duty

        and obligation, and effectively rendered no defense to the capital specifications at the trial

        phase; and that the failure of counsel in this regard calls into question whether the trial in this

        matter constituted a reliable testing process causing a reviewing court to lose confidence in

        the fairness of        the triaL. Strickland v. Washington, supra.

       Defense counsel failed to object to the admission into evidence of State's Exhibits
       271D-1 to 271D-139, letters from Donna Roberts to Nathaniel Jackson from January
       2001 to December 2001, ,,,ithout requiring authentication of
                                                                                         writing as a predicate to
       admission.
                   During the offer of          State' s exhibits into evidence, defense counsel allowed admission

       without objection of 139 letters purportedly written by Donna Roberts to Nathaniel Jackson

       between January 2001 to December 2001, which were argued by the State to contain

       information and evidence regarding Donna Roberts and appellant's plan to murder Robert.

       Fin.gerhut (TR- 2076, 2231, 2294-2302, 3151,3431-3437).

                  Unlike the letters from Nathaniel Jackson to Donna Roberts which were admitted into

       evidence after authentication of the author was established by testimony of a handwriting




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    I'~..!       analysis expert (TR- 2852-2875), no such authentication was offered for the letters

    !:,          purportedly written by Donna Roberts (TR- 2879). Accordingly, there was no reliable and
    ~:~~
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                 appropriate predicate for the admission of
                                                                                 State's Exhibits 271 D-l to 271 D-139. Indeed, the

                 only basis offered for the admission of                      the letters was through the testimony of
                                                                                                                                   Detective
                 Paul Monroe, Howland Police Department, who testified that the letters were recovered IÌom
                                                                                 ". ._-

,               a search of Donna Robert's vehicle and were located in the trunk of

if
                                                                                                                         her automobile (TR-
~!t
                2294-2295). Given that there was no evidence offered at trial that Donna Roberts admitted

                authoring the letters that were marked and received :is evidence; and given that there was no

                evidence offered at trial establishing that appellant acknowledged and identified State's

                Exhibits 271D-l to 271D-139 as letkrs he had received from Donna Roberts, the letters

                purportedly \vritten by Donna Roberts should not have been admitted into evidence.

                           Because the letters identified by the State as being sent by Donna Roberts to appellant

               were critical to the State's proof
                                                                   that Donna Roberts and appellant had committed Robert

               Fingerhut's murder by prior calculation and design, all as set forth in count one of the

               indictment, for which appellant was convicted and sentenced to death, the admission of said

               letters through the negligence of defense counsel cannot be considered as a harmless error

                          Based upon the foregoing, appellant submits that the cumulative effect of the

               foregoing errors and omissions by trial co~nsel infringed upon his right to effective

               assistance of counsel, Harris v. Wood (9th Cir. 1995), 64 F. 3d 1432, 1438; that his

               convictions must be therefore reversed and his case remanded for a new trial; or

               alternatively, that his death sentence be vacated and his case remanded for re-sentencing.




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           Bob Taf Goveror
                                                        'N.drc$f3Ie.Oh.us
                     April 19, 2002                                                  Reglnd A. Wilkinson. D;(~or




                     Dear
                 I am in receipt of your reçuest for information regarding the Scot:t and
                 Byrd executions. 1 ~ould like to apologize for the delay in responding to
                 your inquiry. While reviei:ing file$, ! diScovered your requa.n, vliich_ I
                 thought I had previously delegated to be completed. This vas my error.
                I have enclosed a copy of DRC Policy 001-09, Executions, and" I i.ili
                provide you "lth informiit:ion the Department bas deemed to be public
               inforia::ion. Ihe Department considers the record and names/roles of
               per.'on~ participating in the execution confidenti.al based on sec.urity
               considerations. ~s Yell as the need to pro tect the safe ty of the persons
               inVolved in the process.

              The gurney/bed and the restr~ints are manufactured by O.P.!.. Ohio Penal
              Indus tries.

             Tl1e intravenous equipment iTas purchased frotl a coiiercial source and
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             co:isis ted of:

                                 01) .   Angiocath Abbocath-T
J                                02) .   Primary iv Set No. 1820 00 i.nch)
                                 03) .   0.9t Sodium Chloride, 1000 ml
            The gene=ic names - of the pharmaceuticals used are:
    i

                                01) . Pancuronium !romide
                                02). Potassiuc Chloride
 I
                                03). Thiopental Soniutl
          There is no cardiac: monitoring equipment Used other than _ a stethoscope.

J         Once agaiii, -1 apologize- for the delay in responding. If YOU have further
          questioDS1 please contact me.

         Sincere ly.
J
         SOrrN OHIO CORRECTIONAL FACILITY


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              ';ø..ç'O~AN~COt Ohio Department of Rehabiltation and Correction
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               LL omo J: 1050 Freeway Orive North
              Bob Talt Govern" WW.d~."'le.oh.", Reg""dA. WoUOnson.       01..
                                                            'Columbus, Ohio 43229




                                                                                                                     May 30, 2002

     I
                        Re: Your Lener to Warden Ha\ila!1d dated April 28, 2002

     I                  Dear

                                   1 am responding on behalf of

                       There you request certn inormationWaren Haviland
                                                          regarding     to the above
                                                                    the State's      referenced
                                                                                execution       leter.
                                                                                          procedur  PUIt
     I                 to Secton 149.43 of
                                                     the Ohio Revised Code. Pleae be aw-e that Ohio Public Record
                       Law requires public offices to mae records avaiable as t1ey are kept in the norma¡
                      course of      business. It does not obligate them to perform research or create new fies.
 I                    Your letter does not reques records. Rather it requests infonnation about trng.
                      procedures, and procuement. As such, We believe it fals outside the scope of

                      Nonetheless, the Deparent recogns the public ha legitimate inter~ in th the
                                                                                               SUbject,
                                                                                                  statute.
 I                    and we are providing the foIIowi'1g inormation. ;

                                  The execution team begi:i rehearing the procedur thir days from the
 I                   executon date. On the day of
                                                                  the execution, saline locks are placed.i each of
                     prisoner's am priono enterig the death chaber. After the prisoner n8S beenthe
                                                                                                 placed
                     on the executon bed, tubing for the delivery: of the chemicas is attached to each lock.
 I                   The chemicals are admstered via hand infuion. Perons performg these fuctions
                     have been certed as either a licensed practica nure, paramedic or phlebotomy
                 techncian The chem.cals are infued int0 O~~ :l. .1: tIie ar becomes unvailable, the.
 I               other ar would be used. A Medical Doctor has pronounced death.


                              The drgs are administerd in the followi dosages: two gr of thopenta
                sodium in nomial sa1e concentration; one himdred millgram of pancUronium bromide
 I              in    normal saline concentration; and 100 miliequivalents of

                                                                       potasium
                saline concentration. The thopental sodium and pancuronium      chloride
                                                                           bromiåe       in norm
                                                                                   are purched
                from a loca phanecy. The inInicion pharacy purchases the drugs. It tu the drgs
 I              over to the Warden and keeps a record of
                                                        receipt
                procedures have been coordinated with the       and usge. Purchae
                                                          Drg Enforcement  Agencyand
                                                                                  and record ke~ing
                                                                                      the Ohio
                State Board ofPhanacy.
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                                                           Ver Truly Y Oll,


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                                                          Vincent Lagana
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         Copies: Assistt Director
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  Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 153 of 207. PageID #: 2777

                                                  IN THE COURT OF COMMON PLEAS
                                                      TRUMBULL COUNTY, OHIO


     STATE OF OHIO,
          Plaintiff-Respondent
                                                                       CASE NO. 01-CR-794
     -vs-                                                              JUGE JOHN M. STUARD

     NA THANffL JACKSON,
          Defendant-Petitioner.                                        MOTION TO EXTEND TIME
                                                                       TO RESPO:NTI




              Now comes the State of Ohio, by and through the undersigned counsel, and moves this

  Court pursuant to RC. 2953.21(D) to fix the due date for the Plaintiff-Respondent, the State of

  Ohio's, answer or motion at March 1,2004.

             For cause, Defendant-Petitioner Nathaniel Jackson filed his Post-Conviction Petition with

 this Comi January 5,2004. The State \vas not served with a copy of

                                                                            this document until January
 12,2004. The State's current deadline to respond by answer or by motion is January 15, 2004.

The State submits that thi-ee days is insufficient time to respond to said petition.

             As the Court is aware, this is a death penalty case. The petition itself runs forty-three

pages in length and is comprised of fourteen causes of action, plus exhibits. Additionally, the

record in this matter is most voluminous, spaning sixteen volumes of

                                                                              transcript and over tlu'ee-
hundred exhibits. Undersigned counsel is the sole assistant prosecutor assigned to answer post-

conviction petitions. Among her other duties, she is also the only assistant prosecutor assigned




            cgcg f¡'Y
Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 154 of 207. PageID #: 2778

to prepare briefs for both the Eleventh District Court of Appeals and the Ohio Supreme Court.

Additionally, counsel also is occasionally assigned to cover matters in the Common Pleas Court.

        Furthermore, the State submits Defendant-Petitioner will suffer no prejudice ifthis Court

extends the State's due date. Defendant-Petitioner's direct appeal is pending with the Ohio

Supreme Court unde~ case number 03-137. The State has just today filed its merit brief in this

matter, and oral arguments are not anticipated before 2005. Therefore, a forty-five day extension

granted to the State will not cause an undue delay in the overall post-sentence/pre-execution

timetable.

       For these reasons, the State respectfully moves this Court to fix the due date for the

State's answer or motion to Defendant-Petitioner's Post-Conviction Petition at March 1,2004.


                                             Respectfully submitted by:



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                                                      . El~bs (#OÓ55:651)
                                             Assistant PrMecuting Attomey
                                             TTImbull County Prosecutor's Office
                                             160 High St. 4th Floor
                                             Wan'en, Ohio 44481
                                             Telephone: (330) 675-2426
                                             Facsimile: (330) 675-2431

                                             COUNSEL FOR PLAINTJFF-RESP01\TDENT,
                                             THE STATE OF OHIO
 Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 155 of 207. PageID #: 2779

                                         PROOF OF SERVICE

            I do hereby certify that a copy ofthe foregoing motion was sent by ordinary U.S. Mail to

Atty. David Bodiker and Atty. Randall Porter (#0005835), Counsel for Defendant-Petitioner

Nathaniel Jackson, Office of
                                 the Ohio Public Defender, 8 E. Long Street, 11th Floor, Columbus,

Ohio, 43215 on this 14th Day of January, 2004.




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                                          (.j//~&AYNEANNOS \#0655651)
                                                Assistant Pr(/ecuting Attomey
       Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 156 of 207. PageID #: 2780



                             IN THE COURT OF COMMON PLEAS
                                 TRUMBULL COil~TY, OHIO


STATE OF OHIO,
     Plaintiff-Respondent                                      CASE NO. 01-CR-794
                                                                JUGE JOHN M. STUAR
-vs-

NATHi\NIL JACKSON,
     Defendant-Petitioner.                                     JUGMENT ENTRY


         Pursuant to a motion by the Plaintiff-Respondent, the State of Orno, and R. C.

2953.21(D), this Cour fixes the due date for the State's response by answer or motion at March

1,2004. The State, per motion, has shown good cause to extend the due date from January 15,

2004 to March 1, 2004.




                                                        ~~ §j
                                                      IT IS SO ORDERED,
                                                           -Il" -----~-..
                                                         . "_.__ .__.,_,._.._ __._._._ ___

DAT~!AIIO 1                                           JOHN M. STUAR, JUGE
                                                      OF THE TRUMBULL COuNTY
                                                      COMMON PLEAS COURT


The Clerk of Courts is hereby ordered to serve
a copy of this entry upon Atty. Bodiker & Atty. Porter,
and t~~lfy_ ""'cutO" s Offce.

JOHN M. STUAR, JUDGE
        Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 157 of 207. PageID #: 2781




                                               IN THE COURT OF COMMON PLEAS
                                                   TRUMBULL COUNTY, OHIO


  ST ATE OF OHIO,
              Plaintiff-Respondent                                      CASE NO. 01-CR-794
                                                                        JUDGE JOJ-IN M. STUARD
  -vs-

  NATHANIEL JACKSON,                                                    MOTION TO EXTEND TIi\1E
      Defendant-Petitioner.                                             TO RESPOND




             Now comes the State of Ohio, by and through the undersigned counsel, and moves this

 Court pursuant to RC. 2953.21(D) to fix the due date for the Plaintiff-Respondent, the State of

 Ohio's, answer or motion at March 31, 2004.

            For cause, Defendant-Petitioner Nathaniel Jackson filed his Post-Conviction Petition with

this Court January 5, 2004. The State was not served with a copy of
                                                                              this document until January
12,2004. The State's cunent deadline to respond by answer or by motion is March 1,2004. The

State submits that this is insufficient time to respond to this petition.

             As the Court is aware, this is a death penalty case. The petition itself nins forty-three

pages in length and is comprised of fouiieen causes of action, plus exhibits. Additionally, the

record in this matter is most voluminous, spanning sixteen volumes of
                                                                               transcript and over three-
hundred exhibits. Undersigned counsel is the sole assistant prosecutor assigned to answer post-

conviction petitions. Among her other duties, she is also the only assistant prosecutor assigned
   Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 158 of 207. PageID #: 2782




to prepare briefs for both the Eleventh District Court of Appeals and the Ohio Supreme Court.

Additionally, counsel also is occasionally assigned to cover matters in the Common Pleas Court.

        Furthermore, the State submits Defendant-Petitioner wil suffer no prejudice if
                                                                                                        this Court
extends the State's due date. Defendant-Petitioner's direct appeal is pending with the Ohio

Supreme Couii under case number 03-137. Both sides have filed their merit briefs, and oral

arguments are not anticipated before 2005. Therefore, a thiiiy- day extension granted to the State

will not cause an undue delay in the overall post-sentence/pre-execution timetable. This Couii

granted one other extension to the State, and the State does not anticipate the need for any

additional extensions.

       For these reasons, the State respectfully moves this Couii to fix the due date for the

State's answer or motion to Defendant-Petitioner's Post-Conviction Petition at March 31,2004.


                                                                  Respectfully submitted by:




                                                                           Prosecuting Attol1ey
                                                                  Tnnnbull County Prosecutor's Office
                                                                  160 High St. 4th Floor
                                                                 Wauen, Ohio 44481

                                                                 Telephone: (330) 675-2426
                                                                 Facsimile: (330) 675-2431

                                                                 COUNSEL FOR PLAINTIFF-RESPONDENT,
                                                                 THE STATE OF OHIO
     Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 159 of 207. PageID #: 2783




                                          PROOF OF SERVICE

            I do hereby ceiiify that a copy ofthe foregoing motion was sent by ordinary U.S. Mail to

Atty. David Bodiker and Atty. Randall Porter (#0005835), Counsel for Defendant-Petitioner

Nathaniel Jackson, Office of      the Ohio Public Defender, 8 E. Long Street, 11 th Floor, Columbus,

Ohio, 43215 on this 24th Day of
                                    Feb., 2004.
   Case: 4:07-cv-00880-JG Doc #: 35-3 Filed: 03/07/13 160 of 207. PageID #: 2784



                             IN THE COURT OF COMMON PLEAS
                                 TR1J1víBULL C01.)l,¡TY, OHIO


STATE OF OHIO,
     Plaintiff- Respondent                                  CASE NO. 01-CR-794
                                                             J1JDGE JOHN M. STUARD
-vs-

NATHANIEL JACKSON,
    Defendant-Petitioner.                                   J1JDGMENT ENTRY


       Pursuant to a motion by the Plaintiff-Responàent, the State of Ohio, and R.C.

2953.21(D), this Court fixes the àue àate for the State's response by answer or motion at March

31,2004. The State, per motion, has shown gooà cause to extend the due date from March 1,

2004 to March 31, 2004.




                                                    IT IS SO ORDERED,



   Jj?f/6tj
DATE
                                                    ~??~
                                                    JOHN M. STUAR, JUGE
                                                    OF THE TRUMBULL COUNTY
                                                    COMMON PLEAS COURT


The Clerk of Courts is hereby ordered to serve
a copy of this entry upon Atty. Bodiker & Atty. Porter,
and the Trumbull C~mnty Prosecutor's Offce.


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JOliN M. STUAR, JUDGE
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                                            IN THE COURT OF COMMON PLEAS
                                                TRUMBULL COUNTY, OHIO

  STATE OF OHIO,

             Plaintiff,                                                               Case   No. 01-CR-794

 -vs-

 NATHANIEL JACKSON,

             Defendant.



              NATHANIEL JACKSON'S AMENDED POST-CONVICTION PETITION


             Now comes the Petitioner Nathaniel Jackson, by and through counsel, and petitions this

 Court for post-conviction relief pursuant to Ohio Rev. Code Ann. § 2953.21 as follows:

                                                1. JURISDICTIONAL FACTS

             1. On December 28, 2001, the Tnimbull County Grand Jury indicted Nathaniel

Jackson ("Petitioner") for the offenses of: Aggravated Murder (Count One) in violation of

O.R.c. § 2903.01 (A); Aggravated Murder (Count Two) in violation of 0.R.c. § 2903.01(B);

Aggravated Burglary (Count Three) in violation of O.R.C. § 2911.11 (A)(1)(2); and Aggravated

Robbery (Count Four) in violation of 0.R.c. § 291 1.01(A)(1)(3). The indictment contained two

capital specifications (pursuant to O.R.C. § 2929.04(A)(7)) as to each of
                                                                                                         the first two counts and
one firearm specification (pursuant to 0.R.c. § 2945.145) as to each of
                                                                                                       the last two counts.

            2. Petitioner's trial commenced with voir dire on October 8, 2002, and this Court


seated ajury on October 21,2001 (Tr. 381,423, 1857,2050). The State's case in chief
                                                                                                                        began on

October 23,2002 )Tr. 2054).




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            3. On November 6, 2002, at 7:35 p.m. the jury commenced its trial phase
 deliberations and concluded deliberations for that day at 11: 1 5 p.m. (Tr. 3600). On November 7,

 2002 the jury again commenced deliberations at 9:30 a.m. and deliberated until 1 :00 a.m. without

 reaching a verdict (Ir. 3601). On November 8, 2002 the jury commenced deliberations at 9:25

 a.m. and retumed their verdicts at 4:50 p.m. (Ir. 3602).

            4. The jury found Petitioner guilty of all counts and specifications (Ir. 3602, 3612-


 3617). As to the capital specification the jury also found Petitioner guilty of being both the

principal offender and of acting with prior calculation and design with respect to the capital

specifications attached to counts one and two of       the indictment (Tr. 3612-3615).

           5. On November 14, 2002 at 1:20 p.m. the trial attomeys staiied their presentation of

the sentencing phase evidence (Sent. Tr. 17). On the same date at 3:55 p.m., less than three

hours later the defense rested (Sent. Ir. 179J.


           6. On November 15, 2002, after deliberating for four hours and thiiiy minutes, the

JUry retumed a verdict recommending that a sentence of death be imposed upon Nathaniel

Jackson for the aggravated murder ofRobeii Fingerhut (Sent. Tr. 181-183).

           7. On December 9, 2002, the trial court imposed a sentence of death upon Petitioner

for his role in the aggravated murder of Robert Fingerhut as set forth in count one of the

indictment (Sent. Tr. 217).

           8. During the pretrial, voir dire and trial phases of the proceedings, Attomeys


Anthony V. Consoldine and James L. Lewis represented Petitioner.

          9. During the mitigation phase of the proceedings Attomeys Anthony L. Consoldine


and Thomas Wright represented Petitioner. Attomey Wright was not qualified pursuant to Ohio

Sup. Ct. R. 20 nor was he familiar with the case.




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          10. On .T anuary 22, 2003, Petitioner timely filed his notice of appeal to the Ohio

Supreme Court.

          11. On July 9, 2003, the Clerk of this Couii filed the record with the Ohio Supreme

Court.

          12. On October 27, 2003, Petitioner filed his Merit Brief with the Ohio Supreme

Court. The appellate attomeys raised the following issues:

                                PROPOSITION OF LAW NO.1

         APPELLANT WAS DENIED A FAIR TRIAL WHEN THE TRIAL COURT
         ABUSED ITS DISCRETION AND OVERRULED A MOTION TO SiJPPRESS
         HIS STATEMENT CONTR.ARY TO THE PROTECTIONS OF THE FIFTH
         AND SIXTH .AJvfENDMENTS TO THE UNITED STATES CONSTITUTION.

                                PROPOSITION OF LAW NO.2

         THE DEFENDANT'S RIGHT TO THE EFFECTIVE ASSISTANCE OF
         COUNSEL IS VIOLATED WHEN COUNSEL'S PERFORMANCE IS
         DEFICIENT TO THE DEFENDANT'S PREJUDICE. U.S. CONSTITUTION,
         AMENDMENT VI; OHIO CONSTITUTION, ARTICLE I, SECTION 10.

                                PROPOSITION OF LAW NO.3

         A CRIMINAL DEFENDANT'S DUE PROCESS RIGHT TO A FAIR TRIAL IS
         VIOLATED WHEN THE PROSECUTION ENGAGES IN EXTENSIVE,
         DELIBERATE, MISLEADING AND PREJUDICIAL MISCONDUCT. U.S.
         CONSTITUTION, A1V1EJ\TDMENT VI, XIV; OHIO CONSTITUTION,
         ARTICLE I, SECTION 14.

                               PROPOSITION OF LAW NO.4

         RULINGS OF THE TRIAL COURT ALLO\V1NG IMPROPER EVIDENCE
         AND ARGuMENT BEFORE THE JURY, AJ\TD INAPPROPRIATE
         COMMENT THEREON BY THE COURT AS TO THE PROPRIETY OF SUCH
         EVIDENCE AND ARGUMENT, DENIES A CAPITAL DEFENDANT'S
         RIGHT TO DUE PROCESS AND A FAIR AND IMPARTIAL TRIAL. U.S.
         CONSTITUTION, AMENDMENT VI, XIV; OHIO CONSTITUTION,
         ARTICLE I, SECTION 14.




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                         PROPOSITION OF LA Vi NO.5

     A DEFENDANT'S SUBSTANTIAL CONSTITUTIONAL RIGHTS AR
     INFRINGED BY JURY INSTRUCTIONS THAT RELIEVE THE STATE OF
     ITS BURDEN OF PROOF BEYOND A REASONi\BLE DOUBT ON THE
     MENS REA ELEMENT OF A CAPITAL CRIME. U.S. CONST. Ai\1ENDS. VI,
     VII, XIV; OHIO CONST. ART. 1 SECTIONS 5,9,16.

                         PROPOSITION OF LAW NO.6

     A CAPITAL DEFENDANT'S RIGHT TO DUE PROCESS IS VIOLA TED
     WHEN THE STATE IS PERJ\1ITTED TO CGNVICT UPON A STAN'DARD OF
     PROOF BELOW PROOF BEYOND A REASONABLE DOUBT. U.S. CONST.
     AMEND. XIV; OHIO CONST. ART. I, SECTION 16.

                         PROPOSITION OF LAW NO.7

     WHEN THE TRIAL COURT CONSIDERS AND WEIGHS BOTH R.c.
     2929.04(A)((7) ALTERNATIVES, AND REDUCES MITIGATION TO A
     'JUSTIFICATION,' A CAPITAL DEFENDANT IS DEPRIVED OF THE
     RIGHT TO INDIVIDUALIZED SENTENCING AND OF HIS LIBERTY
     INTEREST IN THE STATUTORY SENTENCING SCHEME THUS
     VIOLATING RIGHTS GUARNTEED BY THE FIFTH, EIGHTH AND
     FOURTEENTH AME1\TDMENTS TO THE UNITED STATES
     CONSTITUTION AND SECTIONS 9 AND 16, ARTICLE I, OF THE OHIO
     CONSTITUTION.

                         PROPOSITION OF LAW NO.8

     IT IS PREJUDICIAL ERROR FOR A TRIAL COLTRT TO SENTENCE A
     DEFENDANT TO THE DEATHI PENALTY, WHEN, BASED lJPON THE
     LAW AND THE RECORD OF THIS CASE, THE SENTENCE OF DEATH
     HEREIN is INAPPROPRIATE Al\TD IS DISPROPORTIONATE TO THE
     PENALTY IMPOSED IN SIMILAR CASES, IN VIOLATION OF
     DEFENDANT'S RIGHTS AS GUARANTEED TO HIM BY THE FIFTH,
     EIGHTH, ANTI FOURTEENTH AMENDMENTS TO THE U.S.
     CONSTITUTION AND SECTIONS 5,9, 10, A1\TD 16 OF ARTICLE ONE OF
     THE OHIO CONSTITUTION.

                         PROPOSITION OF LAW NO.9

    THE PROPORTIONALITY REVIEW THAT THIS COURT MUST CONDUCT
    IN THE PRESENT CAPITAL CASE PURSUANT TO OHIO REVISED CODE
    SECTION 2929.05 is FATALLY FLAWED AND THEREFORE THE
    PRESENT DEATH SENTENCE MUST BE VACATED PURSUANT TO THE
    FIFTH, EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED



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        STATES CONSTITUTION AND SECTIONS 5 AND 10, ARTICLE I, OF THE
        OHIO CONSTITUTION ANTI SECTIONS 5, 9,10 AND 16 OF ARTICLE ONE
        OF THE OHIO CONSTITUTION.

                             PROPOSITION OF LAW NO.1 0

        IT IS ERROR FOR A TRIAL COURT TO IMPOSE A DEATH SENTENCE
        WHEN THE DEATH PENALTY LAW AS CURRENTLY APPLIED IN OHIO
        VIOLATES R.C. 2929.05(A) BY REQUIRING APPELLATE COURTS AND
        THE SUPREME COURT, IN CONDUCTING THEIR R.C. 2929.04(A)
       REVIEW OF "SIMILAR CASES" FOR PROPORTIONALITY, TO EXAMINE
       ONL Y THOSE CASES IN \VHICH A DEATH SENTENCE WAS IMPOSED
       AND IGNORE THOSE IN WHICH A SENTENCE OF LIFE WITH PAROLE
       ELIGIBILITY AFTER TWENTY-FIVE FULL YEARS OR LIFE WITH A
       PAROLE ELIGIBILITY AFTER THIRTY FULL YEARS WAS IMPOSED.
       THE CURENT METHOD ALSO VIOLATES THE RIGHTS TO A FAIR
       TRIAL AND DUE PROCESS, RESULTS CRUEL AND UNUSUAL
       PUNISHMENT, AND IMPLICATES OTHERS OF APPELLANT'S
       PROTECTED RIGHTS AS WELL, ALL AS SET FORTH IN THE FIFTH,
       SIXTH, EIGHTH, NINTH AND FOURTEENTH AMENDMENTS TO THE
       UNITED STATES CONSTITUTION AI\TD IN SECTIONS 1, 2, 5, 9, 10, 16
       AND 20, ARTICLE I OF THE OHIO CONSTITUTION.

                             PROPOSITION OF LAW NO. 11

       R.c. 2903.01, 2929.02, 2929.021, 2929.022, 2929.023, 2929.03, 2929.04 AND
       2929.05 AS READ TOGETHER AND AS APPLIED IN THIS CASE VIOLATE
       THE FIFTH, SIXTH, EIGHTH, AND FOURTEENTH AMENDMENTS TO
       THE lJNITED STATES CONSTITUTION AND SECTIONS 2, 9, 10 AND 16
       OF ARTICLE I OF THE OHIO CONSTITUTION.

                             PROPOSITION OF LAW NO. 12

       OHIO'S DEATH PENALTY LAW IS UNCONSTITUTIONAL. OHIO REV.
       CODE ANN. §§ 2903.01, 2929.02, 2929.021, 2929.022, 2929.023, 2929.03,
       2929.04, AND 2929.05 DO NOT MEET THE PRESCRIBED
       CONSTITUTIONAL REQUIREMENTS AND ARE UNCONSTITUTIONAL
       ON THEIR FACE AND AS APPLIED TO APPELLANT. U.S. CONST.
       AMEJ\TDS V, VI, VIII, XIV, OHIO CONST. i\RT. 1, SECTIONS 2, 9, 10, 16
       FURTHER, OHIO'S DEATH PENALTY STATUTE VIOLATES THE UNITED
       STATES' OBLIGATIONS UNDER INTERNATIONAL LAW.

       13. The State's Merit Brief is due to be filed in the Ohio Supreme Court on January

16, 2004.




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                   14. Attomeys John P. Laczko and Dennis Day Lager represent Petitioner on his direct

 appeal of           right to the Ohio Supreme COUli.

                   15.             OnJanuary 15, 2004, Petitioner Nathaniel Jackson filed his initial post-

 conviction petition \vith this Court.

                                               FIRST CAUSE OF ACTION

                   l6. Petitioner Nathaniel Jackson fully incorporates each and every allegation

contained elsewhere in this Petition as if fully rewritten herein.

                   1 ì. Petitioner Jackson's judgment and sentence are void or voidable because the


Trumbull County Prosecutor has employed his discretion in capital cases in a racially

discriminatory manner. Capital cases are limited almost exclusively to those cases in which the

victim is Caucasian. U.S. Const. amends. V, VI, VIII, ix, and XiV; Ohio Const. art. I, §§ 1,2,5,

9,10,        16,     and   20

               l8. The Eighth and Fourteenth Amendments prohibit a death sentence \vhich is based

in pari upon the race of the defendant or the victim. African-Americans composed 7.8% of the

population of              Trumbull County in 2001. (Exhibit 1.J

               19. The common pleas courts of Trumbull County have sentenced ten persons to

death since the State of Ohio re-enacted its death penalty in 1981.

Date of Sentence                  Defendant             Race of Defendant            Race of Victim

02/28/86                          Danny Hill            African-American             Caucasian
12/09/86                          Charles LoiTaine      Caucasian                    Two Caucasians
03/15/89                          Andre Williams        African-Ameiican             Caucasian
10/29/91                          Kenneth Biros         Caucasiar1                   Caucasian
03/25/92                          Roderick Davie        African-American             Two Caucasians
09/12/96                          Jason Getsy           Caucasian                    Caucasian
04/02/98                          Sean Carter           African-American            African - American
10/01/01                          Stanley Adams         Caucasian                    Two Caucasians
12/09/02                          Nathaniel Jackson     Afiican-American             Caucasian
06/20/03                          Donna Roberts         Caucasian                    Caucasian



                                                           6
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 (Exhibits 2-12)


             20. Five of the ten individuals sentenced to death in Tnimbull County are African-


 Ameiicans. In all but one of   the ten cases the victims were Caucasian. (Exhibits 2-12).

21. The Tnimbull County Prosecutor has sought the death penalty in approximately thii1y-six

cases. The Prosecutor's Office has disportionately limited the charging of a capital offense to

situations involving Caucasian victims

Defendant                                      Race of   Victim

Adams, Stanley Theodore                        Two Caucasians
Alexander, Rickey                              Caucasian
Armstrong, Shawn                               Undetern1ined
Belden, Clifford                               Caucasian
Bell, Arthur                                   Caucasian
Biros, Kenneth                                 Caucasian
BunwvVs, Scott                                 Two Caucasians
Caiier, Sean                                   African- American
Clemmons, Carvin                               Caucasian
Cromety, Wanen                                 Undetermined
Daniels, Christopher W.                        Caucasian
Davie, Roderick                                Caucasian
Delker, Sheny                                  Caucasian
Fellows, Randy                                Undetern1Îned
F elTell, Christopher                         Undetern1ined
Fickes, Van Gentry                            Undetern1Îned
F oster, George                               Caucasian
Foster, George                                Caucasian
Freeman, Gentry                               Caucasian
Getsy, Jason A.                               Caucasian
Gothay, David D.                              Caucasian
Hill, Danny                                   Caucasian
Huffman, Royden M.                            Undetern1Îned
Jackson, Nathaniel E.                         Caucasian
Lee, Bernie                                   Caucasian
LOlTaine, Charles                             Two Caucasians
Might, Dustin                                 Caucasian
Porterfield, Eric Lee                         Caucasian
Roberts, Donna                                Caucasian
Shaffer, Ronald                               Caucasian
Staples, John                                 African-American and Caucasian




                                                   7
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 Williams, Andre                                      Caucasian
 \Vorley, I\1ark



 (Exhibits 2 - 35)

         22. The prosecutor is forbidden by the Fourteenth Amendment from basing his choice


of whom to prosecute upon "impermissible íàctors" such as race or religion. Wayte v. United

States, 470 U.S. 598, 607 (1985), citing Oyler v. Boles, 368 U.S. 448, 456 (1962). The Ohio

Supreme Court has also recognized that a prosecutor may not choose whom to indict based upon

"an unjustifiable standard. . . or . . . arbitrary classification" such as race. State v. Wolery, 46

Ohio St. 2d 316, 324, (1976), citing Oyler, 368 U.S. at 456. A death sentence which is based

even in part upon "factors that are constitutionally impem1issible or totally irrelevant to the

sentencing process, such as . . . the race. . . of the defendant" violates the Eighth Amendment.

Zant v. Stephens, 462 U.S. 862,885 (1983).

         23. The present case involves the quintessential discrimination in the charging

decision. The prosecution sought and received the death penalty against Petitioner who is

African-American and ofbelO\v average intelligence. The prosecution offered the Caucasian co-

defendant, Donna Robeiis a plea bargain that would have spared her life (Exhibit 3). This is


despite the fact that the co-defendant stood the most to gain by Fingerhut's death and certainly

\vas the intellect in plaiming the charged capital crime.

         24. Petitioner Jackson has provided suffcient facts to warrant the granting of relief or


in the altemative discovery to factual develop the prosecutor's discriminatory intent McCleskey

v. Kemp, 481 U.S. 279 (1987).

Exhibits in Support of this Ground for Relief: 1-35

Legal Authority: U.S. Const. amends. VII and XIV; Wayte v. United States, 470 U.S. 598, 607 (1985); RodTiguez
v. Peters, 63 F.3d 546,563 (7th Cir. 1995); McCoy v. court of Appeals ofWisconsîn, 486 U.S. 429 (1988); Oyler v.
Boles, 368 U.S. 448, 456 (1962); State v. Wolery, 46 Ohio St. 2d 316, 324, 358 N.E.2d 351, 358 (1976); Zan!2
Stephens, 462 U.S. 862, 885 (1983); Yick Wo v. Hopkins, 118 U.S. 356 (1986);




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                                                                                                      /?
                                                                                                           /
                                                  SECOND CAUSE OF ACTIO-N//

            ..).
            ') ~        Petitioner Nathaniel Jackson fully incorporates each and every allegation

contained elsewhere in the Petition as if fully rewritten                              herein.

            26. Petitioner Jackson's convictions and sentence are void or voidable because the


grand jury that indicted him was drawn from a venire in which African-Ameiicans were

dispoiiionately excluded. U.S. Const. amends. V, VI, VIII, ix, and xiv; Ohio Const. aii. i, §§ 1,

2,5,9,10,16, and 20


            27. In the Seventh Cause of Action Petitioner wil demonstrate that African-

Americans v,ere under represented in the venire from which the jury was dra\\'n that convicted

him of capital murder and recommended that he be sentenced to death. That same

undelTepresentation has occulTed in other capital cases in this County. (Exhibits 36-39.)

            28. This racial discrimination is most likely not limited to the petit jury venire. The

venire from \vhich the Grand Jury was selected that capitally indicted Petitioner was drawn using

the same procedures as the petit jury venire. 0.R.c. §§ 2939.02, 2313.07, 2313.08, 2313.35.


Thus, there is a reasonable likelihood that the grand jury venire suffers from the same


constitutional flaw that the petit jury suffered.

            29. The grand               jury acts as a vital check against the wrongful exercise of                  power by the

State and its prosecutors. Powers v. Ohio, 499 U.S. 400, 411 (1991). It controls not only the

initial decision to indict, but contradicts other significant decisions including the number of

counts to charge and whether to charge a lesser offense. Vasquez v. Hillery, 474 U.S. 254, 263.

(1986). The integrity of these decisions depends on the integiity of the process used to select the

grand jurors. If that selection process is infected with racial discrimination, doubt is cast over the

fairness of all subsequent decision. Rose, 433 U.S. at 555-556 (Selection of                                   members of a grand




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jury because they are of one race and not another destroys the appearance of justice and thereby

casts doubt on the integrity of        the judicial process).

              30. It is especially impoiiant that the grand jury in Trumbull County be as free as


possible fiom racial disciimination. As demonstrated in the Second Cause of Action, the

Trumbull County has pennitted the race of the victim to be an improper consideration in the

decision of          whom to charge.

              31. The grand jury process must be free of racial discrimination. Rose v. Mitchell,

443 U.S. 545,557 (1979); Vasquez v. Hilery, 474 U.S. at 261-262 .The Supreme Couii in an

unbroken line of cases has held that a criminal conviction caimot stand under the Equal


Protection Clause if it is based on an indictment retumed by a grand jury from which individuals

were excluded on the basis of race. Alexander v. Louisiana, 405 U.S. 625, 628 (1972);


Castaneda v. Partida, 430 U.S. 482, 492-495 (1977).
              ..j
              ..~.     To achieve an impartial grand jury, the panels from which grand jurors are chosen

must also be dra\vn from a "fair cross section" of the community. Taylor v. Louisiana, 419 U.S.

522, 527 (1975); Atwell v. Blackbum, 800 F.2d 502, 505 (5th Cir. 1986) (fair cross section

requirement applies to grand jury panels); Machetti v. Linahan, 479 F.2d 236, 239 (11 th Cir.

1982) (same).

              33. Petitioner Jackson requires discovery, an evidentiary hearing and the appointment


of experts to fully develop the factual predicate for this Cause of Action. He will be filing the

appropriate pleadings forthwith.

              34. This Court should presume prejudice as to this constitutional violation because it

is a structural enor. If racial discrimination occurs in the selection process of the grand jury, the

conviction must be reversed notwithstanding" oveiwhelming" evidence of guilt. Vasquez, 474




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u.s. at 263. In the altemative the prosecutor must be required to demonstrate by proof                beyond a

reasonable doubt that this racial discrimination did not infect the trial and mitigation phases.

Exhibits in Support of this Ground for Relief: 36-39

Legal Authority: O.R.e. §§ 2939.02, 2313.0ì, 2313.08, 2313.35; Rose v. Mitchell, 443 U.S. 545 (19ì9); Vasquez
v. Hillery, 4ì4 U.S. 254 (1986); Powers v. Ohio, 499 U.S. 400 (1991); Alexander v. Louisiana, 405 U.S. 625
(l9ì2); Castaneda v. Partida, 430 U.S. 482 (19ìì); Taylor v. Louisiana, 419 U.S. 522 (19ì5); Atweil v. Blackbum,
800 F.2d 502 (5th Cir. 1986); Machetti v. Linahan, 4ì9 F.2d 236 (116th Cir. 1982).




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                                   THIRD CAUSE OF ACTIONi~//

        35. Petitioner Nathaniel Jackson fully incorporates each and every allegation

 contained elsewhere in the Petition as if fully rewiitten herein.

        36. Petitioner Jackson's convictions and sentence are void or voidable because the


 grand jury foreperson may have been chosen in a racially discriminatory manner. U.S. Const.

amends. V, VI, VIII, ix, and XiV; Ohio Const. art. I, §§ 1,2, 5, 9, 10, 16, and 20

        37. On December 28, 2001, a Trumbull County grand jury indicted Petitioner Jackson

for t\VO counts of capital murder and one count of Aggravated Robbery and Aggravated

Burglary. Janice \Vinans \vas the foreperson of the Grand JUlY that indicted Petitioner Jackson.

(Exhibit 40.) Ms. Winans is Caucasian. (Exhibit 8.)

        38. In the State of Ohio, the common pleas court judge may select anyone to be the


grand juiy foreperson who satisfies the qualifications of a juror. See 0.R.c. § 2939.02. This

person's name need not be included in the grand jury venire. Id. The grand jury foreperson has

the same voting powers as other grand jury members. Id.

        39. Petitioner has a good faith basis to believe that the Trumbull County presiding


common pleas court judges have traditionally chosen individuals who were not included in the

grand juiy venire for purposes of serving as the grand jUlY foreperson. The United States


Supreme Couii in Campbell v. Louisiana, 523 U.S. 392, 398 (1998) recognized that an identical

foreperson selection procedure in the State of Louisiana resulted in the undeiTepresentation of


African-Americans because the state court judges used the system to select predominantly white

males for the position of foreperson.

       40. In at least one other Ohio jurisdiction, Hamilton County, in which the judges have


gone outside the grand jury venire to select forepersons, racial discrimination has systematically




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 OCCUlTed in the charging process. Between 1982 and 1998, there were eighty-seven grand juries


in Hamilton County, which returned a total of 134 capital indictments. There were only 4

African American forepersons on these eighty-seven grand juries. There were less than a quarter

as many African American forepersons as would be expected, based upon the percentage of

African Americans in Hamilton County. This underrepresentation is statistically significant. This

method for choosing grand jury forepersons insured that all forepersons, at least in capital cases,

during the relevant time period, were overwhelmingly \vere caucasian. LExhibit 42) The choosing

of all caucasian forepersons was not only improper, but it also further exacerbated the racial

disparity in the grand jury composition.

        41. It is the belief of post-conviction counsel that if the Trumbull County Common

Pleas Court judges do in fact choose grand jury forepersons from outside the venire, then

significant racial discrimination occurred. The Trumbull County Common Pleas Court has

always been compiled solely of caucasian individuals. Hamilton County Common Pleas COUli

Judge Crush has observed that discrimination will most likely result when judges go outside the

grand jury venire to select forepersons and the judges are disportionately caucasian. LExhibit 43 )


        42. The improper selection of the foreperson exacerbates two other constitutional

violations identified in this Petition. The venires from which the grand juries were drawn

contained an underrepresentation of Afbcan-Americans LSecond Cause of Action). The

prosecutor has pern1itted race to playa pari in his charging decisions LFirst Cause of Action).


       43. Petitioner Nathaniel Jackson requires discovery, the appointment of experts and


an evidentiary hearing to fully develop the factual predicate for this Cause of Action. .




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        44. This Court should presume prejudice as to this constitutional elTOL In the

altemative the state should be required to demonstrate by proof beyond a reasonable doubt that

this elTor did not affect either the trial or sentencing phase proceedings.

Exhibits in Support of this Ground for Relief: 40-43

Legal Authority: O.R.c. § 2939.02; Campbell v. Louisiana, 523 U.S. 392 (1998)




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                                                   FOURTH CAUSE OF ACTION

             45. Petitioner Nathaniel Jackson fully inco1110rates each and every allegation


 contained elsewhere in the Petition as if fully rewritten herein.

             46. The convictions and sentences against Petitioner Jackson are void and/or voidable


 because the Trumbull County Prosecutor's Office failed to provide trial counsel \vith exculpatory

 evidence. U.S. Const. Amends. V, VIII, ix, xlv, Ohio Const. Art. I, §§ 1,2,5,9,10,16, and


 20, Brady v. Maryland, 373 U.S. 83 (1963).

            47. It is \vell-settled that the failure of the prosecutors to disclose favorable evidence


to an accused in a criminal proceedings violates the Due Process Clause of the Fourteenth


Amendment, when the evidence is material either to guilt or sentencing, regardless of the good

or bad faith of the prosecutor. Brady v. Maryland, 373 U.S. 83, 87 (1963). The Court has

expanded the duty to disclose to include impeachment evidence as \vell as exculpatory evidence.

United States v. Bagley, 473 U.S. 667, 676 (1985).

            48. in order to comply yvith Brady, "the individual prosecutor has a duty to leam of


any favorable evidence known to others acting on the govellments behalf in this case, including

the police." Kyles v. Whitley, 514 U.S. 419, 437 (1995). Evidence is material "if                     there is a
reasonable probability that, had the evidence been disclosed, the result of the proceeding would

have been diÍferent." Id, at 433-4.

           49. In the present case, trial counsel filed several pretrial motions to access the


relevant exculpatory evidence in actual or constructive possession of
                                                                                    the prosecutor.

            50. At the time of Petitioner's trial the prosecutors had not received any-training in

identifying exculpatory evidence. The Trumbull County Prosecutor's Office did not have any

guidelines in place for purposes of determining the existence of exculpatory evidence. This lack




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 of training and guidelines, among other factors, has caused the Trumbull County Prosecutors to

 fail in their constitutionally imposed duty to provide in a timely manner exculpatory evidence to

 defense counseL.


            51. The fact that the Trumbull County Prosecutor's Office purportedly claimed to

have an open file discovery policy in the present case does not insulate it from claims of failure

to provide exculpatory evidence. Strickler v. Greene, 527 U.S. 273 (1991).

            52. Trial counsel frequently cited this Court during the trial to evidence that the


prosecutor had not provided in discovery.

            53. In addition the prosecutor had actual or constitutional posseSSlOn of a police


report which documented that Robert Fingerhut had intended to stage or fake his own death by

kiling another person who matched his physical description. Fingerhut had hired an individual

to find the look-a-like for him. (Exhibits 35, 44.J

            54. Petitioner requires discovery and an evidentiary hearing to demonstrate the


existence of this constitutional violation, which will undeniiine the confidence in the court's

verdicts in both phases of    the proceedings.

Exhibits in Support of this Ground for Relief: 35, 44

Legal Authority: U.S. Canst. Amends. V, VII, ix, xiv, Ohio Canst. Art. i, §§ 1,2,5,9, 10, 16, and 20, Brady v.
Maryland, 373 U.S. 83 (1963) United States v. Bagley, 473 U.S. 667, 676 (1985); ßyles v. \Vhitley, 514 U.S. 419,
437 (1995); Strickler v. Greene, 527 U.S. 273 (1991)




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                                                    FIFTH CAUSE OF ACTION

            55. Petitioner Nathaniel Jackson fully incorporates each and every allegation


contained elsewhere in the Petition as if fully rewritten herein.

            56. Petitioner Jackson had a right to effective assistance of counsel in both stages of


bis triaL. While that constitutional right does not extend to counsel of        his choosing, it did include

the right to an attorney with whom he could have meaningful communication.

            57. The courts have repeatedly recognized that meaningful communication is ciitical

if counsel is to receive competent legal investigation. If counsel and client are unable to


communicate, then counsel will not be able to investigate and prepare the case.

           58. Prior to the commencement of the trial, Petitioner wrote the Court and requested

the appointment of            new counseL. (Exhibit 45)

           59. The basis for the request was that lead counsel had 1) failed to regularly

communicate with Petitioner, 2) failed to provide Petitioner with the information that he

requested and 3) treated Petitioner in an inappropriate manner. (Exhibit 45)

           60. It is the duty of the trial court to inquire into a complaint that a defendant raises

concerning his appointed counseL. That inquiry is to be conducted on the record. The colloquy

must be more than an cursory exercise. The trial court must make a meaningful inquiry into the

defendant's complaints concerning his attorney.

           61. The failure of the trial cOUli to conduct the necessary inquiry is by itself a

constitutional error. In this case the trial court conducted no inqUlry cursory, or otherwise.

Instead he merely foiwarded Petitioner's letter to trial counseL.




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        62. As a result Petitioner Jackson was forced to proceed with counsel with \vhom he


could not communicate. Accordingly Petitioner's convictions and death sentence are void or

voidable.

Exhibits in Support of this Ground for Relief: 45

Legal Authority: U.S. Const. Amends. V, VII, ix, XiV, Ohio Const. Art. i, §§ I, 2, 5, 9, 10, 16, and 20,
Strickland v. Washington, 466 U.S. 668 (1984); State v. Deal, 17 Ohio S1. 3d 17 (1969), State v. Pruitt, 18 Ohio
App. 3d 50 (1984)




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                                   SIXTH CAUSE OF ACTIONt//

        63. Petitioner Nathaniel Jackson fully incorporates each and every allegation

 contained elsewhere in thê Petition as if fully rewritten herein.

        64. Petitioner's death sentence is void or voidable because he was denied the effective


 assistance of counsel with respect to the pretrial proceeding and the investigation of the penalty

phase. Counsel failed to obtain and use the expert services of a mitigation specialist.

        65. Trial counsel's failure to request the opportunity or use the services of a


mitigation specialist also denied Petitioner his Fourth A:mendment right to the appointment of

reasonably necessary experts.

        66. The Ohio Supreme Court has recognized the importance of the mitigation
specialist in capital cases. Sup R. 20 (IV)(D) admonishes Ohio trial courts to provide various

support services, including a mitigation specialist, in capital cases. Likewise the ABA standards

in capital cases recognized that counsel should employ a mitigation specialist to conduct the

sentencing phase investigation.

        67. As a result of counsel's failure to obtain a mitigation specialist, no reasonable

mitigation investigation was conducted.

        68. One of the duties of a mitigation specialist is to collect all relevant records

concernmg a defendant's life. Other than the fe\v records collected by the spouse of the

psychologist appointed at trial, counsel failed to collect any records concerning Petitioner


Jackson's life. If a mitigation specialist had conducted the necessary record collection, he or she

would have obtained the follo\ving records.

              a. Youngstown Altemative School - The record reflects that Petitioner
Jackson had a full scale IQ of 70. His spelling and math scores were very low. The school set
for him while he was in junior high the following goal 1) adding and subtracting fractions; 2)




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underlining the subject and verb in sentences and 3) taking showers and wearing clean clothes.
 (Exhibit 46)
               b. Community Conections - Petitioner Jackson was in drug rehabilitation
from May 24, 2001 to September 2, 2001. I-Ie Vias a frequent abuser of marijuana and cocaine.
He scored very high on the Substance Abuse Subtle Screening Inventory. On the MMPI, which
\vas administered to him on June 10, 2001, he was found to suffer from antisocial and narcissistic
personality disorders. (Exhibit 47)
               c.Neal Ke!nnedy Recovery Clinic - the officials deten11ined that Petitioner
Jackson was addicted to cocaine, alcohol and marijuana. His dependency rank was six out of
seven. His brother was also an alcoholic. Petitioner Jackson lived in a crack house during 1994
to 1997. His memory was impaired. Petitioner Jackson reported that he had a temper like his
mother. (Exhibit 48)

        69. One of the other duties of a mitigation investigation is to conduct interviews of all

relevant witnesses \vho have facts conceming a defendant's development since birth. This would

include family members, teachers, neighbors, friends, court offcials and clergy. Because trial

counsel failed to retain a mitigation investigator the following individuals were not interviewed:

             a. Pauline Komeagay - She is the mother of Nathaniel Jackson. Petitioner
Jackson did not regularly attend school and when he did attend he \vas disruptive. After he
became an adult he staried associating \vith drug dealers and users. Petitioner Jackson became
addicted to crack and stole to support his habit The family had to put locks on their freezer and
bedroom doors to keep him from stealing from them. Donna Roberis provided Petitioner with
drugs, clothes and maiijuana. Ms. Komeagay wamed Petitioner about Donna Robeiis, but he
would not listen. (Exhibit 49)
               b. Tausha Komeagay - She is Petitioner's Jackson's sister. Their matemal
grandmother raised them. Petitioner Jackson did not do well in school and as a result he was
sent to Stamburgh Middle SchooL. He became addicted to crack and he would steal to get drugs.
The mother of one of Petitioner's sons left him because he was an addict. Donna Robeiis gave
him drugs and ice clothes. He was really impressed by her. (Exhibit 50)
               c. Ai1thony Komeagay - He is Petitioner Jackson's brother. Petitioner was
addicted to drugs and he would steal from anyone including his family to get drugs. Petitioner
Jackson was not a violent person, just a thief. Donna Roberts gave him money, drugs, and other
stuff. This made his brother feel good. (Exhibit 51)
               d. Raymond Dickerson - He has lived with Petitioner's mother for about
twenty years. Petitioner became addicted to crack and started to live on the street. Donna
Roberts gave Petitioner drugs and money. Petitioner Jackson would not listen when people
wamed him about Donna Roberts. (Exhibit 52)
                e. Kevin Peny - He is the fiancé of Tausha Komeagay. Petitioner's mother
never demonstrated any love or affection for him. This upset Petitioner. His mother and
longtime boyfriend are very heavy drinkers. Petitioner and his sister had to live with the
matemal grandmother because the mother was such a bad parent. Petitioner had a very bad dnig
problem. Donna Roberts used to give him material things. (Exhibit 53)



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            70. A cohesive, sound theory of mitigation is essential to a capital triaL. A mitigation

theory \vould have presented complete picture of             the defendant over his lifetime so that the three

judge panel could have understood the defendant's behavior in light of his lifelong development.

The tasks required for a mitigation investigation are extensive and extremely time-consuming.

Given the amount and variety of work involved in capital defense, the best approach to handling

a capital defense is through a team approach. In addition to the defense attorneys, the "defense

team" typically includes a psychologist, mitigation specialist, criminal investigator and other

experts as needed. Defense counsel did not obtain a mitigation specialist in this case, thereby

severely limiting the mitigation investigation..

           71. Petitioner's trial counsel abdicated their duty to utilize an available expei1

mitigation specialist to fully investigate, prepare, and present witnesses and evidence at

Petitioner's capital triaL. Counsel's failure clearly undem1ined the adversarial process and

rendered the outcome of his capital trial unreliable. His sentencer did not have an oppoitunity to

consider numerous relevant mitigating factors at the penalty phase

Exhibits in Support of this Ground for Relief: 46-53

Legal Authority: U.S. Canst. Amend. IV; Sup. R. 20; O.R.C. § 2929.04; Williams v. Taylor, 120 S. Ct. 1495
(2000); Strickland v. Washington, 466 U.S. 668 (1984); Glenn v. Tate, 71 F.3d 1204 (6th Cir. 1996).




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                                  SEVENTH CAUSE OF ACTION ,,,/'

         72. Petitioner Nathaniel Jackson fully incorporates each and every allegation


contained elsewhere in the Petition as if fully rev/ritten herein.

         73. Petitioner Jackson's convictions and sentences are void and/or voidable because


Petitioner was denied his right to a fair and impartial jury and equal protection because there was

an undenepresentation of African .Americans in the venire from which his jury was drawn.

Racial disciimination in the selection of the members of a petit jury venire constitutes a denial of

an impartial jury as guaranteed by the Sixth Amendment and the Equal Protection Clause of the

Fourteenth Amendment. U.S. Const. amends. V, VI, VII, and XLV; Ohio Const. aii. I, §§ 1, 2,

5,9,10,16, and 20.


         74. The trial court in the present case summoned four hundred jurors to serve on the

venire (Exhibit 54. J One-hundred-forty persons appeared for jury duty (Tr. 1846- 1848. J

         75. The parties agreed that only one African-American was questioned during

individual voir dire (Tr. 1846- 1 848. J


         76. The prosecutor stated that ''Im positive we had one other black juror that was

excused". Tr. 1854.J The prosecutors later in an effoii to preclude this constitutional challenge

stated "i meant the representation of one, and I want to say there were two, maybe three." (Tr.

1855.J

         77. African Ameiicans comprised 7.9 percent of the population in Trumbull County


(Exhibit 1.J Consequently there should have been approximately eleven African-Americans in

the one-hundred-foiiy-persons who appeared for jury duty. Even if the prosecutDrs second


statement was accurate, there was still a substantial underrepresentation of Afiican-.Americans.




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         78. In State v. Davie, Trumbull c.P. NO.9 1 CR 288, this Couii presided over another


capital case. The clerk drew two hundred names and approximately one-hundred thirty of the

one-hundred fifty individuals appeared for jury duty. (Exhibits 36-38.) Not one African-

American appeared for jury duty. (Id.)

         79. Subsequent to Mr. Davie's jury trial, Diane Wiley of the National Jury Project

reviewed the venire that \vas drawn in that case. Ms. Wiley has conducted jury evaluations in

more than fifty cases throughout the United States. She is co-author of one of the leading

treatises on juries, Jur)i\vork: Systematic Techniques. (Exhibit 39.) Ms. Wiley made the

following findings concerning the racial discrimination in the Davie case:

         The number of African Ameiican citizens called to serve as jury venirepersons for
         Staze of Ohzo v. Roderick Davze, on February 3, 1992 in Trumbull County
         Common Pleas Court unden.epresented the percentage of African Americans in
         Trumbull County by 100%.


         This undeuepresentation represents a statistically significant deviation from the
         number of African American persons who would be expected utilizing a truly
         random sampling method from a truly random pool representative of    the county. .


         It is disturbing to find a venire of this size without even one African American
        juror being included in a jurisdiction with 6% Afiican Americans. This simply
        should not occur unless there was some kind of systematic discrimination.
         (Emphasis added.)

(Id. at p. 6.)


         80. The unde1lepresentation of African-Americans on juries in cases over which this

Court presides continued in co-defendant Donna Robeiis' case. There were no African-

Americans on the jury which convicted her of capital murder and returned a death
recommendation. (Exhibit 55)

         81. The undeuepresentation of a cognizable group in a petit jury venire constitutes a

denial of the Due Process Clause of the Fourteenth Amendment, Peters v. Kiff, 470 U.S. 493,


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 501 (1972); the Fair Cross Section requirement of the Sixth Amendment, Taylor v. Louisiana,

419 U.S. 522, 531 (1975); and the Equal Protection Clause of the Fourteenth Amendment,


Taylor v. Louisiana, 419 U.S. at 531.

            82. Nathaniel Jackson requires discovery and an evidentiary hearing to demonstrate


the third prong for both the Equal Protection and Fair Cross Section tests. On information and

belief he alleges that African-Americans are systematically culled from the jury process duiing

one or more of the ¡we-selection stages It is further the belief of the counsel that each of these

phases are being abused or are subject to abuse.

            83. The wrongful exclusion of African-Americans from the venire is a structural en-or

and Petitioner Jackson is entitled to relief    without the demonstration of      pre   judice.

           84. Petitioner must be granted a new trial or, at a minimum, discovery and an

evidentiary hearing on this Cause of Action.

Exhibits in Support of this Ground for Relief:; 1, 36-39, 55

Legal Authority: U.S. Const. amends. V, VI, VII, and XIV; Ohio Const. art. I, §§ 1,2,5,9, 10, 16, and 20; Peters
v" Kiff, 470 U.S. 493 (1972); Tavlor v. Louisiana, 419 U.S. 522 (1975); State v. Davie, TlUllbull c.P. No. 91 CR
288; JuryviOrk: Systematic Techniques; Ohio Supreme Court's Commission on Racial Fairness ; and State v.
Jackson, 64 Ohio St. 2d 107 (1980).




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                                              EIGHT CAUSE OF ACTION

             85. Petitioner Nathaniel Jackson fully incorporates each and every allegation

 contained elsewhere in the Petition as if fully re\\Titten herein.

             86. Petitioner Jackson's convictions and sentences are void and/or voidable because


 Petitioner was denied the effective assistance of counsel duiing the pretrial stage of his capital

 case. U.S. Const. amends. V, VI, VIII, ix and xiv; Ohio Const. art. I, §§ 1,2,5,9, 10, 16, and


 20; Strickland v. Washington, 486 U.S. 668 (1984).

            87. Counsel did not conduct an independent investigation and instead for the most

part relied upon the discovery provided by the prosecution. Counsel interviewed very few


witnesses. As a result counsel did not develop any significant infom1ation conceming co-


defendant Robei1s' role in the homicide, 2) the illegal activities of the victim Robert Fingerhut,

3) the dysfunctional relationship of Roberts and Fingerhut, 4) the significant mental impaim1ent

of Petitioner Jackson and 5) the impact that impainnent had upon his actions and involvement

with Robei1s.


            88. Trial counsel timely filed a motion to suppress. However, they did not contest the


voluntaiiness of    Petitioner's statement and the knowing and intelligent waiver of
                                                                                       his rights based

upon the fact that Petitioner had full scale IQ scores of70 and 72. (Exhibits 56,57.)

           89. Trial counsel failed to effectively challenge through the use of experts and an


evidentiary hearing, the venire from which the grand and petit juiies were drawn. (See Second

and Seventh Causes of Action.) In addition they failed to challenge the selection of the grand

jury foreperson. (Third Cause of Action.)




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        90. Trial counsel should have also challenged the charging practices of the Trumbull


 County Prosecutor. The prosecutor almost exclusively institutes capital charges when the victim

 is caucasian. (First Cause of Action.)

        9 i. In a capital case, defense counsel is also charged with the duty to conduct a


reasonable investigation with respect to the mitigation phase. The defendant's lifelong


experiences must be investigated to identify the biological and environmental factors that caused

him to commit the offense of aggravated murder. Counsel must interview the defendant's family

members, friends, teachers, coaches, juvenile counselors and anyone else that has had contact

with the defendant throughout his life. (Exhibits 49-53, 58-60.) In addition counsel must obtain

all the records that documents the defendant's actions throughout his life. (Exhibits 46-48,60.)

        92. Trial counsel in the present case did not conduct any sentencing phase

investigation. Instead they relied upon the spouse of the psychologist appointed by the Court.

The spouse collected one set of records. The spouse and/or the psychologist interviewed one

person, Petitioner's mother who minimized the negative factors that impacted Petitioner's

development. (Exhibit 61.)

        93. An important pari of a sentencing phase investigation is the retaining of a
knowledgeable psychological expert who conducts the appropriate testing. The goal of the


psychological testing is to explain the defendant's development, not provide a diagnosis. Dr.

McPherson, who trial counsel retained, conducted inappropriate testing, the MMPI and

projective testing which provided a negative diagnosis, not an explanation as to Petitioner's

involvement in the offense. (Exhibit 59.)

       94. In Atkins v. Virginia, 536 U.S. 304 (2002) the United States Supreme Court

barred the execution of the mentally retarded. The school authorities administered to Petitioner




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 two IQ tests to which placed him in the mentally retarded range. (Exhibits 56, 57.J In the cases

 in which the defendant has previously scored in the mentally retarded range, counsel generally

 should not conduct any additional IQ testing and should rely on those tests.

           95. In cases in \vhich there is evidence that the defendant suffered from substance


 abuse, trial counsel needs to insure that the testing is conducted by an expert who has the

 appropriate training in substance abuse. This type of mental health professional can document

the degree of substance abuse, its impact upon the defendant at the time of the offense and any

factors in the defendant's environment which led to the Petitioner's addiction. (Exhibits 62, 63,

64.J There was no such testing in the present case.

           96.                                                - ~
                  Trial counsel had an affi1l1ative dutv to conduct a reasonable investi gation into

the character, history, and background of Petitioner Jackson. Williams v. Taylor, 529 U.S. 362

(2000). Only after a full investigation can counsel make an inf01l1ed, tactical decision about

which infol1TIation \vould be helpful in a client's case. Glenn v. Tate, 71 F.3d 1204 (6th Cir.

1995); State v. Johnson, 24 Ohio St. 3d 87 (1986).

           97. Petitioner Jackson was denied his iight to effective assistance of counseL.


Petitioner must be granted a new trial or, at a minimum, discovery and an evidentiary heaiing on

this Cause of Action.

Exhibits in Support of this Ground for Relief: 46-53, 56-64

Legal Authority: U.S. Canst. amends. V, VI, VII, ix and xiv; Ohio Canst. art. i, §§ 1,2,5,9, 10, 16, and 20;
Strickland v. Washington, 486 U.S. 668 (1984); Williams v. Taylor, 529 U.S. 362 (2000); Atkins v. Virginia, 536
U.S. 304, 122 S. Ct. 2242 (2002); Glenn v. Tate, 71 F.3d 1204 (6th Crr. 1995); State v. Jolmson, 24 Ohio St. 3d 87
( 1986).




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                                  NINTH CAUSE OF ACTION

        98. Petitioner Nathaniel Jackson fully incorporates each and every allegation

contained elsewhere in the Petition as if fully rewritten herein.

        99. Petitioner Jackson's convictions and sentences are void and/or voidable because


Petitioner was denied the effective assistance of counsel during the trial stage of his capital case.

The acts and omissions of tiial counsel deprived him of the Sixth Amendment right to effective

assistance of counseL. U.S. Const. amends. V, VI, VIII, ix and xiv; Ohio Const. art. i, §§ 1, 2,

5,9, 10, 16, and 20; Strickland v. Washington, 486 U.S. 668 (1984).

        100. During voir dire, counsel did not address with the prospective jurors the defenses

or issues they would later be raising in the trial phase. They should have included (but were not

limited to) the following: the race of Petitioner, Petitioner's interracial relationship with the co-

defendant and the use of sexually explicit language. Furthem10re, trial counsel did not address

any potential mitigating facts.

        101. Trial counsel failed to address co-defendant Donna Roberts' motive to kill Robeii


Fingerhut and her ability to manipulate Petitioner Jackson. Ms. Roberts stood to benefit from

Fingerhut's death. She \vas the individual that \vas listed on the large life insurance policy, not

Petitioner Jackson.

        102. Co-defendant Roberts had an affinity for African American males. She had been


atTested several times for incidents involving African Americans. (Exhibit 65.) Christine

Ellington, who operates a barber shop testified that Roberts brought Petitioner in for a haircut the

day prior to the homicide. (Tr. 2881-2889). Ellington did not tell the jury that Roberts had

previously brought three or four other African-Americans in to the barber shop for haircuts.

(Exhibit 66)




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             103. Roberts had been involved vvith an African American male Santiago Mason, just


 prior to Petitioner's release from prison in December 2001. She met Mason, who \vas a felon, in

 the bus tem1inal where she worked. She told Mason "you are so cute, I always liked black guys

 cause they got big dicks." She took him to her home that night and told him "let me see how big

 your dick is." She had oral sex with him but he refused to have intercourse with her. A few days


 later Robeiis called Mason again, and asked Mason to drive her car and he refused. She gave him

 two hundred dollars and took him back to the residence. She perfonned oral sex on him but he

 again refused to have sexual intercourse. She again became enraged and took him back to the

bus station. One week later she appeared at Mason's place of employment and accused him of

stealing her money and her gun. She filed charges against him. After the charges \vere instituted

in the present case, the prosecutor dismissed the charges against Mason. (Exhibit 67.)

            104. Trial counsel never developed any facts involving the relationship between

Petitioner and the Roberts. She was certainly much more intelligent than Petitioner. She had

previously served as an office administrator for a plastic surgeon's office in Miami, Florida.

(Exhibits 44, 68.) She had traveled extensively. (Id.) She provided Petitioner with the money,

car and clothing that he needed (Exhibits 49-53, 58). She supplied Petitioner with the drugs he

craved. Donna herself was a frequent user of drugs. The night prior to the homicide they were in

a crack house together in Youngstown. (Exhibit 69.)

            105. Donna was seen in all areas of the residence at the time of the shooting. (Tr.

2924-2936.) She had bloodstains on her shìii (Exhibits 70, 71.) There were spots of blood in a

part of the house in which the shooting did not occur. (Exhibit 71). The residence contained


marijuana (Exhibit. 70) as well as prescription medicines for depression and schizophrenia.


(Exhibit 72.) The co-defendant was the proud owner of        two dogs, which she kept at the residence




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 ( Exhibit 73) The dogs did not react to the altercation that lead to the death of Fingerhut. The

 police administered a gun shot residue test to Ms. Roberts and the results were inconclusive

 (Exhibit 77).


         106. Defense counsel failed to retain an crime scene reconstruction expert to address

the facts that sunound the offense and the status of the ciime scene. The police thought the

shooting occurred in the kitchen where they found the body. However, they found blood on the

garage floor as well as the entrance hallway (Exhibits 71, 74). Petitioner was shot in the left

hand during the altercation and sustained a serious injury. (Exhibit 75.) Petitioner is left handed.

         107. On direct appeal Counsel raised a related issue involving the ineffective
assistance of trial counseL. Petitioner Jackson incorporates those arguments by reference.

(Exhibit 76.)


         108. The right to effective assistance of counsel is violated when counsel's

perforn1ance falls below an objective standard of reasonableness and the client is prejudiced by

counsel's breach of duty. Strickland, 466 U.S. at 696. There is a reasonable probability that if

trial counsel had performed reasonably during voir dire and trial stage that the results of the

proceeding would have been different. Strickland, 466 U.S. at 694. The jury \vould have

returned verdicts rendering Petitioner ineligible for the sentencing phase.

         109. Petitioner Jackson must be granted a new trial or, at a minimum, discovery and an


evidentiary hearing on this ground for relief.

Exhibits in Support of this Ground for Relief: 65-77

Legal Authority: U.S. Const. amends. V, VI, VII, ix and xiv; Ohio Const. art. i, §§ 1,2, 5, 9, 10, 16, and 20;
Strickland v. Washington, 486 U.S. 668 (1984); Glenn v. Tate, 71 F.3d 1204 (6th Cir. 1995); State v.- Johnson, 24
Ohio St. 3d 87 (1986)




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                                                  TENTH CAUSE OF ACTION

         1 10. Petitioner N athani el Jackson full y incorporates each and every all egation

 contained elsewhere in the Petition as if fully rewritten herein.

         111. Petitioner Jackson's convictions and sentences are void and/or voidable because


 Petitioner was denied the effective assistance of counsel during the mitigation stage of his capital

case. The acts and omissions of trial counsel deprived him of the Sixth Amendment right to

effective assistance of counseL. U.S. Const. amends. V, VI, VIII, ix, and XlV; Ohio Const. art. I,

§§ 1,2,5,9,10,16, and 20; Strickland v. Washington, 486 U.S. 668 (1984).


         112. Trial counsel did not conduct any                mitigation investigation (Fifth and Sixth Causes

of Action). The spouse of the psychologist appointed by this COUl1 conducted only one


interview and collected only one set ofrecords (ld.)

         113. Lead counsel became ill prior to the mitigation hearing and new counsel was

substituted for Lead Counsel (Sent. Tr. 4-6.) New counsel was not certified by the Ohio

Supreme COUl1 to provide representation in a capital case. (ld.) He kne'vv nothing about this

capi tal case. rId.)

        114. Trial counsel met with the mitigation witnesses at the courthouse for the first time

just prior to the mitigation heaiing (Exhibits 49-53, 58). Counsel met with the witnesses as a

group and asked questions that were unrelated to the questions that would be asked of them a

few minutes later at the evidentiary hearing. (ld.)

        115. Counsel who remained on the case admitted to knovving little about the evidence

that was to be presented to the jury. (Sent. Tr. 7.) As a result he requested that the psychologist


be pem1itted to sit at counsel table. (Sent. Tr. 8.) This was the same psychologist who had




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 reviewed a single set of records and whose spouse had talked to a single witness. (Sixth Cause

 of Action.)

             l16. Trial counsel gave no opening statement at the mitigation phase. (Sent. Tr. 23.)


 As a result the jury was not told what evidence it would hear or the manner in which the

 evidence would be mitigation.

            117. Counsel called four lay witnesses to testify. Their direct testimony was sparse and

 uninfom1ative: Raymond Dickerson (two pages Sent. Tr. 23-25); Tausha Komeagay (two pages

 Sent. Tr. 25-27); LOlTaine Rue (one page Sent. Tr. 30-31) and Pauline Korneagay (two pages

Sent. Tr. 31-33). The prosecutor had twice interviewed Tausha Korneagay (Sent. Tr. 27) \vhich

was two more times than defense counsel prior to the day of
                                                                   the hearing. (Exhibits 50-58.)


            118. The shortness of the direct examination of these witnesses did not mask the

incompleteness and inaccuracies in their testimony. Raymond Dickerson had not known

Petitioner prior to the age of fifteen and not seen Petitioner since the age of seventeen. (Sent. Tr.

24-25.) Tausha Komeagay testified that Petitioner lived on the street (Sent. Tr. 27) and was

smart (Sent. Tr. 28). In fact Petitioner's drug habit forced him to live on the street because he

would steal from whomever he resided. (Exhibits 56, 57.) Petitioner had twice scored in the

mental retardation range on IQ tests (Exhibits 56, 57.) Pauline Komeagay testified that

Petitioner never had any problems in school and was raised in a good neighborhood. (Sent. Tr.

32.) In fact Petitioner, since the first grade had academic and behavioral problems in schooL.

(Exhibits 50,58) and was raised in a rough neighborhood. (Exhibit 51, 58.)

           119. Trial counsel's final witness was Dr. Sandra McPherson who testified that

Petitioner was not mentally retarded (Sent. Tr. 45-49), but instead was anti-social (Sent. Tr. 50-

52). The anti-social diagnosis was the product of testing that she should not have administered




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  (Exhibit 59). The IQ testing was the product of testing that was improperly administered and

  scored. (Tenth Cause of Action.) The psychologist provided no analysis as to Petitioner's

  involvement with the commission of the offense and only superficial analysis of Petitioner's

 relationship with the co-defendant (Tr. 54-55).

              120. There is a reasonable probability that the result of the sentencing phase would

 have been different if trial counsel conducted a reasonable investigation and the psychologist

 administered appropriate testing. The jury viQuld have leamed that Petitioner was neglected and

 ignored by his alcoholic mother and his biological father (Exhibit 50, 5 l, 53, 58). His school

 performance was impaired~by not only his ADHD but by his below average intelligence as

 reflected in the full scale IQ scores of 70 and 72 (Exhibits 56, 57). Petitioner began to self

 medicate with illicit drugs as a result of this parental neglect, poor school perf0l111anCe and


 resulting self esteem. He developed an addiction to crack which caused further rejection by his

 family. (Exhibits 49-53, 58). His need to support his addiction caused him to commit illegal

acts which ultimately lead to his numerous convictions. (Id.)

            121. The jury \vould have also leamed that Petitioner's involvement with co-defendant

Donna Robeiis was one of the first "meaningful" relationships in his life. She provided him \vith

all of the material things he lacked including clothes, money and cars as well as drugs. (Exhibits

49-53, 58). She was much brighter than he was. (Exhibits 44, 56, 57, 68). She had reportedly

manipulated African-American males in the past for her sexual and ego needs. (Exhibits 66, 67.)

            122. Petitioner must be granted a new trial or, at a minimum, discovery and an

evidentiary hearing on this ground for relief.

Exhibits in Support of this Ground for Relief: 44,49-53, 56-59, 66-67.

Legal Authority:    U.S. Canst. amends. V, VI, VII, ix, and XiV; Ohio Canst. art. i, §§ 1,2,5,9,10,16, and 20;
Strickland v. Washington, 486 U.S. 668 (1984)




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                                                ELEVENTH CAUSE OF ACTION

              123. Petitioner Nathaniel Jackson fully incorporates each and every allegation

 contained elsewhere in the Petition as if fully rewiitten herein.

             124. Petitioner Jackson's convictions and sentences are void and/or voidable b.ecause


 Petitioner was denied the effective assistance of counsel and an expert assistance during the

 mitigation stage of his capital case. The basis for this constitutional right is twofold. Pursuant to

 the Sixth Amendment right to effective assistance, counsel has a duty to insure that a competent

 mitigation evaluation is conducted. In addition, the Fourteenth Amendment creates an

 independent right to a competent evaluation. U.S. Const. amends. V, VI, VII, ix, and XIV;

 Ohio Const. art. I, §§ 1,2,5,9,10,16, and 20; Ake v. Oklahoma, 470 U.S. 68 (1985); Stiickland

v. Washington, 486 U.S. 668 (1984).

             125. Psychologist Dr. Sandra l\kPherson evaluated Petitioner Jackson and testified on

his behalf at his mitigation stage. (Sent. Tr. 33-105). Because Dr. McPherson's evaluation and

testimony was incomplete and inaccurate, her participation on the case did not satisfy Petitioner

Jackson's Sixth or Fomieenth Amendment guarantees. (Exhibit 78.J

            126. The goal or focus of a mental health evaluation in a capital case is to explain the

accused's commission of the homicide in tem1S of the accused's personal development. The

mental health expeii must identify for the tiier of fact those biological and environmental factors

that impacted the accused's development and explain his commission of the offense in ten11 of

those factors. (Exhibits 59, 60, 62, 63, 64.J


            127. The foundation for any adequate and complete psychiatiic evaluation is a

thorough social history. In the present case defense counsel did not conduct any social history

(See Sixth Cause of Action.J They instead relied upon the spouse of        the psychologist to conduct




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 a social history. His social history consisted of interviewing Petitioner's mother. (Exhibits 49-

 53, 58.) The mother was not forthcoming with infonnation. As a result Dr. McPherson never

 received the necessary infomiation. (Exhibit 49,58.)

        128. Fuiiher, Dr. McPherson conducted inappropriate testing and improperly scored

 some of the appropriate testing that she conducted. The focus in the mitigation case is upon a

defendant's development and not on a psychological diagnosis. The prevailing standard at the

time of Petitioner's trial dictated that the mental health professional not administer to the

defendant the Minnesota Multi Phasic Personality Test (MMPI) and projective testing such as

the Rorschach and House-Tree-Person. (Exhibit 59.) That is in fact what Dr. McPherson did in

the present case. As a result the jury leamed that Petitioner is anti-social, impulsive and does not

leam from past mistakes. (Exhibit 61.)

        129. Dr. McPherson administered the WAIS-lII to determine Petitioner's IQ. She

should not have given the test because Petitioner had previously twice scored in the mental

retardation range. (Exhibits 56, 57.) Dr. McPherson did not follOìv the standard protocol for the

administration of the W AIS-lII. She also committed enors in the scoiing of the test. (Exhibit

78.)

       130. Dr. McPherson also administered the Wide Range Achievement Test-III

(\VRT). She again incolTectly scored that test. (Exhibit 78.)

       131. Dr. McPherson administered the Bendt Gestalt Test for purposes of detennining

the existence of brain damage. The appropriate screening mechanism \vas the Trails Making

Test (Exhibit 59.) The wide dispaiity of the performance and verbal scores on the IQ test that

Dr. McPherson administered was an indicator that Petitioner suffers from brain impaimient.




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             1'1')
              _.J L..   Dr. McPherson failed to conduct testing to detemiIne the existence and degree of

 Petitioner's drug addiction. A complete examination would have included the Michigan Alcohol

 Screening Test and Drug Abuse Screening Test. (Exhibit 62.)

             133. In addition Dr. McPherson failed to explain Petitioner's Jackson's involvement in

 the offense in the context of                 his personal development. At a minimum she should have been able

 to discuss 1) his lack of meaningful relationships prior to meeting Donna Roberts; 2) her ability

to manipulate him and his susceptibility to that manipulation, and 3) his dependence on drugs,

which she supplied him (Exhibits 49-53, 58-60.)

            134. Nathaniel Jackson is entitled to relief because the infonnation provided by the

mental health professional to the jury was inaccurate and incomplete. There is a "particularly

critical interrelation between experi psychological assistance and minimally effective

representation of counseL." Beavers v. Balkcom, 636 F.2d 114, 116 (5th Cir. 1981), citing

United Stated v. Fessel, 531 F.2d 1275, 1279 (5th Cir. 1976). There is a reasonable probability

that the outcome of              the sentencing phase would have been different if   the jury had received all of

the relevant infomiation. Strickland, 486 U.S. 668.

            135. Petitioner must be granted a nevi trial or, at a mrmmum, discovery and an
evidentiary hearing on this ground for relief.


Exhibits in Support of this Ground for Relief: 49-53, 56-64, 78


Legal Authority: U.S. Const. amends. V, VI, VII, ix, and XiV; Ohio Const. art. I, §§ 1, 2, 5, 9, 10, 16, and 20;
Ake v. Oklahoma, 470 U.S. 68 (1985); Strickland v. Washington, 486 U.S. 668 (1984); Beavers v. Balkcom, 636
F.2d 114 (5th Cìr. 1981), citing United Stated v. Fessel, 531 F.2d 1275 (5th Cìr. 1976).




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                                            T\VELFTH CAUSE OF ACTION

         136. Petitioner Nathaniel Jackson fully incOl1JOrates each and every fact contained


 elsewhere in the Petition as if fully rewritten herein.

         137. Petitioner Jackson's death sentence is void or voidable because the jury did not

receive all of the relevant inforn1ation concerning the appropriate sentence.

        138. This Court summarized the mitigation testimony as follows:

                   Though the Court gives some weight to the Defendant's upbringing, it
        deserves little weight because ofthe credible testimony from the defendant's step-
        father, his sister, his mother, and Dr. McPherson. These vvitnesses testified that
        the Defendant ,vas respectful to both his mother and grandmother. His sister, who
        described as smart and really kind, noted that they attended church. Fuiiher, there
        was testimony offered that he was reared in an environment, vvhere he was not
        physically or sexually abused. His mother also declined to say that his home was
        in a "rough neighborhood, or that the Defendant had any problems in schooL. Dr.
        J\kPherson's report noted that the defendant had not been hospitalized for any
        physical or mental condition. The witnesses also noted that they practiced moral
        tenets and that responsibility and respect were taught.

               In conclusion, from the testimony of these witnesses, there is nothing
        pai1icularly evident to show an unusual childhood or to offer an explanation for
        the Defendant's behavior which would be entitled any significant weight on the
        side of mitigation.

(Exhibit 79, pp. 6-7.)

        139. This Court reached these factual conclusions only because tiial counsel conducted

an unreasonable investigation.

        140. Petitioner Jackson had little or no contact with his biological father. His mother

was a substance abuser, who after she separated from his biological father entered into another

long tern1 relationship with yet another substance abuser. (Exhibits 53, 58.)

        141. Petitioner Jackson was raised by his maternal grandmother who did not have


adequate resources to raise him. Eventually things being so bad in the maternal mother's home,




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 Petitioner's sister came to also reside in the maternal grandmother's residence. (Exhibits 49-53,

  58.)

              142. Petitioner as a result of his attention deficit disorder, learning disabilities and low

 intelligence was not a good student. From the first grade on he was very disruptive. When he

 was in the junior high he could not add fractions or identify the subject and verb in a sentence.

 He came to school without bathing and clean clothes. (Exhibit 46.)

             143. Petitioner eventually at a young age became involved with drugs. This lead him to


 associate with the "wrong" individuals who schooled him in the commission of illegal acts.

 Petitioner Jackson became a career thiefto support his habit. (Exhibit 49-53,58.)

             144. This COUJi after rejecting Petitioner Jackson's childhood as mitigating then

proceeded to reject the testimony of                   Dr. McPherson. (Exhibit 78, pp. 8-9.)

             145. The Coun should have never learned of the anti-social diagnosis. The MMPI,

which \vas the basis for the diagnosis, should not have been administered to Petitioner. (Exhibit

59.) This is especially true since he had scored "poorly" on the MMPI a year prior to Dr.

McPherson administering it to him. (Exhibit 47.)

            146. Dr. McPherson testified that Petitioner Jackson had a full scale IQ of 84. She

misconducted the test and assuming that she properly applied the test he had a full scale IQ of

80. Dr. Thomas A. Boyd has now properly administered an IQ test to Petitioner Jackson and he

scored 75. (Exhibit 78.)

            147. Dr. McPherson testified that she administered the Wide Range Achievement test

(WRA T) to Petitioner. She again misscored the test and as a result testified that he was

perforn1ing arithmetic and spelling on a high school
                                                                       leveL. He was actually perfom1Íng on the

level of a seventh grader. (Exhibit 78.)




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          148. Dr. McPherson failed to fully appreciate the level of Petitioner's substance abuse.

 A year prior to the instant offense, a substance abuse clinic scored him six our of seven on a rate

 of substance abuse. (Exhibit 47.) He repoiied that his cocaine abuse was affecting his memory.

 (rd.)

         149. Dr. McPherson did not provide for this Comi the infonl1ation that Petitioner

 Jackson's abuse to cocaine was the dominant factor in his life. He was stealing from his parents

 to support his habit. He was also stealing from one of his sons. He was subjected him to

physical abuse as a result of his failure to payoff his debts linked to his drug dependence.


 (Exhibit 50,51,53.)

         150. Donna Roberts, the co-defendant, supplied Petitioner Jackson with drugs. His

dependent upon her (drugs) certainly gave her undue influence over him. (Exhibit 49-53.)

         151. None of the foregoing infonl1ation was presented to the sentencing jury in this

case. The psychological explanation of Petitioner; Jackson and his behavior was critical to this

case. It provides the explanation for Petitioner's behavior which was otherwise totally absent.

The jury (as in fact the mitigation witnesses who did testify') provide the jury with no insight into

his behavior. The jury was presented with no reason to spare Petitioner's life.

         152. Petitioner Jackson's rights under the Eighth and Fomieenth Amendments to the

United States Constitution were violated.

Exhibits in Support of this Ground for Relief: (Exhibits 46,47,49-53, 58, 78-79.)

Legal Authority: U.S. Canst. amends. VII, and XIV; O.R.C. § 2929.03; O.R.c. § 2929.04




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                              THIRTEENTH CAUSE OF ACTION

        153. Petitioner Nathaniel Jackson fully incorporates each and every fact contained

elsewhere in the Petition as if fully rewritten herein.

        154. The death sentence against Petitioner Jackson is void and/or voidable because the

death penalty as administered by lethal injection violates his constitutional right to protection

from cruel and unusual punishment as guaranteed by the Eighth Amendment and to due process

oflaw. U.S. Const. amends. V, VII, ix, xlv; Ohio Const. art. i, §§ 1, 2, 5, 9, 10, 16, 20; Ohio

Adult Parole Authority v. Woodard, 523 U.S. 272 (1998)(five justices holding that the Due

Process Clause protects the "life" interest at issue in capital cases).

        155. Upon infom1ation and belief, Petitioner Jackson contends that the chemicals that

will be used to bring about his execution will result in undue pain and suffering. Typically, the

chemicals include Sodium Thiopental or Sodium Pentothal (an ultra short-acting barbiturate);

Pancuronium Bromide or Pavulon (a curare-derived agent which paralyzes all skeletal or

voluntary muscles, but which has no effect whatsoever on awareness, cognition or sensation);

and potassium chloride (an extraordinarily painful chemical which activates the nerve fibers

living the inmate's veins and 'which can interfere wIth the rhythmic contractions of the heart and

cause cardiac an-est). (Exhibits 80, 81.)

        156. This particular combination of chemicals will cause Petitioner Jackson to

consciously suffer an excruciatingly painful and protracted death. (Exhibit 82.)

       157. Sodium thiopental, or sodium pentothal, is an ultra short-acting barbiturate which

is ordinarily used to render a surgical patient unconscious for mere minutes, only in the induction

phase of anesthesia, specifically so that the patient may re-awaken and breathe on their own

power if any complications arise from the Insei1ion of a breathing tube prior to the surgery.




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 Because of its brief duration, sodium thiopental may        not provide a sedative effect of the sodium

 thiopental is neutralized by the second chemical typically use, pancuronium bromide. (Id.)

            158. The second chemical involved in the lethal inj ection process, pancuroni um

bromide, or Pavulon, is a derivative of curare that acts as a neuromuscular blocking agent.

            159. While Pavulon paralyzes skeletal muscles, including the diaphragm, it has no

effect on consciousness or the perception of pain or suffering. To the extent that the first

chemical, sodium thiopental, is neutralized by the second, Pavulon, the paralytic chemical

(Pavulon) \vill Selì!e only to mask Petitioner's excruciating pain. (Id.)

            160. The risk of inflicting severe and unnecessary pain and suffering upon Petitioner in

the lethal injection process is pariicularly grave because, upon infol11ation and belief, the

procedures and protocols designed by the State of; Ohio do not include safeguards regarding the

manner in v'ihich the execution is to be carTied out, do not establish the minimum qualifications

and expertise required of the personnel perfol11ing the critical tasks in the lethal injection

procedure, and do not establish appropriate criteria and standards that these personnel must rely

upon in exercising their discretion during the lethal injection procedures.

           161. Executioners in administering to Petitioner Jackson chemicals that will cause

unnecessary pain in the execution of a sentence of death, thereby depriving Petitioner of his

rights under the Eighth and Fourteenth Amendments to be free from cruel and unusual

punishment.

Exhibits in Support ofthis Ground for Relief: 80, 81, 82

Legal Authority: U.S. Const. amends. V, VII, ix, XiV; Ohio Const. art. i, §§ 1,2,5,9, 10, 16,20; Ohio Adult
Parole Authority v. Woodard, 523 U.S. 272 (1998)




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                                                                           ///
                              FOURTEENTH CAUSE OF ACTIOl'"

         162. Petitioner hereby incorporates by reference all of the allegations contained


 elsewhere in this Petition as ifrewritten fully herein.

        163. Petitioner Jackson's judgment and sentence are void or voidable because Ohio's


post-conviction procedures do not provide an adequate con-ective process, in violation of the

constitution. US. Const. amends. V, VI, VIII, ix, and XLV; Ohio Const. art. i, §§ L 2,5,9, 10,

 16, and 20.

        164. In theory, post-conviction offers a convicted defendant an Oppoiiunity to test the

constitutional validity of his conviction and sentence. An adequate corrective process should be

"swift and simple and easily invoked," should "eschew iigid and teclmical doctrines of res

judicata of forfeiture, waiver or default," and should "provide for full fact hearings to resolve

disputed factual issues." Case v. Nebraska, 381 US. 336, 346-47 (1965) (Brennan, R.,

concun-ing); Goldberg v. Kelly 397 US. 254 (1970); Evitts v. Lucey, 469 US. 387 (1985). This

minimum standard for state post-conviction proceedings are not fulfilled by the cursory,

inadequate, and ineffective process provided for in the relevant Ohio statutes, nor do the state

couiis, in practice, provide any meaningful review in these proceedings. Since 1982, only one

death row inmate has been granted relief from a trial couii on a post-conviction petition. i

        165. The text of the statute provides that a petitioner must include affidavits or

evidence dehors the record in support of the claims in a petition. O.RC. § 2953.21(A). It is

from the face of the petition that a trial court must detem1ine if a hearing is required. State v.

Coopen-ider, 4 Ohio St. 3d 226 (1984). All this must be done without the benefit of the

discovery processes available to every other civil litigant. Without this access, Ohio's post-


conviction process imposes an impossible pleading standard on petitioners.




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               166. Recent amendments by the Ohio Supreme Court and the Ohio Legislature to Rule

  35 of Criminal Procedure, which became effective on July 1, 1997, further cU1iail the post-

  conviction process. Ohio R. Crim. P. 35(A) now demands that each cause of action contained in

  a post-conviction petition not exceed three pages. The Staff Notes to the amendment state the

 purpose of        this change is to "introduce some uniforn1ity in post-conviction relief
                                                                                                    proceedings and
 aid in the administration of               just   ice." Uniforn1ity in the post-conviction process may be a rational

 goal; however, it cannot be achieved at the expense of criminal defendants who are now facing

 death. If the need for uniformity in post-conviction cases is balanced against the requirement


 that capital cases be afforded the highest degree of due process, the only acceptable, and


 constitutionally sound, resolution is to protect due process rights.

              167. The Sixth Circuit COU1i of Appeals has expressed its concerns regarding the State

 of Ohio's inadequate, excessively naiTOW, and ineffectual post-conviction scheme. Keener v.

Ridenour, 594 F.2d 581, 590 (6th Cir. 1979). The basis for the Sixth Circuit's dissatisfaction

with Ohio's lack of              process can be traced to State v. PelTY, 10 Ohio St. 2d 175 (1967). After

~, The Sixth Circuit recognized that "(b Jecause of the narrow limits placed on the Ohio post-


conviction statute, there is no longer any effective State remedy open to the Appellant to exhaust.

The Pern) deczsion has. rendered such process ineffective to protect the rights of the Appellant."

Coley v. Alvis, 381 Fold 870, 872 (6th Cir. 1967) (emphasis added). Accord Allen v. Perini,

424 F.2d 134, 139-140 (6th Cir. 1970).

              168. The Ohio Legislature established a post-conviction procedure to effectuate the

constitutional rights of            those individual convicted of criminal offenses. Assuming arguendo that

those procedures do not emanate directly from clear constitutional provisions, "when a State opts

to act in a field where its action has significant discretionary elements, it must nonetheless act in

i State v. Barnes, No. CR-83-5911 (Lucas c.P. May 17, 1991).


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 accord with the dictates of the Constitution - and, in particular, in accord with the Due Process

 Clause." Evitts v. Lucey, 469 U.S. 387, 401 (1985). Ohio's procedures for post-conviction


 review at both the trial and appellate court levels must compori with the constitutional

 requirements of due process.

          169. A viable, fair, effective means for Petitioner to raise collateral challenges to his

criminal conviction and sentence is all the more critical here because petitioner's "life" interest

(protected by the "life, Iiberiy and propei1y" language in the Due Process Clause) is at stake in

the proceeding. Ohio Adult Parole Authority v. Woodard, 523 U.S. 272 (1998). Death is

different; for that reason more process is due, not less. See Lockett v. Ohio, 438 U.S. 586

(1978); Woodson v. North Carolina, 428 U.S. 280 (1976). Petitioner is entitled to an adequate

post-conviction remedy in order to vindicate his Ohio and Federal constitutional rights to

effective assistance of counsel, due process of law, equal protection of the law, confrontation of

the State's evidence against him, and freedom from cruel and unusual punishment. U.S. Const.

amends. V, VI, VIII, ix and XIV; Ohio Const. aii. I, §§ 1, 2, 5, 9, 10, 16 and 20. Due to the

unconstitutionality of Ohio's post-conviction procedures, Petitioner must be granted a new trial

or, at minimum, discovery and an evidentiary hearing on this Ground For Relief.


Legal Authority: U.S. Const. amends. V, VI, VII, ix, and xiv; Ohio Const. art. i, §§ 1,2,5,9, 10, 16, and 20;
Case v. Nebraska, 381 U.S. 336 (1965); Goldberg v. Kelly 397 U.S. 254 (1970); Evitts v. Lucey, 469 U.S. 387
(1985); State v. Cooperrider, 4 Ohio St. 3d 226 (1984); Keener v. Ridenour, 594 F.2d 581(6th Cir. 1979); State v.
Perry, 10 Ohio St. 2d 175 (1967); Coley v. Alvis, 381 F.2d 870 (6th Cir. 1967); AlIen v. Perini, 424 F.2d 134 (6th
Cir. 1970); Ohio Adult Parole Authority v. Woodard, 523 U.S. 272 (1998); Lockett v. Ohio, 438 U.S. 586 (1978);
O.R.C. § 2953.21(A); Ohio R. Crim. P. 35.




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                                   FIFTEENTH CAUSE OF ACTION

          170. Petitíoner Nathaniel Jackson fully incorporates each and every fact contained


 elsewhere in the Petition as if fully rewritten herein.

          171. Petitioner Jackson's conviction and sentences are void or voidable because,


 assuming arguendo that none of the Grounds for Relief in this Post-Conviction Petition

 individually wan.ant the relief sought from this court, the cumulative effects of the errors and

 omissions as presented in the Petition in paragraphs one through one-hundred-fifty-eight have

 been prejudicial to the Petitíoner and have denied the Petitioner his rights as secured by the

United States and Ohio Constitutions. When reviewing a criminal case where numerous

violations of the Rules of Evidence occurred at trial, the Ohio Supreme Court has held that "a

conviction will be reversed where the cumulative effect of the errors deprives a defendant of the

constitutional right to a fair triaL." State v. DeMarco, 31 Ohio St. 3d 191, syl. 2 (1987). See also

State v. Bunch, 62 Ohio App. 3d 80 i (1989).

         i 72. Petitioner Jackson contends, again assuming arguendo that this court does not


deem any individual Ground for Relief as meiiting the relief sought, that the errors presented in

his Post-Conviction Petition taken together, are of sufficient magnitude as to warrant the granting

of a new trial or, at minimum, discovery and an evidentiary hearing on this Ground For Relief

Exhibits in Support of this Ground for Relief: 1-79

Legal Authority: State v. DeMarco, 31 Ohio St. 3d 191 (1987); State v. Bunch, 62 Ohio App. 3d 801 (1989).




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                                                      iv. CONCLUSION
            \VHEREFORE, Petitioner Nathaniel Jackson requests the following relief:

            A. That this Court declare Nathaniel Jackson's judgment to be void or voidable and


grant him a new trial;

            B. In the altemative, that this Comi declare Nathaniel Jackson's death sentence to be


void or voidable and grant him a new sentencing hearing before a jury;

            C. If this Court is not inclined to grant Nathaniel Jackson relief based on the matters

raised in this petition and supported by the attached exhibits, then he requests that this Court

grant him leave to pursue discovery to more fully develop the factual basis demonstrating the

constitutional violations that render his conviction and death sentence void or voidable;

        D. If        this Court is not inclined to grant Nathaniel Jackson relief
                                                                                                      based on the matters

raised in this post-conviction petition and supported by the attached exhibits, then he requests

that, after permitting him to pursue discovery, that this Comi conduct an evidentiary hearing

pursuant to Ohio Revised Code Ann. § 2953.21;

        E. That this Court grant any further relief to which Nathaniel Jackson might be

entitled.


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                                                                           Respeo,tfullv submitted.

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                                  CERTIFICATE OF SERVICE

              I hereby certify that a true copy of the foregoing NATHANIEL JACKSON'S

AMENDED POST-CONVICTION PETITION was forwarded by first-class, postage prepaid

U.S. Mail to Luwayne Annos, Assistant Prosecuting Attomey, Trumbull County Prosecutor's

Office, 160 High Street, N. W., 4th Floor Administration Building, Warren, Ohio 44481, on this


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                                                LAJ\TJALL L. PORTIER
                                               /COUNSEL FOR/PETITIONER
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